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                                 EXHIBIT A

                                  HTA PLAN
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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF PUERTO RICO

 In re:                                                        PROMESA
                                                               Title III
 THE FINANCIAL OVERSIGHT AND
 MANAGEMENT BOARD FOR PUERTO RICO,                             No. 17 BK 3283-LTS

 as representative of                                          (Jointly Administered)

 THE COMMONWEALTH OF PUERTO RICO,
 et al.,

           Debtors.

 In re:                                                        PROMESA
                                                               Title III
 THE FINANCIAL OVERSIGHT AND
 MANAGEMENT BOARD FOR PUERTO RICO,                             No. 17 BK 3567-LTS

           as representative of

 THE PUERTO RICO HIGHWAYS AND
 TRANSPORTATION AUTHORITY,

           Debtor.



            THIRD AMENDED TITLE III PLAN OF ADJUSTMENT OF THE
          PUERTO RICO HIGHWAYS AND TRANSPORTATION AUTHORITY

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                        as Representative for the Debtor in Its Title III Case


Dated: June 17, 2022
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        The Financial Oversight and Management Board for Puerto Rico, as Title III
representative of the Puerto Rico Highways and Transportation Authority pursuant to Section
315(b) of the Puerto Rico Oversight, Management and Economic Stability Act, hereby proposes
the following plan of adjustment.

                                           ARTICLE I

                                         DEFINITIONS

       As used in the HTA Plan, the following terms have the respective meanings set forth
below and are equally applicable to the singular and plural of the terms defined:

        1.1   AAFAF: Autoridad de Asesoría Financiera y Agencia Fiscal, a public
corporation and instrumentality of the Commonwealth, whose name in English is the Puerto Rico
Fiscal Agency and Financial Advisory Authority.

       1.2     ACR Order: That certain Order (A) Authorizing Administrative Reconciliation
of Claims, (B) Approving Additional Form of Notice, and (C) Granting Related Relief, dated
March 12, 2020 [Case. No. 17-3283-LTS, ECF No. 12274].

       1.3      Act 106: Act No. 106 of August 23, 2017, which created the pay-as-you-go
pension system known as “PayGo” and established a defined contribution retirement system to
replace the retirement benefit plan pursuant to Act No. 12 of October 19, 1954, as amended, Act
No. 3 of April 4, 2013, as amended, and Act No. 160 of December 24, 2013, as amended.

         1.4     Administrative Claim Bar Date: Unless otherwise ordered by the Title III
Court, the date established by the Title III Court and set forth in the HTA Confirmation Order as
the last day to file proof of Administrative Expense Claims, which date shall be no more than
ninety (90) days after the HTA Effective Date, after which date, any Administrative Expense
Claim, proof of which has not been filed, shall be deemed forever barred, and the Debtor and
Reorganized HTA shall have no obligation with respect thereto; provided, however, that no
proof of Administrative Expense Claim shall be required to be filed if such Administrative
Expense Claim (a) shall have been incurred (i) in accordance with an order of the Title III Court
or (ii) with the written consent of the applicable Government Parties expressly granting such
Administrative Expense Claim, (b) is a Professional Claim, (c) is an intergovernmental Claim,
(d) is an Administrative Expense Claim of the IRS for the payment of taxes incurred by the
Debtor during the period from and after the HTA Petition Date, or (e) is the subject of a pending
motion seeking allowance of an administrative expense pursuant to section 503(b) of the
Bankruptcy Code as of the entry of the HTA Confirmation Order.

        1.5     Administrative Expense Claim: A Claim against the Debtor or its Assets
constituting a cost or expense of administration of the Title III Case asserted or authorized to be
asserted, on or prior to the Administrative Claim Bar Date, in accordance with sections 503(b)
and 507(a)(2) of the Bankruptcy Code arising during the period up to and including the HTA
Effective Date, and otherwise complying with applicable Puerto Rico law, including, without
limitation, subject to the occurrence of the HTA Effective Date, and except as provided in
Section 3.5 hereof, Consummation Costs and HTA PSA Restriction Fees.


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       1.6    ADR Order: That certain Order (A) Authorizing Alternative Dispute Resolution
Procedures, (B) Approving Additional Forms of Notice, (C) Approving Proposed Mailing, and
(D) Granting Related Relief, dated April 1, 2020 [Case. No. 17-3283-LTS, ECF No. 12576].

       1.7     ADR Procedures: The alternative dispute resolution procedures authorized
pursuant to the ADR Order.

        1.8     Affiliate: With respect to any specified Entity, any other Entity that directly, or
indirectly through one or more intermediaries, controls, is controlled by, or is under common
control with, such Entity.

       1.9   AFICA: Puerto Rico Industrial, Tourist, Educational, Medical, and
Environmental Control Facilities Financing Authority.

         1.10 Allowed: With respect to any Claim against HTA, such Claim or portion thereof
(a) proof of which was filed on or before the applicable Bar Date or (b) if no proof of Claim has
been timely filed, which has been or hereafter is listed by the Debtor in the List of Creditors and
is not listed thereon as “disputed”, “contingent”, or “unliquidated” or (c) allowed pursuant to
(i) section 502(h) of the Bankruptcy Code, applicable to the Title III Case pursuant to
Section 301 of PROMESA, (ii) the terms of the HTA Plan or (iii) a Final Order; provided,
however, that, with respect to any Claim described in clause (a) or (b) above, such Claim shall be
considered Allowed only if, and to the extent that, no objection to the allowance thereof, or
action to equitably subordinate or otherwise limit recovery with respect thereto, has been
interposed within the applicable period of limitation fixed by the HTA Plan, the Bankruptcy
Code, the Bankruptcy Rules, or a Final Order, or as to which an objection has been interposed
and such Claim has been allowed in whole or in part by a Final Order. For purposes of
determining the amount of an “Allowed Claim” with respect to distributions within a Class, there
shall be deducted therefrom an amount equal to the amount of any, original issue discount not
accrued as of the date immediately prior to the HTA Petition Date and any Claim that the Debtor
may hold against the holder thereof, to the extent such Claim may be set off pursuant to
applicable bankruptcy and non-bankruptcy law. Notwithstanding anything to the contrary herein
(x) Claims allowed solely for the purpose of voting to accept or reject the HTA Plan pursuant to
an order of the Title III Court shall not be considered “Allowed” hereunder unless otherwise
specified herein or by order of the Title III Court, (y) for any purpose under the HTA Plan,
“Allowed” shall not include interest, penalties, or late charges arising from or relating to the
period from and after the HTA Petition Date, and (z) “Allowed” shall not include any Claim
subject to disallowance in accordance with section 502(d) of the Bankruptcy Code.

       1.11    Allowed Claim: A Claim, to the extent it is or has become Allowed.

       1.12    Ambac: Ambac Assurance Corporation or its successor or designee.

       1.13 Ambac Acceleration Price: With respect to any Ambac Insured Bond, an
amount equal to the outstanding principal amount of such Ambac Insured Bond plus the accrued
and unpaid interest thereon as of the date of payment; provided, however, that such amount shall
be adjusted to account for any payment of principal and/or accrued interest made to the holder of
such Ambac Insured Bond on account of the Ambac Insurance Policies prior to the payment of


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an applicable Allowed Ambac Insured Bond Claim in accordance with the terms and provisions
of Section 26.4 hereof.

        1.14 Ambac Action: The litigation styled Ambac Assurance Corp. v. Merrill Lynch,
Pierce, Fenner & Smith Inc., et al., currently pending in the Estado Libre Asociado de Puerto
Rico, Sala Superior de San Juan, Civil No. SJ2020CV01505.

        1.15 Ambac Bondholder Elections: Collectively, the elections provided to Ambac
Insured Bond holders in accordance with the terms and provisions of Section 26.4 hereof and set
forth in the Ambac Bondholder Election Form.

      1.16 Ambac Bondholder Election Forms: The “Election Notice to Holders of
Ambac Insured HTA 98 Senior Bond Claims” attached as Schedule 5(a) to the Disclosure
Statement Order.

     1.17 Ambac Bondholder Notice Form: The “Notice to Holders of Ambac Insured
HTA 68 Bond Claims” attached as Schedule 4(e) to the Disclosure Statement Order.

        1.18 Ambac Certificates: The certificate(s) or unit(s) to be issued by the Ambac
Trust to beneficial holders of HTA Bonds electing treatment pursuant to the terms and provisions
of Section 26.4 hereof and which HTA Bonds are deposited into the Ambac Trust.

       1.19 Ambac Commutation Consideration: A combination of some or all of the
following selected at Ambac’s sole discretion at or prior to the commencement of the Disclosure
Statement Hearing: (a) some or all of a holder’s Pro Rata Share of the Ambac Plan
Consideration; (b) a percentage, to be determined at Ambac’s sole discretion, of the
Consummation Costs and/or the HTA PSA Restriction Fee allocable to Ambac in accordance
with the terms and provisions of Article III hereof; and (c) Cash in an amount to be determined
by Ambac in its sole discretion.

          1.20   Ambac Commutation Treatment: The treatment set forth in Section 25.4(b)(i)
hereof.

       1.21 Ambac CW/HTA Bond Claims: Collectively, the CW/HTA Claims arising
from the HTA Bonds insured by Ambac.

       1.22 Ambac Election: Ambac’s rights, as set forth in Section 26.4 hereof, to select
the form of Ambac Treatment.

       1.23 Ambac Election Notice: The “Ambac Election Notice” attached as Schedules
4(e) and 5(a) to the Disclosure Statement Order.

       1.24 Ambac Insured Bond Claims: Collectively, the Claims against HTA arising
from the Ambac Insured Bonds, including, any HTA 68 Bond Claims (Ambac) and HTA 98
Senior Bond Claims (Ambac).

          1.25   Ambac Insured Bondholder: The beneficial holder of an Ambac Insured Bond.


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        1.26 Ambac Insured Bonds: Collectively, the HTA Bonds that have been insured by
Ambac or are otherwise owned (by subrogation or otherwise) by Ambac, including, without
limitation, pursuant to a secondary market insurance policy.

       1.27 Ambac Insurance Policies: The existing insurance policies issued by Ambac (or
a predecessor in interest thereof) relating to the Ambac Insured Bonds, together with any and all
agreements and other documents related thereto.

       1.28 Ambac Non-Commutation Treatment: The treatment set forth in Section
26.4(b)(ii) hereof.

       1.29 Ambac Plan Consideration: The consideration allocable or distributable to
holders of Allowed Ambac Insured Bond Claims and the CW/HTA Recovery allocable to
holders of the Allowed Ambac CW/HTA Claims.

       1.30 Ambac Treatment: The treatment of Ambac Insured Bond Claims set forth in
Section 26.4 hereof comprised of the Ambac Commutation Treatment and the Ambac Non-
Commutation Treatment.

         1.31 Ambac Trust: With respect to each class of Ambac Insured Bonds, a separate
trust or custodial arrangement that will be formed, on or prior to the HTA Effective Date, by
HTA, at the sole cost and expense of Ambac and for the benefit of the beneficial holders of such
Ambac Insured Bonds.

        1.32 Ambac Trust Assets: Collectively, the assets to be deposited into the Ambac
Trust(s), consisting of (a) the Ambac Insured Bonds, (b) the Ambac Plan Consideration, and (c)
the Ambac Insurance Policies.

        1.33 Appointments Related Litigation: Collectively, the litigation styled (a) Pinto
Lugo, et al. v. United States, Case No. 21-1283 (appealed from Adv. Proc. No. 18-00041-LTS),
currently pending in the United States Court of Appeals for the First Circuit, (b) Hermandad De
Empleados Del Fondo Del Seguro Del Estado, Inc., et al. v. United States, Case No. 19-2243
(appealed from Adv. Proc. No. 18-00066), currently pending in the United States Court of
Appeals for the First Circuit, (c) Hernandez-Montañez, et al. v. The Financial Oversight &
Management Board for Puerto Rico, Adv. Proc. No. 18-00090, currently pending in the Title III
Court, and (d) such other litigation as may be currently pending or as may be commenced during
the period from and after the date hereof up to and including the HTA Effective Date wherein
claims or Causes of Action consistent with or similar to those asserted or which could have been
asserted in the above-referenced litigations have been asserted.

        1.34 Assets: Collectively, (i) all “property” of the Debtor, including, without
limitation, such property as it may be reflected on the Debtor’s books and records and the HTA
Confirmation Order as of the HTA Effective Date and (ii) all Causes of Action, and any
subsequent proceeds thereof, that have been or may be commenced by the Debtor or other
authorized representative for the benefit of the Debtor and its Creditors, unless modified or
released pursuant to the HTA Plan or a Final Order, including, without limitation, any Avoidance
Action.


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       1.35 Assured: Assured Guaranty Corp. and Assured Guaranty Municipal Corp.,
together with their respective successors or designees.

        1.36 Assured Acceleration Price: A price equal to the outstanding principal amount
of an Assured Insured Bond plus accrued and unpaid interest thereon, or, in the case of any
capital appreciation bonds, the compounded amount thereof, in each case, as of the date of
payment.

       1.37 Assured Bondholder Elections: Collectively, the elections provided to Assured
Insured Bondholders pursuant to Section 26.1(b) hereof in the event Assured does not exercise
the Assured Election.

       1.38 Assured Bondholder Elections Form: The “Election Notice for Certain
Assured Insured Bondholders with Claims in Classes 3 and 7” attached as Schedule 5(b) to the
Disclosure Statement Order.

        1.39 Assured CW/HTA Bond Claims: Collectively, the CW/HTA Claims arising
from HTA Bonds insured by Assured, including pursuant to a secondary market insurance
policy.

        1.40 Assured Election: Assured’s rights, as set forth in Section 26.1 hereof, to receive
the Assured New HTA Bonds allocable to holders of Assured Insured Bonds, and to cause all or
any portion of the Assured Insured Bonds selected by Assured to be paid by Assured, in full, on
the HTA Effective Date, at an Assured Acceleration Price equal to the outstanding principal
amount of such Assured Insured Bonds plus the accrued and unpaid interest thereon (or, in the
case of any capital appreciation bonds, the compounded amount thereof) as of the date of
payment in accordance with the Assured Insurance Policies insuring the Assured Insured Bonds.

       1.41 Assured Election Notice: The “Assured Election Notice”, a copy of which is
attached as Schedule 5(c) to the Disclosure Statement Order.

        1.42 Assured Insurance Policies: The existing insurance policies issued by Assured
relating to the Assured Insured Bonds, together with any and all agreements and other documents
related thereto.

       1.43 Assured Insured Bond Claim: A Claim against HTA arising from an Assured
Insured Bond, including any HTA 68 Bond Claims (Assured), HTA 98 Senior Bond Claims
(Assured), and HTA 98 Sub Bond Claims (Assured).

        1.44   Assured Insured Bondholder: The beneficial holder of an Assured Insured
Bond.

        1.45 Assured Insured Bonds: Collectively, the HTA Bonds that have been insured or
are otherwise owned (by subrogation or otherwise) by Assured, including, without limitation,
pursuant to a secondary market insurance policy; provided, however, that, for the avoidance of
doubt, “Assured Insured Bonds” shall include the bonds identified on Exhibit “A” to the Assured
Election Notice and Exhibit “A” to the Assured Bondholder Elections Form


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      1.46 Assured New HTA Bonds: The New HTA Bonds allocable to holders of
Assured Insured Bond Claims.

         1.47 Assured Plan Consideration: The consideration allocable or distributable to
holders of Allowed Assured Insured Bond Claims, consisting of (a) in the case of Assured
Insured Bonds that are HTA 68 Bonds or HTA 98 Senior Bonds, but not Dual-Insured Bonds, (i)
New HTA Bonds and/or (ii) in the event of an election by the Commonwealth and/or HTA to
substitute Cash for the issuance of New HTA Bonds on the HTA Effective Date, Cash resulting
from such election by the Commonwealth and/or HTA to substitute Cash for the New HTA
Bonds on the HTA Effective Date, (b) in the case of Dual-Insured Bonds, FGIC Certificates, and
(c) in the case of Assured Insured Bonds that are HTA 98 Sub Bonds, subject to the terms and
provisions of the Commonwealth Plan and the Commonwealth Confirmation Order, any HTA 98
Sub Bond Recovery allocable to the related HTA 98 Sub Bond Claims (Assured); provided,
however, that, for the avoidance of doubt, no Cash, securities, or other consideration that
Assured is entitled to receive pursuant to Article LXIII of the Commonwealth Plan or decretal
paragraph 52 of the Commonwealth Confirmation Order shall constitute Assured Plan
Consideration.

       1.48 Assured Treatment: The treatment of Assured Insured Bond Claims set forth in
Section 26.1 hereof.

        1.49 Assured Trust: A custodial trust, escrow arrangement or similar structure
established pursuant to Section 26.1(b)(ii) of the HTA Plan.

         1.50 Avoidance Actions: The avoidance, recovery, subordination actions identified
on Exhibit “A” hereto, as such Exhibit “A” may be amended or modified up to and including the
HTA Effective Date, against any Entity that have been brought by or on behalf of the Debtor
against an Entity under sections 510, 544, 545, 547, 548, 549, 550, 551, 552 and 553 of the
Bankruptcy Code, applicable to the Title III Case pursuant to Section 301 of PROMESA, or
applicable non-bankruptcy law, (b) such other actions that have been brought by or on behalf of
the Debtor seeking affirmative recoveries, and which actions are set forth on Exhibit “A” hereto,
as such Exhibit “A” may be amended or modified up to and including the HTA Effective Date,
and (c) all similar Causes of Action that are currently subject to tolling agreements with HTA;
provided, however, that under no circumstances shall “Avoidance Actions” include, (x) any
Claim or Cause of Action against any Entity relating to HTA Bond Claims, (y) any Claim or
Cause of Action related to the Fourth Amended Stipulation Between the Commonwealth of
Puerto Rico and the Puerto Rico Highways and Transportation Authority Regarding the Tolling
of Statute of Limitations and Consent Order [Case No. 17-3283-LTS, ECF No. 15854], as
amended, which terminated upon entry of the Commonwealth Confirmation Order, or (z) any
Claim or Cause of Action related to the Fourth Amended Stipulation and Consent Order Between
Title III Debtors (Other Than COFINA) and the Puerto Rico Fiscal Agency and Financial
Advisory Authority Acting on Behalf of the Governmental Entitles Listed on Appendix “B”
Regarding the Tolling of Statute of Limitations [Case No. 17-3283-LTS, ECF No. 17394], as
amended, which terminated upon entry of the Commonwealth Confirmation Order.

       1.51 Avoidance Actions Trust: The trust created on the Commonwealth Effective
Date into which have been transferred Claims and Causes of Action of the Commonwealth, ERS,

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and PBA, and into which on the HTA Effective Date shall be transferred the authority to litigate
or compromise and settle the Avoidance Actions.

       1.52 Avoidance Actions Trust Agreement: That certain Avoidance Actions Trust
Agreement, dated as of March 15, 2022, by and among the Commonwealth ERS, PBA, the
Oversight Board and Drivetrain, LLC.

      1.53 Avoidance Actions Trust Board: The three (3) member board appointed as of
the Commonwealth Effective Date to govern the Avoidance Actions Trust.

       1.54 Avoidance Actions Trustee: Drivertrain LLC, the trustee appointed by the
Avoidance Actions Trust Board in accordance with the terms and provisions of the Avoidance
Actions Trust Agreement.

        1.55 Ballot Date: The deadline(s) established by the Title III Court and set forth in the
Disclosure Statement Order for the submission of Ballots/Election Forms and the election of
alternative treatments pursuant to the terms and provisions of the HTA Plan.

       1.56 Ballot/Election Form: The ballot and election form, the form of which is
approved by the Title III Court, distributed to each holder or insurer, as the case may be, of an
impaired Claim entitled to vote on, or otherwise make an election with respect to, the HTA Plan,
on which form is to be indicated, among other things, (a) acceptance or rejection of the HTA
Plan and/or (b) to the extent applicable, an election of distribution and treatment which may be
required in accordance with the provisions of the HTA Plan.

        1.57 Bankruptcy Code: The Bankruptcy Reform Act of 1978, as amended, to the
extent codified in Title 11, United States Code, and made applicable to the Title III Case.

       1.58 Bankruptcy Rules: The Federal Rules of Bankruptcy Procedure, as promulgated
by the United States Supreme Court under section 2075 of Title 28 of the United States Code, as
amended and as applicable to the Title III Case.

        1.59 Bar Date: The date established by the Title III Court by which proofs of Claim
against the Debtor must have been filed pursuant to (a) the Bar Date Orders, (b) a Final Order of
the Title III Court, or (c) the HTA Plan.

        1.60 Bar Date Orders: The orders of the Title III Court establishing the dates by
which proofs of Claim against the Debtor or its Assets must have been filed, including, but not
limited to, that certain (a) Order (A) Establishing Deadlines and Procedures for Filing Proofs of
Claim and (B) Approving Form and Manner of Notice Thereof [Case No. 17-3283-LTS, ECF
No. 2521], and (b) Order (A) Extending Deadlines for Filing Proofs of Claim and (B) Approving
Form and Manner of Notice Thereof [Case No. 17-3283-LTS, ECF No. 3160].

        1.61 Business Day: A day other than a Saturday, Sunday, or any other day on which
commercial banking institutions in New York, New York and San Juan, Puerto Rico are required
to close by law or executive order.



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        1.62 Capital Improvements: Any project or projects (a) funded, or proposed to be
funded, in whole or in part, by or through public monies, to construct, reconstruct, restore,
rehabilitate or purchase any equipment, property or facilities of HTA, including, without
limitation, buildings, infrastructure, information technology systems or other equipment that is
funded on a necessarily non-repeating basis that is to be used as a public asset or for the public
benefit, or (b) financed or proposed to be financed, in whole or in part, through the issuance of
private activity bonds or other similar instruments.

       1.63 Cash: Lawful currency of the United States, including, but not limited to, bank
deposits, checks representing good funds, and legal equivalents thereof.

        1.64 Causes of Action: All claims, actions, causes of action, rights to payment,
choses in action, suits, debts, dues, sums of money, accounts, reckonings, bonds, bills,
specialties, covenants, contracts, controversies, agreements, promises, variances, trespasses,
damages, judgments, remedies, rights of set-off, third-party claims, subrogation claims,
contribution claims, reimbursement claims, indemnity claims, counterclaims, and cross claims
(including, but not limited to, all claims for breach of fiduciary duty, negligence, malpractice,
breach of contract, aiding and abetting, fraud, inducement, avoidance, recovery, subordination,
and all Avoidance Actions) that are pending or may be asserted against any Entity whether
arising on or before the HTA Effective Date, based in law or equity, including, but not limited to,
under the Bankruptcy Code, whether known, unknown, reduced to judgment, not reduced to
judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed,
secured or unsecured and whether asserted or assertable directly or derivatively, in law, equity or
otherwise and whether asserted or unasserted as of the HTA Effective Date.

       1.65    CCDA: Puerto Rico Convention Center District Authority.

       1.66 Charging Lien: A lien or right to priority of payment to which the HTA Fiscal
Agent may be entitled pursuant to an applicable governing resolution, trust agreement, or other
document or instrument against distributions to be made in accordance with the terms and
provisions of the HTA Plan for payment of reasonable compensation, indemnification, fees,
expenses and disbursements incurred prior or subsequent to the HTA Effective Date.

        1.67 Claim: Any right to payment or performance, whether or not such right is
reduced to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed,
undisputed, legal, equitable, secured, or unsecured, known or unknown or asserted or unasserted;
or any right to an equitable remedy for breach or enforcement of performance, whether or not
such right to an equitable remedy is reduced to judgment, fixed, contingent, matured, unmatured,
disputed, undisputed, secured, or unsecured, and all debts, suits, damages, rights, remedies,
losses, liabilities, obligations, judgments, actions, Causes of Action, demands, or claims of every
kind or nature whatsoever, in law, at equity, or otherwise.

       1.68    Class: A category of Claims set forth in Article IV of the HTA Plan.

       1.69 Clawback Actions: Collectively, the litigation styled (a) The Financial
Oversight and Management Board for Puerto Rico v. Ambac Assurance Corporation, et al., Adv.
Pro. No. 20-00005-LTS, currently pending in the Title III Court, (b) The Financial Oversight and


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Management Board for Puerto Rico v. Ambac Assurance Corporation, et al., Adv. Pro.
No. 20-00004-LTS, currently pending in the Title III Court, (c) The Financial Oversight and
Management Board for Puerto Rico v. Ambac Assurance Corporation, et al., Adv. Pro.
No. 20-00003-LTS, currently pending in the Title III Court, and (d) The Financial Oversight and
Management Board for Puerto Rico v. Ambac Assurance Corporation, et al., Adv. Pro.
No. 20-00007-LTS, currently pending in the Title III Court.

       1.70 Clawback CVI Indenture: The indenture executed and delivered on the
Commonwealth Effective Date pursuant to which the Commonwealth issued the Clawback
CVIs, and including all of the terms and provisions in connection therewith, as it may be
amended, supplemented or modified from time to time in accordance with its terms and
conditions.

        1.71 Clawback CVIs: Collectively, the general obligation securities, the payment for
which the Commonwealth has pledged its full faith, credit and taxing power pursuant to Article
VI of the Commonwealth Constitution and applicable Puerto Rico law issued on the
Commonwealth Effective Date by the Commonwealth in accordance with the terms and
conditions of Annex “2” to Exhibit “J” to the Commonwealth Plan, including, without limitation,
as implemented in accordance with the Commonwealth Confirmation Order, the Clawback CVI
Indenture and the CVI Legislation.

       1.72    COFINA: Puerto Rico Sales Tax Financing Corporation.

       1.73    Commonwealth: The Commonwealth of Puerto Rico.

        1.74 Commonwealth Confirmation Order: The Order and Judgment Confirming
Modified Eight Amended Title III Joint Plan of Adjustment of the Commonwealth of Puerto
Rico, the Employees Retirement System of the Government of the Commonwealth of Puerto
Rico, and the Puerto Rico Public Buildings Authority, dated January 18, 2022 (Case No. 17-
03283-LTS, ECF No. 19813).

       1.75    Commonwealth Constitution: The Constitution of the Commonwealth of
Puerto Rico.

       1.76 Commonwealth Effective Date: March 15, 2022, the date on which the
Commonwealth Plan was substantially consummated in accordance with its terms and the
provisions of the Commonwealth Plan and the Commonwealth Confirmation Order.

        1.77 Commonwealth Loan: The loan extended by the Commonwealth to HTA in the
original principal amount up to Three Hundred Sixty-Two Million Dollars ($362,000,000.00) in
connection with, among other things, HTA’s obligations pursuant to the HTA/CCDA Plan
Support Agreement, the Commonwealth Confirmation Order, and the DRA Stipulation.

       1.78    Commonwealth Legislature: The Legislative Assembly of Puerto Rico.

      1.79 Commonwealth Plan: That certain Modified Eighth Amended Title III Plan of
Adjustment of the Commonwealth of Puerto Rico, et al., dated January 14, 2022 [Case No. 17-
3283-LTS, ECF. No 19784].

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        1.80 Consummation Costs: Collectively, the amount set forth in Section 3.3 hereof to
be paid, in Cash, on the HTA Effective Date, or as soon thereafter as practicable, but in no event
later than ten (10) Business Days following the HTA Effective Date, to the applicable Initial
HTA/CCDA PSA Creditors in accordance with the terms and provisions of the HTA/CCDA Plan
Support Agreement, Article III hereof, and the HTA Confirmation Order.

       1.81 Convenience Cap: Two Million Five Hundred Thousand Dollars
($2,500,000.00), the aggregate amount of consideration to be made available to holders of
Allowed Convenience Claims, unless such limitation is otherwise waived by the Creditors’
Committee at or prior to the commencement of the HTA Confirmation Hearing.

        1.82 Convenience Claim: An Allowed HTA General Unsecured Claim (a) that is
equal to or less than Twenty Thousand Dollars ($20,000.00) or (b) the holder of which, at such
holder’s option, has elected to reduce the amount of such Allowed HTA General Unsecured
Claim to Twenty Thousand Dollars ($20,000.00) in accordance with terms and provisions set
forth in Section 20.1(b) hereof; provided, however, that, notwithstanding the foregoing, a holder
of multiple Allowed HTA General Unsecured Claims that are greater than Forty Thousand
Dollars ($40,000.00) in the aggregate, may elect to reduce all such Claims to an aggregate
amount of Forty Thousand Dollars ($40,000.00); and, provided, further, that the aggregate
amount of consideration to be made available to Convenience Claims shall be Two Million Five
Hundred Thousand Dollars ($2,500,000.00), which Convenience Cap may be waived by the
Creditors’ Committee at or prior to the commencement of the HTA Confirmation Hearing in its
sole and absolute discretion; and, provided, further, that, in the event the Convenience Cap is
exceeded and not waived by the Creditors’ Committee at or prior to the commencement of the
HTA Confirmation Hearing, holders of Allowed Convenience Claims shall receive a Pro Rata
Share of the Convenience Cap.

        1.83 Conversion Date: The final compounding date for the accretion period
associated with the New HTA Convertible CABs at which time the New HTA Convertible CABs
shall begin to accrue and pay interest on a semi-annual basis.

       1.84 Creditor: Any Entity holding a Claim against the Debtor or any of the Debtor’s
Assets or, pursuant to section 102(2) of the Bankruptcy Code, against any other property of the
Debtor, including, without limitation, a Claim against the Debtor of a kind specified in section
502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case, solely in such Entity’s capacity
as such.

       1.85 Creditors’ Committee: The statutory committee of unsecured claimholders
appointed in the HTA Title III Case.

        1.86 CUSIP: The Committee on Uniform Securities Identification procedures nine-
digit numeric or nine-digit character alphanumeric code.

       1.87 Custodial Trust Documents: Collectively, the trust agreements and other
documents and instruments attendant to the custodial trusts to be created as of the HTA Effective
Date and relating to the HTA Bonds insured by a Monoline, if applicable, and the distributions to



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be made in accordance with the HTA Plan, which trust agreements shall be in form and
substance reasonably satisfactory to the Oversight Board and the respective Monolines.

       1.88    CVIs: Collectively, GO CVIs and the Clawback CVIs.

       1.89    CVI Indenture: Collectively, the GO CVI Indenture and the Clawback CVI
Indenture.

      1.90 CVI Legislation: Act No. 53 of October 26, 2021, known as the “Law to End the
Bankruptcy of Puerto Rico”.

         1.91 CW/Convention Center Claim: The Claim against the Commonwealth arising
from or related to the Commonwealth’s retention of certain funds historically transferred to
CCDA pursuant to the provisions of the Commonwealth Constitution, any statute, regulation, or
executive order including claims related to the rights or obligations arising under (a) Section 8 of
Article VI of the Commonwealth Constitution, 13 L.P.R.A. §2271v, 23 L.P.R.A. §104(c), and
the Commonwealth of Puerto Rico Administrative Bulletin Nos. OE-2015-46, OE-2016-14, and
OE-2016-31, and (b) the indebtedness issued by CCDA pursuant to that certain Trust
Agreement, dated as of March 24, 2006, between CCDA and JPMorgan Chase Bank, N.A., as
trustee.

        1.92 CW/HTA Claim: The Claim against the Commonwealth arising from or related
to the Commonwealth’s retention of certain funds historically transferred to HTA pursuant to the
provisions of the Commonwealth Constitution, any statute, regulation, or executive order,
including, without limitation, claims asserted on account of the GDB HTA Loans and claims
related to the rights or obligations arising under (a) Section 8 of Article VI of the Commonwealth
Constitution, 9 L.P.R.A. §2021, 13 L.P.R.A. §31751 (a)(3)(C), 23 L.P.R.A. §104(c), and
Commonwealth of Puerto Rico Administrative Bulletin Nos. OE-2015-46, OE-2016-14, OE-
2016-18, OE-2016-30, and OE-2016-31 and (b) the indebtedness issued by HTA pursuant to that
certain (i) Resolution No. 68-18, adopted June 13, 1968, and (ii) Resolution No. 98-06, adopted
February 26, 1998.

       1.93 CW/HTA Clawback Recovery: The aggregate recovery by holders or insurers
of Allowed CW/HTA Claims, consisting of sixty-eight and six tenths percent (68.6%) of the
Clawback CVIs, as presented within Annex 4 of Exhibit “J” to the Commonwealth Plan.

        1.94 CW/MBA Claim: The Claim against the Commonwealth arising from or related
to the Commonwealth’s retention of certain funds historically transferred to MBA related to the
rights or obligations arising under the provisions of the Commonwealth Constitution, any statute,
regulation, or executive order.

        1.95 CW/PRIFA Rum Tax Claim: The Claim against the Commonwealth arising
from or related to the Commonwealth’s retention of certain funds historically transferred to
PRIFA pursuant to the provisions of the Commonwealth Constitution, any statute, regulation, or
executive order, including Claims related to the rights or obligations arising under (a) Section 8
of Article VI of the Commonwealth Constitution, 3L.P.R.A. §1914, and Commonwealth of
Puerto Rico Administrative Bulletin Nos. OE-2015-46, OE-2016-27, and OE-2016-30, and (b)


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the indebtedness issued by PRIFA pursuant to that certain Trust Agreement, dated as of October
1, 1988, between PRIFA and U.S. Bank Trust National Association, as successor trustee.

      1.96 Debt: Collectively, bonds, notes, loans and other evidences of indebtedness for
borrowed money; provided, however, that “Debt” shall not include the Secured Obligations.

       1.97   Debtor: HTA.

       1.98 Debt Management Policy: The policy developed by HTA, and approved by the
Oversight Board, relating to the issuance of indebtedness by Reorganized HTA, as more fully
described in Section 24.3 hereof.

       1.99 Debt Policy Period: The period commencing on the first (1st) calendar day
immediately following the HTA Effective Date and ending on the first (1st) calendar day on
which no New HTA Bonds or refinancing thereof remain outstanding.

        1.100 Debt Related Objections: Collectively, that certain (a) Omnibus Objection of
(I) Financial Oversight and Management Board, Acting through Its Special Claims Committee,
and (II) Official Committee of Unsecured Creditors, Pursuant to Bankruptcy Code Section 502
and Bankruptcy Rule 3007, to Claims Filed or Asserted by Holders of Certain Commonwealth
General Obligation Bonds, dated January 14, 2019 [Case No. 17-3283-LTS, ECF No. 4784], (b)
Omnibus Objections of Official Committee of Unsecured Creditors, Pursuant to Bankruptcy
Code Section 502 and Bankruptcy Rule 3007, to Claims Filed or Asserted by Holders of Certain
2011 Commonwealth General Obligation Bonds, dated May 21, 2019 [Case No. 17-3283-LTS,
ECF No. 7057], (c) Omnibus Objection of Official Committee of Unsecured Creditors, Pursuant
to Bankruptcy Code Section 502 and Bankruptcy Rule 3007, to Claims Filed or Asserted Against
Commonwealth by Holders of Certain Puerto Rico Public Buildings Authority Bonds, dated July
18, 2019 [Case No. 17-3283-LTS, ECF No. 8141], (d) Omnibus Objection of the Lawful
Constitutional Debt Coalition, Pursuant to Bankruptcy Code Section 502 and Bankruptcy Rule
3007, to Claims Filed or Asserted by Holders of Certain Bonds Issued or Guaranteed by the
Commonwealth, dated January 8, 2020 [Case No. 17-3283-LTS, ECF. No. 9730], (e) Official
Committee of Unsecured Creditors Omnibus Objection on Constitutional Debt Limit Grounds to
(I) Claim of Government Development Bank for Puerto Rico [Claim Number 29485] Based on
Certain Commonwealth-Issued Notes and on Commonwealth Guaranty of Certain Bonds Issued
by Port of Americas Authority, (II) Claim of ScotiaBank de Puerto Rico [Claim Number 47658]
Based on Full Faith and Credit Note Issued by Puerto Rico General Services Administration, and
(III) Claims filed or Asserted Against Commonwealth Based on Commonwealth Guaranty of
Certain Notes Issued by Puerto Rico Infrastructure Authority, dated January 8, 2020 [Case No.
17-3283-LTS, ECF No. 9735], solely as it relates to the CW Bond Claims and the CW Guarantee
Bond Claims, (f) Omnibus Objection of Official Committee of Unsecured Creditors, Pursuant to
Bankruptcy Code Section 502 and Bankruptcy Rule 3007, to Claims Filed or Asserted Against
Commonwealth by Holders of General Obligation Bonds Asserting Priority Over Other
Commonwealth Unsecured Creditors, dated February 3, 2020 [Case No. 17-3283-LTS, ECF No.
10638], (g) Objection of Official Committee of Unsecured Creditors to Claim of Government
Development Bank for Puerto Rico Against Commonwealth of Puerto Rico (Claim Number
29,485) [Case No. 17-3283-LTS, ECF No. 8000], solely as it relates to the CW Bond Claims and
the CW Guarantee Bond Claims, and (h) any other (i) litigations or actions, including, without

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limitation, litigations or actions commenced to recover principal and/or interest with respect to
the GO Bonds, the PBA Bonds and/or the PRIFA BANs, and (ii) any other objections or joinders
to these or other such objections or joinders to these or such other objections or notices of
participation that support the relief requested in such objections filed pertaining to the same form
and counts of requested relief challenging, among other things, the validity and related rights of
the GO Bonds, the PBA Bonds, the PRIFA BANs, the CW Bond Claims, the CW Guarantee
Bond Claims, and the PBA Bond Claims.

       1.101 Debt Service Fund: The fund to be created in accordance with the terms and
provisions of the New HTA Bonds Indenture and Section 25.1 hereof in connection with the
deposit of amounts necessary to satisfy the payments of principal and interest on account of the
New HTA Bonds.

        1.102 Deemed Issuance Date: The earlier to occur of (a) July 1, 2022 and (b) the HTA
Effective Date.

        1.103 Definitive Documents: Collectively, the definitive documents and agreements
contemplated by the HTA Plan, including, without limitation, (a) the HTA Plan (including any
amendments, modifications and supplements thereto) and any documentation or agreements
related thereto, (b) the Disclosure Statement, the Disclosure Statement Order, the HTA
Confirmation Order, and pleadings in support of entry thereof, (c) the New HTA Bonds
Indenture and documents or agreements related thereto, (d) the form of bonds for the New HTA
Bonds, and (e) each other document that will comprise the Plan Supplement, in all cases, the
form and substance of which shall be acceptable to the Oversight Board in its sole and absolute
discretion, and reasonably acceptable to AAFAF and the Monolines, and, in the case of clauses
(a) and (b) above, reasonably acceptable to the Creditors’ Committee.

        1.104 Disallowed: With respect to any Claim against the Debtor, a Claim or any
portion thereof that is not Allowed and (a) has been disallowed by a Final Order, (b) is zero,
contingent, disputed, or undisputed and as to which no proof of claim or request for payment of
an Administrative Expense Claim has been timely filed or deemed timely filed with the Title III
Court, (c) has been withdrawn by agreement of the applicable Debtor and the holder thereof, or
(d) has been withdrawn by the holder thereof.

        1.105 Disbursing Agent: Such Entity or Entities designated by the Oversight Board,
upon consultation with AAFAF, on or prior to the HTA Effective Date to make or to facilitate
distributions in accordance with the provisions of the HTA Plan.

        1.106 Disclosure Statement: The disclosure statement relating to the HTA Plan and
approved by the Title III Court pursuant to section 1125 of the Bankruptcy Code, applicable to
the Title III Case pursuant to Section 301 of PROMESA.

       1.107 Disclosure Statement Hearing: The hearing held by the Title III Court to
consider the adequacy of the information contained in the Disclosure Statement in accordance
with section 1125 of the Bankruptcy Code, applicable to the Title III Case pursuant to
Section 301 of PROMESA.



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        1.108 Disclosure Statement Order: The order of the Title III Court (a) approving the
Disclosure Statement as containing adequate information in accordance with the provisions of
section 1125 of the Bankruptcy Code, applicable to the Title III Case pursuant to Section 301 of
PROMESA, and (b) authorizing, among other things, the form and manner of solicitation of (i)
acceptances and rejections to the HTA Plan, and (ii) elections, if applicable, of distributions
hereunder, which order shall be in form and substance reasonably satisfactory to the Initial
HTA/CCDA PSA Creditors and each of the Government Parties.

        1.109 Disputed Claim: A Claim against the Debtor or its Assets, to the extent the
allowance of such Claim is the subject of a timely objection or request for estimation in
accordance with the HTA Plan, the Bankruptcy Code, the Bankruptcy Rules, or the HTA
Confirmation Order, or is otherwise disputed by the Debtor in accordance with applicable law,
and which objection, request for estimation, or dispute has not been withdrawn, with prejudice,
or determined by a Final Order.

       1.110 Disputed Funds Stipulation: That certain Amended and Restated Stipulation
and Agreed Order Regarding the Disputed Funds in the HTA Bond Service Accounts,
Redemption Accounts and Reserve Accounts, dated March 11, 2022, between (a) the
Commonwealth and HTA, by and through the Oversight Board, and (b) The Bank of New York
Mellon, in its capacity as fiscal agent, and approved pursuant to an order of the Title III Court,
dated March 16, 2022 (Case No. 17-03283 LTS, ECF No. 20366).

        1.111 Distribution Record Date: The Ballot Date or such other date as may be
established by a separate order of the Title III Court, including the HTA Confirmation Order;
provided, however, that the “Distribution Record Date” shall not apply to any publicly held
securities that will receive a distribution pursuant to the HTA Plan through The Depository Trust
Company.

       1.112 DRA: The GDB Debt Recovery Authority.

        1.113 DRA Parties: Collectively, AmeriNational Community Services LLC, in its
capacity as servicer for the DRA, and Cantor-Katz Collateral Monitor LLC, in its capacity as
collateral monitor for Wilmington Trust N.A. in connection with the bonds issued by DRA
pursuant to the Government Development Bank for Puerto Rico Debt Restructuring Act, Act No.
109-2017 (as amended), and the Qualifying Modification for GDB approved in accordance with
the terms and provisions of Title VI of PROMESA.

       1.114 DRA Restriction Fee: The fee to be paid, in Cash, on the HTA Effective Date,
in accordance with the terms and provisions of the DRA Stipulation, Section 3.5 hereof, and the
HTA Confirmation Order, in the amount of Fifteen Million Dollars ($15,000,000.00).

         1.115 DRA Stipulation: That certain Stipulation in Connection With DRA Related
Disputes, dated as of November 5, 2021, by and among the Oversight Board, as representative of
the Commonwealth and HTA, Cantor-Katz Collateral Monitor LLC, and AmeriNational
Community Services, LLC, and affirmed pursuant to an order, dated November 8, 2021 of the
Title III Court [Case No. 17-3283-LTS, ECF No. 19124].



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       1.116 Dual-Insured Bond: An Assured Insured Bond that is or was insured by
Assured pursuant to a secondary market insurance policy and that also qualifies as an FGIC
Insured Bond insured by FGIC pursuant to a primary market insurance policy.

        1.117 Eminent Domain/Inverse Condemnation Claim: A Claim arising from or
related to (a) an Eminent Domain Proceeding and a Final Order entered therein for an amount in
excess of the amount deposited by the condemnor in accordance with the terms and provisions of
32 L.P.R.A. §2907, including, without limitation, interest accrued with respect thereto or (b) an
asserted inverse condemnation of property caused by an asserted taking of property for public
use by the Debtor without due process of law and without having received just compensation,
including, without limitation, through the imposition of development restrictions or use
limitations.

       1.118 Eminent Domain Proceeding: A condemnation action or proceeding
commenced by HTA or an agency or entity thereof in the Court of First Instance in accordance
with the terms and provisions of 32 L.P.R.A. §2905 to obtain title to real property located on
Puerto Rico.

        1.119 Entity: A Person, a corporation, a general partnership, a limited partnership, a
limited liability company, a limited liability partnership, an association, a joint stock company, a
joint venture, an estate, a trust, an unincorporated organization, a governmental unit or any
subdivision thereof, including, without limitation, the office of the United States Trustee, or any
other entity.

       1.120 ERS: Employee Retirement System of the Government of the Commonwealth of
Puerto Rico.

      1.121 Executory Contract: A contract to which the Debtor is a party that is subject to
assumption, assumption and assignment, or rejection in accordance with section 365 of the
Bankruptcy Code, except as provided in Section 311 of PROMESA.

       1.122 Federal Claims: Collectively, any and all Claims of the United States of
America, its agencies, departments or agents, including, without limitation, the United States
Department of Housing and Urban Development, the United States Department of Homeland
Security, and the United States Department of Labor.

       1.123 FGIC: Financial Guaranty Insurance Company or its successor or designee.

        1.124 FGIC Action: The litigation styled Financial Guaranty Ins. Co. v. Merrill Lynch,
Pierce, Fenner & Smith Inc., et al., currently pending in the Estado Libre Asociado de Puerto
Rico, Sala Superior de San Juan, Civil No. SJ2020CV06383.

        1.125 FGIC Certificates: With respect to each FGIC Trust, the certificate(s) or
receipt(s) to be issued by such FGIC Trust to the beneficial holders of the FGIC Insured Bonds
which are deposited into the FGIC Trust.

      1.126 FGIC CW/HTA Bond Claims: Collectively, the CW/HTA Claims arising from
the HTA Bonds insured by FGIC, including pursuant to a secondary market insurance policy.

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        1.127 FGIC Escrow Account Agreements: Those certain (i) Escrow Account
Agreement FGIC CW/HTA Bond Claims Arising from HTA 98 Senior Bonds, dated as of
March 15, 2022, by and among the Commonwealth, FGIC, as escrow agent thereunder, and
FGIC, as the bond insurer of the FGIC Insured HTA 98 Senior Bonds (as defined in such escrow
account agreement), and (ii) Escrow Account Agreement FGIC CW/HTA Bond Claims arising
from HTA 98 Sub Bonds, dated as of March 15, 2022, by and among the Commonwealth, FGIC,
as escrow agent thereunder, and FGIC, as the bond insurer of the FGIC Insured HTA 98 Sub
Bonds (as defined in such escrow account agreement), pursuant to which escrow accounts were
established for the benefit of the beneficial holders of FGIC CW/HTA Bond Claims to hold such
holders’ respective allocable shares of the CW/HTA Clawback Recovery (including any
payments received thereon and the net proceeds from any sales thereof) in escrow pending the
HTA Effective Date, and from which such CW/HTA Clawback Recovery shall, on a
proportionate basis, be distributed to FGIC or deposited into the applicable FGIC Trust as
provided in such escrow account agreements.

       1.128 FGIC Insured Bond Claims: Collectively, the Claims against HTA arising from
the FGIC Insured Bonds, including, any HTA 98 Senior Bond Claims (FGIC) and HTA 98 Sub
Bond Claims (FGIC).

       1.129 FGIC Insured Bonds: Collectively, the HTA Bonds that have been insured by
FGIC, including, without limitation, pursuant to a secondary market insurance policy.

       1.130 FGIC Insurance Policies: The existing insurance policies issued by FGIC (or a
predecessor in interest thereof) relating to the FGIC Insured Bonds, together with any and all
agreements and other documents related thereto, in each case as the same may have been
modified by the FGIC Rehabilitation Plan.

       1.131 FGIC Plan Consideration: The consideration allocable or distributable to
holders of Allowed FGIC Insured Bond Claims.

       1.132 FGIC Rehabilitation Plan: The First Amended Plan of Rehabilitation for FGIC,
dated June 4, 2013, together with all exhibits thereto and the documents contained in the plan
supplement thereto, in each case as the same may be amended, revised, supplemented or
otherwise modified from time to time.

       1.133 FGIC Treatment: The treatment of FGIC Insured Bond Claims set forth in
Section 26.3 hereof.

       1.134 FGIC Trust: With respect to each FGIC Insured Bond, the trust(s) which may
be formed, on or prior to the HTA Effective Date, by HTA, the sole cost and expense of which,
including, without limitation, the formation and maintenance thereof (including trustee fees and
expenses), shall be satisfied from the assets of the respective trust(s), and for the benefit of the
beneficial holders of the FGIC Insured Bonds that are deposited in each trust and FGIC, the
terms of which shall be set forth in the Plan Supplement.

       1.135 Final Order: An order or judgment of a court of competent jurisdiction that has
been entered on the docket maintained by the clerk of such court and has not been reversed,


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vacated, or stayed and as to which (a) the time to appeal, petition for certiorari, or move for a
new trial, re-argument, or rehearing has expired and as to which no appeal, petition for certiorari,
remand proceeding, or other proceedings for a new trial, re-argument, or rehearing shall then be
pending or (b) if an appeal, writ of certiorari, new trial, re-argument, or rehearing thereof has
been sought, (i) such order or judgment shall have been affirmed, reversed or remanded in part or
in full, with no further proceedings on remand, by the highest court to which such order was
appealed, certiorari shall have been denied, or a new trial, re-argument, or rehearing shall have
been denied or resulted in no modification of such order and (ii) the time to take any further
appeal, petition for certiorari, or move for a new trial, re-argument, or rehearing shall have
expired; provided, however, that the possibility that a motion under Rule 60 of the Federal Rules
of Civil Procedure, or any analogous rule under the Bankruptcy Rules or the Local Bankruptcy
Rules, may be filed relating to such order shall not prevent such order from being a Final Order,
except as provided in the Federal Rules of Appellate Procedure, the Bankruptcy Rules, or the
Local Bankruptcy Rules.

       1.136 Findings of fact and Conclusions of Law: The findings of fact and conclusions
of law of the Title III Court entered in the Title III Case in connection with confirmation of the
HTA Plan in accordance with Section 314 of PROMESA and section 1129 of the Bankruptcy
Code, made applicable in the Title III Case in accordance with Section 301 of PROMESA.

       1.137 Fiscal Plan: A “Fiscal Plan” as defined by Section 5(10) of PROMESA.

        1.138 FY: A fiscal year of HTA, commencing on July 1st and concluding on June 30th
of the following calendar year.

       1.139 GDB: The Government Development Bank for Puerto Rico.

      1.140 GDB/HTA Loans: Collectively, the loans, if any, made to HTA by GDB and
now held by the GDB Debt Recovery Authority in accordance with the Qualifying Modification
consummated under Title VI of PROMESA, but expressly excluding from “GDB HTA Loans”
any HTA Bonds.

        1.141 GDB Loan Priority Determination: The determination, rendered in the
Commonwealth Title III Case and the HTA Title III Case, (a) with respect to the relative rights
of recovery and priority of payment of the HTA 68 Bonds and the HTA 98 Bonds to the rights of
GDB with respect to the GDB HTA Loans, and/or (b) that the DRA, including, without
limitation, its predecessors and successors in interest, does not possess an allowable claim or
entitlement to recover with respect to the HTA Clawback CVI based upon such GDB HTA
Loans, as set forth in that certain Opinion and Order Granting Defendants’ Motion to Dismiss the
Complaint, dated October 29, 2021, of the Title III Court entered in AmeriNational Community
Services, LLC, et al. v Ambac Assurance Corporation, et al., Adv. Pro. No. 21-00068-LTS [ECF
No 83].

       1.142 GO CVIs: Collectively, the general obligation securities issued on the
Commonwealth Effective Date by the Commonwealth in accordance with the terms and
provisions of Annex “1” to Exhibit “J” to the Commonwealth Plan, the Commonwealth
Confirmation Order, the GO CVI Indenture and the CVI Legislation.


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        1.143 Government Entity: Any agency, department, office, public corporation, trust,
fund, system, instrumentality, political subdivision, taxing authority, or municipality of the
Government of Puerto Rico.

        1.144 Government Parties: Collectively, (a) the Oversight Board, as the representative
of the Debtor in accordance with Section 315(b) of PROMESA, (b) committees and
subcommittees of the Oversight Board, including, without limitation, the Special Claims
Committee of the Oversight Board, (c) the Debtor, and (d) AAFAF; provided, however, that,
notwithstanding the foregoing, for the avoidance of doubt, “Government Parties” shall not
include the Commonwealth, AFICA, CCDA, COFINA, ERS, MBA, MFA, PBA, PFC, PRASA,
PRIDCO, PRIFA, UPR and PREPA solely with respect to any Claims against or bonds issued by
such Entities.

         1.145 Government Released Claims: Collectively, any and all Claims, demands,
rights, liabilities, or Causes of Action of any and every kind, character or nature whatsoever, in
law or in equity, known or unknown, whether asserted or unasserted, which any Person, or
anyone claiming through them, on their behalf or for their benefit have or may have or claim to
have, now or in the future, against any Government Releasee arising from, related to, or in
connection with the Debtor, Claims (including, without limitation, Claims arising from or
relating to the HTA Bonds), the Debt Related Objections, the Lien Challenge Actions, and
arising prior to the HTA Effective Date; provided, however, that “Government Released Claims”
shall not include any and all rights, privileges, Claims, demands, liabilities, or Causes of Action
of any and every kind, character or nature whatsoever (a) against (i) the Debtor (or its successor,
including Reorganized HTA), the Commonwealth, ERS, PBA or COFINA arising from or
relating to the Debtor’s, the Commonwealth’s, ERS’s, PBA’s and COFINA’s obligations, as
applicable, pursuant to the HTA Plan or the securities to be issued pursuant to the HTA Plan or
that were issued pursuant to the COFINA Plan or the Commonwealth Plan, or (ii) a Government
Releasee unrelated to the Debtor or the Claims discharged pursuant to the terms and provisions
of the HTA Plan, (b) arising from or related to any act or omission that constitutes intentional
fraud or willful misconduct or (c) arising from or related to claims or bonds issued, or contracts
or leases entered into, by the Commonwealth, AFICA, CCDA, COFINA, ERS, MBA, MFA,
PBA, PFC, PRASA, PRIDCO, PRIFA, UPR and PREPA.

         1.146 Government Releasees: Collectively, the Government Parties and the Debtor,
including all instrumentalities, municipalities, public corporations and public agencies of the
Commonwealth, together with their respective current or former board members, directors,
principals, agents, officers, employees, advisors and professionals, including, without limitation,
any and all advisors and professionals retained by the Government Parties in connection with the
Title III Case in their capacities as such; provided, however, that, notwithstanding the foregoing,
“Government Releasees” shall not include the Commonwealth, AFICA, CCDA, COFINA, ERS,
MBA, MFA, PBA, PFC, PRASA, PRIDCO, PRIFA, UPR and PREPA solely with respect to any
Claims against or bonds issued by such Entities.

        1.147 GUC Recovery Cap: Forty percent (40%); provided, however, that, for purposes
of calculation, any net recoveries by the Avoidance Actions Trust on account of the Avoidance
Actions shall not count towards attaining the forty percent (40%) cap.


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        1.148 GUC Reserve: The reserve to be created on or prior to the HTA Effective Date,
and held by Kroll Restructuring Administration LLC (formerly, Prime Clerk LLC), solely for the
benefit of holders of Allowed HTA General Unsecured Claims, pursuant to a separate agreement
that will contain substantially similar protections for holders of HTA General Unsecured Claims
as the agreement with respect to the GUC Reserve under the Commonwealth Plan has for
holders of CW General Unsecured Claims (as defined in the Commonwealth Plan).

       1.149 Highway Assets: Collectively, the Toll Road Assets and the toll-free roads on
Puerto Rico, managed, operated or maintained by HTA.

       1.150 HTA: Puerto Rico Highways and Transportation Authority.

        1.151 HTA 68 Bond Claim: A Claim against HTA on account of HTA 68 Bonds,
other than an HTA 68 Bond Claim (Ambac), an HTA 68 Bond Claim (Assured) or an HTA 68
Bond Claim (National).

       1.152 HTA 68 Bond Claim (Ambac): A Claim against HTA on account of an HTA 68
Bond that is an Ambac Insured Bond.

      1.153 HTA 68 Bond Claim (Assured): A Claim against HTA on account of an HTA
68 Bond that is an Assured Insured Bond.

      1.154 HTA 68 Bond Claim (National): A Claim against HTA on account of an HTA
68 Bond that is a National Insured Bond.

        1.155 HTA 68 Bond Recovery: The aggregate recovery by holders of Allowed HTA
68 Bond Claims, Allowed HTA 68 Bond Claims (Ambac), Allowed HTA 68 Bond Claims
(Assured), and Allowed HTA 68 Bond Claims (National), on account of any such Claims,
consisting of (a) Three Hundred Eleven Million Five Hundred Twelve Thousand Eight Hundred
Twenty-Two Dollars and Seventeen Cents ($311,512,822.17) in original principal amount of
New HTA CIBs, (b) One Hundred Twenty-Three Million Five Hundred Forty-Three Thousand
Eight Hundred Forty Dollars and Five Cents ($123,543,840.05) in original principal amount of
New HTA CABs, and (c) Two Hundred Eleven Million Three Hundred Thirty-Two Thousand
Six Hundred Eighty-Five Dollars and Fifty-Six Cents ($211,332,685.56) in original principal
amount of New HTA Convertible CABs; provided, however, at the election of the
Commonwealth and HTA, which election shall be disclosed no later than seven (7) days prior to
the HTA Effective Date, in their joint and absolute discretion, the Commonwealth or HTA, as
the case may be, may substitute Cash for the New HTA Bonds which would otherwise be issued
on the HTA Effective Date in accordance with clauses (a)-(c) above, on a dollar-for-dollar basis.

       1.156 HTA 68 Bonds: Collectively, the following bonds issued by HTA pursuant to
Resolution No. 68-18, adopted June 13, 1968, as amended and supplemented thereafter: (a) the
Highway Revenue Bonds, Series Y, issued by HTA in the original principal amount of Eight
Hundred Ninety Million Two Hundred Thirty-Five Thousand Dollars ($890,235,000.00), (b) the
Highway Refunding Bonds, Series Z, issued by HTA in the original principal amount of One
Hundred Eighty-Five Million Forty Thousand Dollars ($185,040,000.00), (c) the 2003 Highway
Revenue Refunding Bonds, Series AA-1, issued by HTA in the original principal amount of One


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Hundred Eighty-Eight Million Three Hundred Ninety-Five Thousand Dollars ($188,395,000.00),
(d) the 2003 Highway Revenue Refunding Bonds, Series AA-2, issued by HTA in the original
principal amount of Sixty-Five Million Two Hundred Seventy-Five Thousand Dollars
($65,275,000.00), (e) the 2005 Highway Revenue Refunding Bonds, Series BB, issued by HTA
in the original principal amount of One Hundred One Million Six Hundred Twenty-Five
Thousand Dollars ($101,625,000.00), (f) the 2007 Highway Revenue Refunding Bonds, Series
CC, issued by HTA in the original principal amount of Four Hundred Thirty-One Million Nine
Hundred Fifty-Five Thousand Six Hundred Nine Dollars and Five Cents ($431,955,609.05), (g)
the 2010 Highway Revenue Refunding Bonds, Series AA-1, issued by HTA in the original
principal amount of One Hundred Eighty-Eight Million Three Hundred Ninety-Five Thousand
Dollars ($188,395,000.00), (h) the 2010 Highway Revenue Refunding Bonds, Series AA-2,
issued by HTA in the original principal amount of Sixty-Five Million Two Hundred Seventy-
Five Thousand Dollars ($65,275,000.00), and (i) the Series FHA Bonds issued by HTA in the
original principal amount of Nine Hundred Forty-Five Thousand Dollars ($945,000.00).

         1.157 HTA 98 Bonds: Collectively, the HTA 98 Senior Bonds and the HTA 98 Sub
Bonds.

       1.158 HTA 98 Senior Bond Claim: A Claim against HTA on account of HTA 98
Senior Bonds, other than an HTA 98 Senior Bond Claim (Ambac), an HTA 98 Senior Bond
Claim (Assured), an HTA 98 Senior Bond Claim (FGIC) or an HTA 98 Senior Bond Claim
(National).

     1.159 HTA 98 Senior Bond Claim (Ambac): A Claim against HTA on account of
HTA 98 Senior Bond that is an Ambac Insured Bond.

     1.160 HTA 98 Senior Bond Claim (Assured): A Claim against HTA on account of
HTA 98 Senior Bond that is an Assured Insured Bond.

     1.161 HTA 98 Senior Bond Claim (FGIC): A Claim against HTA on account of an
HTA 98 Senior Bond that is a FGIC Insured Bond.

     1.162 HTA 98 Senior Bond Claim (National): A Claim against HTA on account of an
HTA 98 Senior Bond that is a National Insured Bond.

        1.163 HTA 98 Senior Bond Recovery: The aggregate recovery by holders of Allowed
HTA 98 Senior Bond Claims, Allowed HTA 98 Senior Bond Claims (Ambac), Allowed HTA 98
Senior Bond Claims (Assured), Allowed HTA 98 Senior Bond Claims (FGIC), and Allowed
HTA 98 Senior Bond Claims (National) on account of any such Claims, consisting of (a) Two
Hundred Eighty-Eight Million Four Hundred Eighty-Seven Thousand One Hundred Seventy-
Seven Dollars and Eighty-Three Cents ($288,487,177.83) in original principal amount of New
HTA CIBs, (b) One Hundred Fourteen Million Four Hundred Twelve Thousand Twenty-Eight
Dollars and Eight Cents ($114,412,028.08) in original principal amount of New HTA CABs, and
(c) One Hundred Ninety-Five Million Seven Hundred Eleven Thousand Nine Hundred Twelve
Dollars and One Cent ($195,711,912.01) in original principal amount of the New HTA
Convertible CABs; provided, however, at the election of the Commonwealth and HTA, which
election shall be disclosed no later than seven (7) days prior to the HTA Effective Date, in their


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joint and absolute discretion, the Commonwealth or HTA, as the case may be, may substitute
Cash for the New HTA Bonds which would otherwise be issued on the HTA Effective Date in
accordance with clauses (a)-(c) above, on a dollar-for-dollar basis.

        1.164 HTA 98 Senior Bonds: Collectively, the following bonds issued by HTA
pursuant to Resolution 98-06, adopted February 26, 1998: (a) the 1998 Transportation Revenue
Bonds, Series A, issued by HTA in the original principal amount of One Billion One Hundred
Twenty-Nine Million Six Hundred Forty-Three Thousand Seven Hundred Forty Dollars
($1,129,643,740.00), (b) the 2002 Transportation Revenue Bonds, Series D, issued by HTA in
the original principal amount of Seven Hundred Million Eight Hundred Fifty-Five Thousand
Dollars ($700,855,000.00), (c) the 2002 Transportation Revenue Refunding Bonds, Series E,
issued by HTA in the original principal amount of Two Hundred Eighty-Four Million Four
Hundred Five Thousand Dollars ($284,405,000.00), (d) the 2003 Transportation Revenue Bonds,
Series G, issued by HTA in the original principal amount of Five Hundred Sixty-Three Million
Six Hundred Fifty Thousand Dollars($563,650,000), (e) the 2003 Transportation Revenue
Refunding Bonds, Series H, issued by HTA in the original principal amount of Seventy-Two
Million Thirty-Five Thousand Dollars ($72,035,000.00), (f) the 2004 Transportation Revenue
Refunding Bonds, Series I, issued by HTA in the original principal amount of Eighty-Two
Million Three Hundred Forty Thousand Dollars ($82,340,000.00), (g) the 2004 Transportation
Revenue Refunding Bonds, Series J, issued by HTA in the original principal amount of Four
Hundred Five Million Nine Hundred Eighty-Five Thousand Dollars ($405,985,000.00), (h) the
2005 Transportation Revenue Refunding Bonds, Series K, issued by HTA in the original
principal amount of Eight Hundred Million Dollars ($800,000,000.00), (i) the 2005
Transportation Revenue Refunding Bonds, Series L, issued by HTA in the original principal
amount of Five Hundred Ninety-Eight Million Two Hundred Eighty-Five Thousand Dollars
($598,285,000.00), (j) the 2007 Transportation Revenue Refunding Bonds, Series M, issued by
HTA in the original principal amount of Two Hundred Fifty Million Dollars ($250,000,000.00),
(k) the 2007 Transportation Revenue Refunding Bonds, Series N, issued by the HTA in the
original principal amount of One Billion Five Hundred Two Million Nine Hundred Four
Thousand Nine Hundred Fifty-Three Dollars and Ninety-Five Cents ($1,502,904,953.95), and (l)
the 2010 Transportation Revenue Refunding Bonds, Series H, issued by HTA in the original
principal amount of Forty-Four Million Two Hundred Seventy-Five Thousand Dollars
($44,275,000.00).

       1.165 HTA 98 Sub Bond Claim: A Claim against HTA on account of HTA 98 Sub
Bonds, other than an HTA 98 Sub Bond Claim (Assured), an HTA 98 Sub Bond Claim (FGIC),
or an HTA 98 Sub Bond Claim (National).

     1.166 HTA 98 Sub Bond Claim (Assured): A Claim against HTA on account of an
HTA 98 Sub Bond that is an Assured Insured Bond.

     1.167 HTA 98 Sub Bond Claim (FGIC): A Claim against HTA on account of an
HTA 98 Sub Bond that is a FGIC Insured Bond.

     1.168 HTA 98 Sub Bond Claim (National): A Claim against HTA on account of an
HTA 98 Sub Bond that is a National Insured Bond.


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      1.169 HTA 98 Sub Bond Recovery: The aggregate recovery by holders of Allowed
HTA 98 Sub Bond Claims, Allowed HTA 98 Sub Bond Claims (Assured), Allowed HTA 98 Sub
Bond Claims (FGIC), and Allowed HTA 98 Sub Bond Claims (National).

        1.170 HTA 98 Sub Bonds: Collectively, the following subordinated bonds issued by
HTA pursuant to Resolution 98-06, adopted February 26, 1998, as amended and supplemented
thereafter: (a) the Subordinated Transportation Revenue Bonds, Series 1998, issued by HTA in
the original principal amount of Seventy-Five Million Fifty Thousand Dollars ($75,050,000.00),
and (b) the Subordinated Transportation Revenue Bonds, Series 2003, issued by HTA in the
original principal amount of Three Hundred Twenty Million Five Hundred Forty-Five Thousand
Dollars ($320,545,000.00).

       1.171 HTA Bond Claims: Collectively, a Claim against HTA on account of HTA 68
Bonds, HTA 98 Senior Bonds, and HTA 98 Sub Bonds.

      1.172 HTA Bonds: Collectively, the HTA 68 Bonds, the HTA 98 Senior Bonds, and
the HTA 98 Sub Bonds.

       1.173 HTA/CCDA Annex Agreement: That certain Annex Agreement annexed as
Exhibit “I” to the HTA/CCDA Plan Support Agreement pursuant to which certain holders of
HTA Bonds and CCDA Bonds became HTA/CCDA PSA Creditors.

       1.174 HTA/CCDA Joinder Agreement: That certain Joinder Agreement annexed as
Exhibit “H” to the HTA/CCDA Plan Support Agreement pursuant to which certain holders of
HTA Bonds and CCDA Bonds became HTA/CCDA PSA Creditors.

       1.175 HTA/CCDA Joinder Deadline: With respect to (a) HTA 68 Bond Claims and
HTA 68 Bond Claims (Ambac), May 17, 2021, at 11:59 p.m. (Eastern Daylight Time), and (b)
HTA 98 Senior Bond Claims, HTA 98 Senior Bond Claims (Ambac), and HTA 98 Senior Bond
Claims (FGIC), July 15, 2021, at 11:59 p.m. (Eastern Daylight Time), or in either case, such later
date and time as may be requested by Assured and National, but in no event later than the
commencement of the hearing to consider confirmation of the HTA Plan.

        1.176 HTA/CCDA Joinder Creditors: Collectively, those entities holding HTA
Bonds or CCDA Bonds that executed and delivered either the HTA/CCDA Joinder Agreement
or the HTA/CCDA Annex Agreement prior to the HTA/CCDA Joinder Deadline.

       1.177 HTA/CCDA Plan Support Agreement: That certain HTA/CCDA Related Plan
Support Agreement, dated as of May 5, 2021, by and among the Oversight Board and the
HTA/CCDA PSA Creditors, as it may be amended, modified, or supplemented in accordance
with the terms thereof.

      1.178 HTA/CCDA PSA Creditors: Collectively, the parties to the HTA/CCDA Plan
Support Agreement, other than the Oversight Board.

     1.179 HTA/CCDA PSA Restriction Fee Creditors: Collectively, the Initial
HTA/CCDA PSA Creditors and the HTA/CCDA Joinder Creditors that executed the
HTA/CCDA Plan Support Agreement, the HTA/CCDA Joinder Agreement, or the HTA/CCDA

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Annex Agreement prior to the expiration of the HTA/CCDA PSA Restriction Fee Period;
provided, however, that, notwithstanding anything contained herein to the contrary, all entities
executing an HTA/CCDA Joinder Agreement or an HTA/CCDA Annex Agreement on the date
the HTA/CCDA PSA Threshold Attainment is reached shall be considered HTA/CCDA PSA
Restriction Fee Creditors; and, provided, further, that, under all circumstances, HTA PSA
Restriction Fees shall not be available to holders of HTA 98 Sub Bond Claims, HTA 98 Sub
Bond Claims (Assured), HTA 98 Sub Bond Claims (FGIC), or HTA 98 Sub Bond Claims
(National) in their capacity as such, and such holders in such capacity shall not be considered
HTA/CCDA PSA Restriction Fee Creditors with respect to such HTA 98 Sub Bonds.

       1.180 HTA/CCDA PSA Restriction Fee Period: The period from May 5, 2021 up to
and including the earlier to occur of (a) the HTA/CCDA PSA Threshold Attainment and (b) the
applicable HTA/CCDA Joinder Deadline.

        1.181 HTA/CCDA PSA Threshold Attainment: The date on which HTA/CCDA PSA
Restriction Fee Creditors own or have due investment management responsibility and authority
for funds or accounts which own, or, with respect to Assured and National, either holds or
insures and is authorized to vote in accordance with Section 301(c)(3) of PROMESA, the
definitive insurance documents and applicable law, (a) with respect to HTA 68 Bonds, eighty-
five percent (85%) of the aggregate amount of HTA 68 Bond Claims, HTA 68 Bond Claims
(Ambac), HTA 68 Bond Claims (Assured), and HTA 68 Bond Claims (National), inclusive of
principal and interest as of the HTA Petition Date, (b) with respect to HTA 98 Senior Bonds,
sixty-seven percent (67%) of the aggregate amount of HTA 98 Senior Bond Claims, HTA 98
Senior Bond Claims (Ambac), HTA 98 Senior Bond Claims (Assured), HTA 98 Senior Bond
Claims (FGIC), and HTA 98 Senior Bond Claims (National), inclusive of principal and interest
as of the HTA Petition Date, and (c) with respect to CCDA Bonds, seventy percent (70%) of the
aggregate amount of CCDA Bond Claims, and in each case, without duplication and, to the
extent any such claims are insured, to the extent an HTA/CCDA PSA Creditor is authorized to
vote any such claim in accordance with Section 301(c)(3) of PROMESA, the definitive insurance
documents and applicable law.

       1.182 HTA Clawback CVI: The CVI issued on account of Allowed CW/HTA Claims
in accordance with the terms and provisions of the Commonwealth Plan.

       1.183 HTA Clawback Recovery: The aggregate recovery by holders of Allowed
CW/HTA Claims, consisting of HTA Clawback CVIs distributed to holders of such Claims
pursuant to the Commonwealth Plan and subject to the Annual Payment Waterfall, as defined in
Exhibit “J” of the Commonwealth Plan. .

      1.184 HTA Committee Agreement: That certain letter agreement, dated May 9, 2022,
between the Creditors’ Committee and the Oversight Board.

        1.185 HTA Confirmation Date: The date on which the Clerk of the Title III Court
enters the HTA Confirmation Order on the docket.




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       1.186 HTA Confirmation Hearing: The hearing conducted by the Title III Court
pursuant to section 1128(a) of the Bankruptcy Code and Section 314 of PROMESA to consider
confirmation of the HTA Plan, as such hearing may be adjourned or continued from time to time.

        1.187 HTA Confirmation Order: The order of the Title III Court confirming the HTA
Plan in accordance with Section 314 of PROMESA and section 1129 of the Bankruptcy Code,
made applicable in the HTA Title III Case in accordance with Section 301 of PROMESA.

        1.188 HTA Distribution Conditions: Collectively, (a) the Commonwealth Effective
Date shall have occurred, (b) the documentation of the HTA Plan, the HTA Confirmation Order,
the New HTA Bonds Indenture, the Trust Documentation (if any), and the Custodial Trust
Documents (solely as they relate to Assured and National) shall have been agreed upon by the
Oversight Board, Assured and National, (c) holders of, or insurers entitled to vote with respect
to, HTA 68 Bonds, holding or insuring, as the case may be, at least sixty-seven percent (67%) of
the outstanding principal amount of HTA 68 Bonds shall have executed the HTA/CCDA Plan
Support Agreement (or an HTA/CCDA Joinder Agreement or an HTA/CCDA Annex Agreement
with respect thereto), and (d) holders of, or insurers entitled to vote with respect to, HTA 98
Senior Bonds, holding or insuring, as the case may be, at least sixty-seven (67%) of the
outstanding principal amount of HTA 98 Senior Bonds shall have executed the HTA/CCDA Plan
Support Agreement (or a Joinder Agreement or an Annex Agreement with respect thereto);
provided, however, that, upon entry of a Final Order with respect to the HTA Confirmation
Order, the conditions set forth in subsections (c) and (d) above shall be deemed satisfied.

        1.189 HTA Effective Date: The first (1st) Business Day on which (i) all the conditions
precedent to confirmation of the HTA Plan specified in Section 35.1 of the HTA Plan shall have
been satisfied or waived, as provided in Section 35.2 of the HTA Plan, and (ii) all the conditions
precedent to the substantial consummation of the HTA Plan and occurrence of the HTA
Effective Date specified in Section 36.1 of the HTA Plan shall have been satisfied or waived as
provided in Section 36.2 of the HTA Plan.

      1.190 HTA Enabling Act: Act No. 74 of June 23, 1965, known as the “Puerto Rico
Highway and Transportation Authority Act”.

        1.191 HTA Fiscal Agent: The Bank of New York Mellon, solely in its capacity as
fiscal agent with respect to the HTA Bonds.

       1.192 HTA Fiscal Plan: A Fiscal Plan for the Debtor or Reorganized HTA.

       1.193 HTA/GDB Claim: A Claim against HTA with respect to loans extended by
GDB to HTA, other than an HTA 68 Bond Claim, HTA 68 Bond Claim (Ambac), HTA 68 Bond
Claim (Assured), HTA 68 Bond Claim (National), HTA 98 Senior Bond Claim, HTA 98 Senior
Bond Claim (Ambac), HTA 98 Senior Bond Claim (Assured), HTA 98 Senior Bond Claim
(FGIC), HTA 98 Senior Bond Claim (National), or HTA 98 Sub Bond Claim (National).

        1.194 HTA General Unsecured Claim: A Claim against HTA; provided, however,
that, under all circumstances, “HTA General Unsecured Claim” shall not include (a) a Claim
arising from or related to the HTA 68 Bonds, the HTA 98 Senior Bonds, the HTA 98 Sub Bonds,


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the HTA Moscoso Bonds or the GDB/HTA Loans, (b) an Eminent Domain/Inverse
Condemnation Claim, (c) a Section 510(b) Subordinated Claim, (d) a Late-Filed Claim, (e) a
Convenience Claim, (f) any Claim that is eligible to be transferred into or administered through
the ACR process, (g) the Claim asserted in Proof of Claim No. 161091 filed by Concilio
Nacional de Policias Inc. and any other Claims related to the litigation styled Frente Unido de
Policias Organizados, et al. v. Puerto Rico Police Department, Case No. KAC-2007-4170, (h)
any Claims for retiree benefits (including, without limitation, those portions of Proofs of Claim
Nos. 93199, 103072, 104127, 130077, 103035, 106588, 115276, 104175 and 130091), regardless
of whether such Claims are asserted by retirees or active employees and regardless of whether of
such Claims are asserted through litigation or administrative proceedings, but excluding Claims
for any increased pension payments that would have been payable prior to adjudication of such
Claims (i.e., pension “back pay”) and only up to the amount related to unpaid pensions, (i) all
Claims against the Debtor by any Governmental Unit (as defined in section 101 of the
Bankruptcy Code), including the United States government, any State government, foreign
government, any municipality (whether of the Commonwealth or otherwise), the
Commonwealth, any instrumentality of the Commonwealth (including GDB), whether asserted
directly by such Governmental Unit or indirectly or derivatively by any other Entity, including,
without limitation, any Claims by the GDB asserted by or through the DRA, (j) any Claims
related to the Concession Agreement, dated as of December 20, 1991, between HTA and
Autopistas de PR, LLC, as amended and supplemented, relating to the operation and
maintenance of the Teodoro Moscoso Budge, including, without limitation, Proof of Claim No.
52295, (k) any Claims related to the Toll Road Concession Agreement, dated as of June 27,
2011, between the HTA and Autopistas Metropolitanas de Puerto Rico, LLC, as amended and
supplemented, including without limitation, Proof of Claim No. 35566, (l) any unsecured
deficiency claims with respect to asserted priority and/or secured Claims, or (m) such other
Claim determined by the Title III Court not to be an HTA General Unsecured Claim.

        1.195 HTA GUC Recovery: The amount equal to (a) Forty-Eight Million Dollars
($48,000,000.00), to be funded in accordance with the terms and provisions of Section 20.3
hereof, plus (b) the net recoveries, if any, by the Avoidance Actions Trust attributable to the
Avoidance Actions, minus (c) such amount of Cash as is necessary to satisfy the payment of
Allowed Convenience Claims in accordance with the terms and provisions of Article XXIII
hereof.

      1.196 HTA Moscoso Bond Claim: A Claim against HTA on account of the HTA
Moscoso Bonds.

       1.197 HTA Moscoso Bonds: Collectively, the Special Facility Revenue Refunding
Bond, 2003 Series A, issued by HTA in the original principal amount of One Hundred Fifty-
Three Million Two Hundred Twenty-Two Thousand Two Hundred Seventy dollars and Forty-
Five Cents ($153,222,270,45) in accordance with the terms and provisions of that certain Trust
Agreement, dated as of October 1, 2003, between HTA and Banco Popular de Puerto Rico, as
Trustee in which, as of the HTA Petition Date, where in the aggregate outstanding principal
amount of $141,875411.00.

       1.198 HTA Petition Date: May 21, 2017.


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        1.199 HTA Plan: This Third Amended Title III Plan of Adjustment of Puerto Rico
Highways and Transportation Authority, including, without limitation, the exhibits and schedules
hereto, as the same is amended, supplemented, or modified from time to time in accordance with
the provisions of PROMESA, the Bankruptcy Code and the terms hereof.

       1.200 HTA PSA Restriction Fees: Collectively, the fees to be paid, in Cash, on the
HTA Effective Date, in accordance with the terms and provisions of the HTA/CCDA Plan
Support Agreement, Section 3.4 hereof, and the HTA Confirmation Order, which fees, in the
aggregate, shall not exceed One Hundred Twenty-Five Million Dollars ($125,000,000.00) minus
such amount as may be payable on account of Consummation Costs.

       1.201 HTA Restriction Fee Percentage: The percentage equal to (a) One Hundred
Twenty-Five Million Dollars ($125,000,000.00) minus such amounts as may be payable on
account of Consummation Costs, divided by (b) the aggregate amount of HTA 68 Bond Claims,
HTA 68 Bond Claims (Ambac), HTA 68 Bond Claims (Assured), HTA 68 Bond Claims
(National), HTA 98 Senior Bond Claims, HTA 98 Senior Bond Claims (Ambac), HTA 98 Senior
Bond Claims (Assured), HTA 98 Senior Bond Claims (FGIC), and HTA 98 Senior Bond Claims
(National) held or, in the case of a Monoline, either held or insured and is authorized to vote in
accordance with Section 301(c)(3) of PROMESA, governing documents, and applicable law, by
HTA/CCDA PSA Restriction Fee Creditors.

        1.202 HTA Title III Case: The Title III case under PROMESA pending in the Title III
Court, captioned as In re Financial Oversight & Management Board for Puerto Rico as
representative of the Puerto Rico Highways & Transportation Authority, Case No. 17-3567-LTS
(D.P.R.).

       1.203 Initial HTA/CCDA PSA Creditors: Collectively, the parties to the HTA/CCDA
Plan Support Agreement, other than the Oversight Board, as of May 5, 2021.

        1.204 Insured HTA Bond Claim: Collectively, the HTA Bond Claims, the principal
and interest payments of which have been insured by a Monoline, including, without limitation,
pursuant to a secondary market insurance policy.

        1.205 Invalidity Actions: Collectively, the adversary proceedings challenging the
validity of certain GO Bonds, PBA Bonds, and PRIFA BANs listed on Exhibit “B” hereto.

        1.206 IRC: The United States Internal Revenue Code of 1986, as amended from time
to time.

       1.207 IRS: The Internal Revenue Service, an agency of the United States Department
of Treasury.

        1.208 Late-Filed Claim: A proof of claim filed in the HTA Title III Case from and
after the commencement of the Disclosure Statement Hearing.

       1.209 Lien: Any charge against or interest in property to secure payment of a debt or
performance on an obligation.


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       1.210 Lien Challenge Actions: Collectively, the adversary proceedings listed on
Exhibit “C” hereto.

         1.211 Lift Stay Motions: Collectively, the litigation styled (a) Assured Guaranty
Corp., et al. v. The Financial Oversight and Management Board for Puerto Rico, filed in the
HTA Title III Case [Dkt. No. 673], (b) Ambac Assurance Corporation, et al. v. The Financial
Oversight and Management Board, filed in the Commonwealth’s Title III case [Dkt. No. 10104],
(c) Ambac Assurance Corporation, et al. v. The Financial Oversight and Management Board,
filed in the Commonwealth’s Title III case [Dkt. No. 10602], (d) AmeriNational Community
Services, LLC, et al. v. The Financial Oversight Management Board of Puerto Rico, filed in the
Title III Case [Dkt. No. 591], (e) Assured Guaranty Corp., et al. v. Commonwealth of Puerto
Rico, et al., Case No. 20-1930, currently pending in the United States Court of Appeals for the
First Circuit, (f) Ambac Assurance Corporation, et al, v. Commonwealth of Puerto Rico, et al.,
Case No. 2—1931, currently pending in the United States Court of Appeals for the First Circuit,
(g) Peaje Investments LLC v. Puerto Rico Highways & Transportation Authority, et al., Adv.
Pro. No. 17-00152-LTS, filed in the HTA Title III Case [Dkt. No. 1], as amended, and (h) any
motion or adversary proceeding seeking to lift the automatic stay provided for in accordance
with section 362 and 922 of the Bankruptcy Code (to the extent applicable) with respect to
revenues similar to those at issue in the above-referenced Lift Stay Motions.

        1.212 List of Creditors: The Creditor List (together with all summaries, notes, and
schedules) attached as Exhibit A to the Notice of Filing of Creditor List for the Puerto Rico
Highways and Transportation Authority filed in the Title III Case [Case No. 17-3283-LTS, ECF
No. 10708], pursuant to sections 924 and 925 of the Bankruptcy Code, as such lists, summaries,
notes, or schedules have been or may be amended, restated, supplemented or otherwise modified
by the Debtor.

        1.213 Local Bankruptcy Rules: The Local Bankruptcy Rules of the United States
Bankruptcy Court for the District of Puerto Rico and, to the extent applicable to the Title III
Case, the Local District Court Rules for the District of Puerto Rico, each as amended from time
to time.

       1.214 MBA: Puerto Rico Metropolitan Bus Authority.

       1.215 MFA: Puerto Rico Municipal Finance Agency.

     1.216 Monolines: Collectively, Ambac, Assured, FGIC, and National, as insurers of
HTA Bonds, or other Claims or securities issued by the Debtor, as applicable.

       1.217 National: National Public Finance Guarantee Corporation.

         1.218 National Action: The litigation styled National Public Finance Guarantee Corp.,
et al. v. UBS Financial Services, Inc., et al., currently pending in the Estado Libre Asociado de
Puerto Rico, Sala Superior de San Juan, Civil No. SJ2019CV07932.

        1.219 National Acceleration Price: With respect to any National Insured Bond, a price
equal to the outstanding principal amount of a National Insured Bond plus the accrued and


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unpaid interest thereon (or, in the case of any capital appreciation bonds, the compounded
amount thereof) as of the date of payment.

       1.220 National Bondholder Election Form: Collectively or individually, as the case
may be, the “Form of Election Notice for Holders of Claims in Class 4” and the “Form of
Election Notice for Holders of Claims in Class 9”, copies of which are attached as Schedules
5(d) and 5(e), respectively, to the Disclosure Statement Order.

        1.221 National Certificates: With respect to each National Trust that is formed for the
benefit of the beneficial holders of National Insured Bonds, the certificate(s) or receipt(s) to be
issued by such National Trust to beneficial holders of such National Insured Bonds that are
deposited into the National Trust.

        1.222 National Commutation Consideration: A combination of some or all of the
following, to be selected by National at National’s sole discretion at or prior to the
commencement of the Disclosure Statement Hearing: (i) some or all of a holder’s Pro Rata Share
of the National Plan Consideration; (ii) a percentage, to be determined at National’s sole
discretion, of the Consummation Costs and/or the HTA PSA Restriction Fee distributable to
National in accordance with the terms and provisions of Article III hereof; and (iii) Cash in an
amount to be determined by National in its sole discretion.

          1.223 National Commutation Treatment: The treatment set forth in Section 26.2(a)
hereof.

       1.224 National CW/HTA Bond Claims: Collectively, the CW/HTA Claims arising
from HTA Bonds insured by National, including, without limitation, pursuant to a secondary
market insurance policy.

       1.225 National Election Notice: The “Notice of Non-Voting Status for Holders of
HTA 98 Sub Bond Claims (National)”, a copy of which is attached as Schedule 4(f) to the
Disclosure Statement Order.

        1.226 National Escrow Account: A single escrow account that may be formed, on or
prior to the HTA Effective Date, by HTA, for the benefit of the beneficial holders of National
Insured Bonds whose National Escrow Consideration is deposited therein, the terms of which
shall be set forth in the Plan Supplement.

        1.227 National Escrow Consideration: Some or all of the New HTA Bonds
distributable on account of Allowed National Insured Bond Claims and any other consideration
that may be selected by National, in National’s sole and absolute discretion, at or prior to the
commencement of the Disclosure Statement Hearing.

       1.228 National HTA Consideration: The consideration distributable pursuant to the
Commonwealth Plan, the Commonwealth Confirmation Order, the HTA Plan and the HTA
Confirmation Order on account of Allowed National Insured Bond Claims and Allowed National
CW/HTA Bond Claims, consisting of (a) the Cash and New HTA Bonds distributable on account
of Allowed National Insured Bond Claims, and (b) the HTA Clawback CVI distributable on
account of Allowed National CW/HTA Bond Claims.

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        1.229 National Insurance Policies: The existing insurance policies, including
secondary market insurance policies, initially issued by (a) MBIA Insurance Corporation and
subsequently novated to National or (b) FGIC and subsequently novated to National, and relating
to the National Insured Bonds, together with any and all agreements and other documents related
thereto.

       1.230 National Insured Bond Claims: Collectively, the Claims against HTA arising
from the National Insured Bonds, including any HTA 68 Bond Claims (National), HTA 98
Senior Bond Claims (National), and HTA 98 Sub Bond Claims (National).

        1.231 National Insured Bonds: Collectively, the HTA Bonds that have been insured
or are otherwise owned (by subrogation or otherwise) by National, including, without limitation,
pursuant to a secondary market insurance policy.

       1.232 National Non-Commutation Treatment: The treatment set forth in Section
26.2(b) hereof.

      1.233 National Plan Consideration: The consideration distributable on account of
Allowed National Insured Bond Claims.

       1.234 National Treatment: With respect to each Class of National Insured Bond
Claims, the treatment set forth in Section 26.2 hereof.

        1.235 National Trust: The trust(s) which may be formed, on or prior to the HTA
Effective Date, by HTA, the sole cost and expense of which, including, but not limited to, the
formation and maintenance of the trust(s) (including trustee fees and expenses), shall be satisfied
from the assets of the National Trust, and for the benefit of beneficial holders of such National
Insured Bonds, the terms of which shall be set forth in the Plan Supplement.

        1.236 National Trust Consideration: Some or all of the New HTA Bonds
distributable on account of Allowed National Insured Bond Claims and any other consideration
that may be selected by National, in National’s sole and absolute discretion, at or prior to the
commencement of the Disclosure Statement Hearing.

       1.237 New HTA Bonds: Collectively, the bonds to be issued on the HTA Effective
Date by Reorganized HTA in accordance with the terms and conditions of the HTA Plan, the
HTA Confirmation Order, and the New HTA Bonds Indenture, including, without limitation, any
refunding bonds which may be issued in accordance with the New HTA Bonds Indenture, the
repayment of which shall be supported by a pledge of the Pledged Revenues.

        1.238 New HTA Bonds Indenture: The indenture or resolution to be executed and
delivered as of the HTA Effective Date pursuant to which Reorganized HTA shall issue the
Secured Obligations, and including all of the terms and provisions in connection therewith, as it
may be amended, supplemented or modified from time to time, in accordance with its terms and
conditions, which indenture or resolution shall be reasonably satisfactory to the Monolines.

       1.239 New HTA Bonds Trustee: The trustee appointed in accordance with the terms
and provisions of the New HTA Bonds Indenture.

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        1.240 New HTA CABs: Collectively, the series of capital appreciation bonds,
accreting interest at the rate of five percent (5.0%) per annum, to be issued pursuant to the HTA
Plan as components of New HTA Bonds and to be distributed pursuant to the terms and
provisions of the HTA Plan.

        1.241 New HTA CIBs: Collectively, the series of current interest bonds, accruing
interest at the rate of five percent (5%) per annum, to be issued pursuant to the HTA Plan as
components of the New HTA Bonds and to be distributed pursuant to the terms and provisions of
the HTA Plan.

         1.242 New HTA Convertible CABs: Collectively, the series of convertible capital
appreciation bonds, accreting interest at the rate of five percent (5.0%) per annum, to be issued
pursuant to the HTA Plan as components of the New HTA Bonds and to be distributed pursuant
to the terms and provisions of the HTA Plan.

         1.243 Outstanding: Debt that (i) has not been paid in full in accordance with its terms,
or (ii) has not been legally defeased in accordance with the defeasance requirements set forth in
the applicable definitive issuance documents.

         1.244 Oversight Board: The Financial Oversight and Management Board for Puerto
Rico established pursuant to Section 101 of PROMESA, as the Debtor’s representative in the
Title III Case pursuant to Section 315(b) of PROMESA.

       1.245 Partial Disposition: A lease, long-term concession or other public-private
partnership arrangement with respect to any real restate or personal property comprising a
portion of the Toll Facilities.

       1.246 PayGo: The pay-as-you-go pension system created in accordance with Act 106
of 2017.

       1.247 PBA: Puerto Rico Public Buildings Authority.

        1.248 Person: An individual, general partnership, limited partnership, corporation,
limited liability company, limited liability partnership, cooperative, trust, unincorporated
organization, association, joint stock company, joint venture, estate, government, or agency or
political subdivision thereof, or any other form of legal entity.

       1.249 PFC: Puerto Rico Public Finance Corporation.

        1.250 Plan Supplement: A separate volume, to be filed with the Clerk of the Title III
Court, including, among other documents, the New HTA Bonds Indenture, forms of the New
HTA Bonds, and Reorganized HTA By-Laws, which shall be in form and substance reasonably
satisfactory to AAFAF, and the Monolines, and, solely with respect to the provisions affecting
Classes 16 and 19, the Creditors’ Committee. The Plan Supplement (containing draft or final
versions of the foregoing documents) shall be filed with the Clerk of the Title III Court as soon
as practicable (but in no event later than seven (7) days) prior to the Ballot Date, or on such other
date as the Title III Court establishes. The Plan Supplement shall be deemed incorporated into
and part of the HTA Plan as if set forth herein in full.

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        1.251 Pledged Revenues: Collectively, (a) the Toll Receipts, (b) the rights of
Reorganized HTA to receive the Toll Receipts, (c) except for purposes of the Toll Rate Covenant
set forth in the New HTA Bonds Indenture, the proceeds derived from or related to any sale or
disposition of, or any concession arrangement relating to, all or any part of the Toll Facilities,
and (d) investment income received on any amounts held in the Toll Receipts Fund, the Debt
Service Fund, the Operating Reserve Fund, the Renewal and Replacement Funds, the
Subordinated Indebtedness Fund and the General Reserve Fund, each as defined in the New
HTA Bonds Indenture; provided, however, that, under all circumstances, “Pledged Revenues”
shall not include the proceeds of any gifts, grants, or other payments to Reorganized HTA from
the United States of America, any state, territory, municipality or any public or private
instrumentality, individual or entity that are not in the nature of a Toll.

       1.252 PRASA: Puerto Rico Aqueduct and Sewer Authority.

       1.253 PREPA: Puerto Rico Electric Power Authority.

       1.254 PRIDCO: Puerto Rico Industrial Development Company.

       1.255 PRIFA: Puerto Rico Infrastructure Financing Authority.

       1.256 PRITA: Puerto Rico Integrated Transit Authority.

         1.257 Professional: An Entity (a) to be compensated for services rendered prior to or
on the HTA Effective Date pursuant to Sections 316 and 317 of PROMESA, and (i) employed in
the Title III Case by the Government Parties (in the Government Parties’ sole discretion); (ii)
employed in the Title III Case by the Oversight Board (in the Oversight Board’s sole discretion);
or (iii) a committee appointed in accordance with section 1103 of the Bankruptcy Code, or (b)
for which compensation and reimbursement has been Allowed by the Title III Court pursuant to
section 503(b)(4) of the Bankruptcy Code.

       1.258 Professional Claim: A Claim by a Professional seeking an award by the Title III
Court of compensation for services rendered or reimbursement of expenses incurred through and
including the HTA Confirmation Date under Sections 316 and 317 of PROMESA.

       1.259 PROMESA: The Puerto Rico Oversight, Management, and Economic Stability
Act, Pub. L. No. 114-187, 130 Stat. 549 (2016), 48 U.S.C. § 2101, et. seq., as it may be amended
or modified.

        1.260 Pro Rata Share: With respect to Allowed Claims against the Debtor (a) the
proportion that an Allowed Claim bears to the sum of all Allowed Claims within such Class,
taking into account, and reducing for, unmatured interest thereon as of the HTA Petition Date
with respect to individual bonds within such Class, and (b) among more than one Class, the
proportion that Allowed Claims within such Class of Claims receive in consideration bears to the
sum of consideration received by all Claims within all applicable Classes.

        1.261 Related Persons: With respect to any Entity (including for the avoidance of
doubt, the Commonwealth, the Government Parties, and the Creditors’ Committee), its
predecessors, successors and assigns (whether by operation of law or otherwise) and their

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respective current and former employees, managers, elected or appointed officials, directors,
officers, board members, principals, members, equity holders (whether such interests are held
directly or indirectly), partners, financial advisors, attorneys, accountants, consultants, agents and
professionals (including, without limitation, any and all Professionals retained by the Debtor,
AAFAF, and the Creditors’ Committee), or other representatives, nominees or investment
managers, each acting in such capacity, and any Entity claiming by or through any of them
(including their respective officers, directors, managers, shareholders, partners, employees,
members and professionals), each in its respective capacity as such; provided, however, that
“Related Persons” is not intended, nor shall it be construed, to include the Commonwealth,
AFICA, CCDA, COFINA, ERS, MBA, MFA, PBA, PFC, PRASA, PRIDCO, PRIFA, UPR, and
PREPA.

         1.262 Released Claims: Collectively, (a) with respect to those Entities party to the
HTA/CCDA Plan Support Agreement, Claims and Causes of Action released hereunder and in
accordance with the HTA/CCDA Plan Support Agreement, (b) Claims and Causes of Action that
arise in, are related to or have been or could have been asserted against the Debtor or its Assets
in the Title III Case, (c) Claims and Causes of Action that have been or could have been asserted
by the Debtor (with respect to releases given by the Debtor) and by Creditors or the Government
Parties relating to Claims they have against the Released Parties (with respect to releases given
by Releasing Parties), (d) Claims and Causes of Action related to the Fourth Amended
Stipulation Between the Commonwealth of Puerto Rico and the Puerto Rico Highways and
Transportation Authority Regarding the Tolling of Statute of Limitations and Consent Order
[Case No. 17-3283-LTS, ECF No. 15854], as amended, and Claims and Causes of Action related
to the Fourth Amended Stipulation and Consent Order Between Title III Debtors (Other Than
COFINA) and the Puerto Rico Fiscal Agency and Financial Advisory Authority Acting on
Behalf of the Government Entities Listed on Appendix “B” Regarding the Tolling of Statute of
Limitations [Case No. 17-3283-LTS, ECF No. 17394], as amended, (e) with respect to those
Entities party to the DRA Stipulation, Claims and Causes of Action released hereunder and in
accordance with the DRA Stipulation, and (f) Claims that otherwise arise from or relate to the
Title III Case, the HTA Plan, the HTA/CCDA Plan Support Agreement, the HTA Committee
Agreement, and the compromises set forth herein, including, without limitation, in connection
with or related to any of the Government Parties, and their respective subsidiaries, assets,
liabilities, operations, or property; provided, however, that, “Released Claims” is not intended to
include, nor shall it have the effect of including, Claims or Causes of Action unrelated to the
Debtor or Claims or Causes of Action for gross negligence, willful misconduct or intentional
fraud asserted, or that could have been asserted, whether sounding in contract or tort; and,
provided, further, that “Released Claims” is not intended to release, nor shall it have the effect of
releasing, any Entity in its capacity as a defendant in any Avoidance Action, including a party to
a tolling agreement with the Commonwealth and/or ERS related to such Cause of Action; and,
provided, further, that “Released Claims” is not intended to release, nor shall it have the effect of
releasing, any party from the performance of its obligations in accordance with the HTA
Confirmation Order or the HTA Plan, including, without limitation, performance of obligations
arising from or related to New HTA Bonds, New GO Bonds, the HTA Clawback CVIs or under
any policy of insurance or related documents issued by a Monoline; and, provided, further, that
“Released Claims” shall not include claims against the Commonwealth, AFICA, CCDA,
COFINA, ERS, MBA, MFA, PBA, PFC, PRASA, PRIDCO, PRIFA, UPR, and PREPA.


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        1.263 Released Parties: Collectively, solely to the extent provided in the HTA Plan,
(a) the Government Parties, (b) the HTA/CCDA PSA Creditors, (c) the Creditors’ Committee,
(d) the DRA and the DRA Parties, and (e) with respect to the foregoing clauses (a) through (d),
each of their respective Related Persons.

         1.264 Releasing Parties: Collectively, solely to the extent provided in the HTA Plan,
(a) all holders of Claims against the Debtor or its Assets; (b) such holders’ current and former
Affiliates and (c) with respect to the foregoing clauses (a) and (b), each such Entity’s current and
former Related Persons.

     1.265 Reorganized Commonwealth: The Commonwealth, from and after the
Commonwealth Effective Date.

       1.266 Reorganized HTA: The Debtor, from and after the HTA Effective Date.

       1.267 Reorganized HTA By-Laws: The by-laws of Reorganized HTA, to the extent
applicable, from and after the HTA Effective Date.

       1.268 SCC Action: The litigation styled Special Claims Committee v. Barclays
Capital, et al., Adv. Proc. No. 19-00280-LTS, currently pending in the Title III Court.

       1.269 SEC: The United States Securities and Exchange Commission.

       1.270 Section 103 Bond Counsel: With respect to HTA or Reorganized HTA, as the
case may be, counsel providing services with respect to Section 103 of the IRC.

        1.271 Section 510(b) Subordinated Claim: Any Claim, to the extent determined
pursuant to a Final Order, against the Debtor or its Assets arising from or relating to
(a) rescission of a purchase or sale of an existing security of the Debtor or an Affiliate of the
Debtor, (b) purchase, sale or retention of such a security, or (c) reimbursement, indemnification
or contribution allowed under section 502 of the Bankruptcy Code on account of such Claim.

       1.272 Secured Obligations: Collectively, the New HTA Bonds and the Subordinated
Indebtedness.

        1.273 Securities Act: The Securities Act of 1933, 15 U.S.C. §§ 77a–77aa, as amended,
or any similar federal, state, or local law.

        1.274 SIB Account: The State Infrastructure Bank account established and posted as
security for the repayment of HTA 98 Sub Bond Claims (National).

       1.275 Solicitation Agent: Kroll Restructuring Administration LLC (formerly, Prime
Clerk LLC), the claims, balloting, and solicitation agent retained by the Debtor in the Title III
Case by Title III Court order.

        1.276 Subordinated Indebtedness: Collectively, the subordinated indebtedness to be
issued to the Commonwealth pursuant to the New HTA Bonds Indenture or a supplement thereto
and as a refinancing of HTA’s obligations pursuant to the Commonwealth Loan, bearing interest

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at the rate of two and one-half percent (2.5%) per annum, a maturity date of July 1, 2052, and
such other salient payment provisions as set forth on Exhibit “E” annexed hereto.

       1.277 Syncora: Syncora Guarantee Inc., together with its predecessors, successors, or
designees.

        1.278 Syncora Acceleration Price: With respect to an HTA 98 Senior Bond bearing
CUSIP number 745190AY4, and the principal and interest payments of which have been insured
by Syncora, a price equal to the outstanding principal amount of such HTA 98 Senior Bond plus
the accrued and unpaid interest thereon (or, in the case of any capital appreciation bonds, the
compounded amount thereof) as of the date of payment.

       1.279 Title III: Title III of PROMESA.

       1.280 Title III Case: The HTA Title III Case.

       1.281 Title III Court: The United States District Court of the District of Puerto Rico or
such other court having jurisdiction over the Title III Cases.

       1.282 Toll Facilities: Collectively, PR-20, PR-52, PR-53 and PR-66 toll highways.

        1.283 Toll Rate Covenant: The toll rate covenant referred to in Section 24.1(i) hereof,
as set forth herein and as may be revised in accordance with the terms and provisions of the New
HTA Bonds Indenture.

       1.284 Toll Receipts: Collectively, (a) all Cash receipts and automated or electric
payments or credits from Tolls (including by way of the “Auto-Expresso” system), and (b) the
proceeds of any business interruption insurance relating to the Toll Facilities and of any other
insurance which insures against the loss of Toll Receipts.

        1.285 Toll Receipt Fund: The fund designated, created and established pursuant to
Section 5.01 of the New HTA Bonds Indenture to hold the Toll Receipts pending application and
distribution in accordance with the terms and conditions of the New HTA Bonds Indenture.

        1.286 Tolls: Collectively, tolls, fares, incomes, receipts, special fees or permit fees, or
other charges imposed by or on behalf of Reorganized HTA on the owners, lessors, lessees or
operators of motor vehicles for the operation of or the right to operate those vehicles on the Toll
Facilities, and fines and penalties and interest thereon collected as a result of a failure to pay any
such amount.

       1.287 Transit Assets: Tren Urbano.

        1.288 Trust Documentation: Collectively, the documentation required, if necessary, to
establish and maintain the trust into which with respect to HTA, the HTA Clawback CVI shall be
deposited pending, and which shall provide for, the distribution thereof to holders of Allowed
CW/HTA Claims (including the applicable Monolines) pursuant to the terms of the HTA/CCDA
Plan Support Agreement, which documentation in all cases shall be agreed upon by the
Oversight Board and the applicable Monolines.

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        1.289 Trust Estate: Collectively, and without limiting the provisions set forth in the
New HTA Bonds Indenture, (a) all right, title, and interest of Reorganized HTA in and to the
Pledged Revenues, and the right to receive the same, including, without limitation, any moneys,
income, revenues, accounts, contract rights or general intangibles derived therefrom, (i) subject
only to the application of Pledged Revenues in accordance with the terms and provisions of the
New HTA Bonds Indenture, and (ii) the senior lien and senior security interest granted by the
New HTA Bonds Indenture for the benefit of holders of New HTA Bonds, which shall in all
respects be senior and superior to the subordinate lien and the subordinate security interest
granted by the New HTA Bonds Indenture for the benefit of holders of Subordinated
Indebtedness, and (b) except for the Authority Expense Fund and the Arbitrage Rebate Fund, all
of Reorganized HTA’s right, title and interest in the funds and accounts created pursuant to the
New HTA Bonds Indenture and any supplemental trust agreement and the moneys, securities,
and other assets on deposit with the New HTA Bonds Trustee in such funds and accounts created
pursuant to the New HTA Bonds Indenture and any supplemental trust agreement permitted by
the HTA Enabling Act; provided, however, that the priority in which such moneys and securities
are applied to the repayment of the Secured Obligations shall be as expressly specified in the
New HTA Bonds Indenture.

        1.290 Unclaimed Distribution: Any distribution to a Creditor that has not (a) accepted
a particular distribution or, in the case of distributions made by check, negotiated such check,
(b) given notice to the Debtor of an intent to accept a particular distribution, (c) responded to the
Debtor’s requests for information necessary to facilitate a particular distribution or (d) taken any
other action necessary to facilitate such distribution.

       1.291 Underwriter Actions: Collectively, the Ambac Action, the FGIC Action, the
National Action, and the SCC Action, or any action brought in the future in any state, federal or
Commonwealth court, agency or tribunal against any of the defendants named in such litigations
concerning or relating to indebtedness or bonds issued by HTA, PREPA, the Commonwealth, or
any other agency or instrumentality of the Commonwealth.

        1.292 Unexpired Lease: A lease of nonresidential real property to which the Debtor is
a party that is subject to assumption, assumption and assignment, or rejection under section 365
of the Bankruptcy Code, except as provided in Section 311 of PROMESA.

        1.293 Uniformity Litigation: Collectively, (a) the litigation styled Ambac Assurance
Corporation v. The Financial Oversight and Management Board for Puerto Rico, et al., Adv. Pro.
No. 20-00068-LTS, currently pending in the Title III Court, and (b) such other litigation as may
be currently pending or as may be commenced during the period from and after the date hereof
up to and including the HTA Effective Date wherein claims or causes of action consistent with or
similar to those asserted or which could have been asserted in the above-referenced litigation
have been asserted.

       1.294 UPR: Universidad de Puerto Rico.

        1.295 Voting Record Date: The date(s) established by the Title III Court with respect
to an entitlement to vote to accept or reject the HTA Plan and set forth in the Disclosure
Statement Order; provided, however, that the “Voting Record Date” shall not apply to the

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publicly traded securities, the claims with respect to which will be voted through the Depository
Trust Company’s Automated Tender Offer Platform, known as “ATOP”, where the holder of the
securities at the time of tender (as opposed to a date certain) is deemed to be the holder entitled
to vote.

        1.296 Other Definitions: Unless the context otherwise requires, any capitalized term
used and not defined herein or elsewhere in the HTA Plan that is defined in PROMESA or the
Bankruptcy Code shall, if defined in PROMESA, have the meaning assigned to that term in
PROMESA or, if not defined in PROMESA, but defined in the Bankruptcy Code, shall have the
meaning ascribed thereto in the Bankruptcy Code. Unless otherwise specified, (a) all section,
schedule, or exhibit references in the HTA Plan are to the respective section in, article of, or
schedule or exhibit to, the HTA Plan, as the same may be amended, waived, or modified from
time to time and (b) all references to dollars are to the lawful currency of the United States of
America. The words, “herein,” “hereof,” “hereto,” “hereunder,” and other words of similar
import refer to the HTA Plan as a whole and not to any particular section, subsection, or clause
contained in the HTA Plan. In computing any period prescribed or allowed by the HTA Plan,
unless otherwise expressly provided, the provisions of Bankruptcy Rule 9006(a) shall apply.

        1.297 Rules of Interpretation: For purposes of the HTA Plan, (a) unless otherwise
specified, any reference herein to a contract, lease, instrument, release, indenture, or other
agreement or document being in a particular form or on particular terms and conditions means
that such document shall be substantially in such form or substantially on such terms and
conditions, (b) unless otherwise specified, any reference herein to a definition, an existing
document, schedule, or exhibit, shall mean such document, schedule, or exhibit, as it was, or is
amended, modified, or supplemented, including, without limitation, updated to conform to the
Definitive Documents, (c) unless otherwise specified, all references herein to distributions being
made in an “amount” shall be calculated using the principal amount of any bonds issued on the
HTA Effective Date pursuant to the HTA Plan plus the amount, if any, of Cash so distributed, (d)
unless otherwise specified, all references herein to “Articles” and “Sections” are references to
Articles and Sections, respectively, hereof or hereto, (e) captions and headings to Articles and
Sections are inserted for convenience of reference only and are not intended to be a part of or to
affect the interpretation of the HTA Plan, (f) unless otherwise specified herein, the rules of
construction set forth in section 102 of the Bankruptcy Code shall apply, (g) unless otherwise
specified, references to docket numbers of documents filed in the Title III Case are references to
the docket numbers under the Title III Court’s CM/ECF system, (h) the words “include” and
“including,” and variations thereof, shall not be deemed to be terms of limitation, and shall be
deemed to be followed by the words “without limitation”, and (i) any immaterial effectuating
provisions may be interpreted by the Oversight Board in such a manner consistent with the
overall purpose and intent of the HTA Plan all without further notice to or action, order, or
approval of the Title III Court or any other Entity.




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                                          ARTICLE II

      COMPROMISE AND SETTLEMENT OF DISPUTES/RESTRUCTURING OF
                      ENTITIES/RETIREE CLAIMS

        2.1     Litigation Resolution: To the extent not resolved pursuant to the
Commonwealth Plan or the Commonwealth Confirmation Order, the HTA Plan sets forth the
terms and conditions for a global compromise and integrated settlement of, among other issues,
asserted and unasserted disputes concerning the rights of holders of HTA 68 Bond Claims, HTA
98 Bond Claims, and CW/HTA Claims, including the disputes (a) set forth in the Debt Related
Objections, (b) set forth in the Invalidity Actions, (c) set forth in the Lien Challenge Actions,
(d) raised by certain holders of CW Bond Claims, CW Guarantee Bond Claims, and GDB HTA
Loans asserting rights to receive revenues historically conditionally appropriated to HTA, as
applicable, and “clawed back” by the Commonwealth pursuant to the provisions of the
Commonwealth Constitution, (e) relating to the validity, priority, secured status and related
rights attendant to the GDB HTA Loans, and (f) set forth in the Lift Stay Motions and the
Clawback Actions relating to the CW/HTA Claims.

        2.2     Allowance of Bond Claims: For purposes of confirmation and consummation of
the HTA Plan and distributions to be made hereunder, unless otherwise allowed pursuant to an
order of the Title III Court, on the HTA Effective Date, among other Claims, (a) the HTA 68
Bond Claims, the HTA 68 Bond Claims (Ambac), the HTA 68 Bond Claims (Assured), and the
HTA 68 Bond Claims (National), shall be deemed allowed in the aggregate amount of
$831,189,105.55, (b) the HTA 98 Senior Bond Claims, the HTA 98 Senior Bond Claims
(Ambac), the HTA 98 Senior Bond Claims (Assured), the HTA 98 Senior Bond Claims
(National), and the HTA 98 Senior Bond Claims (FGIC), including, without limitation, Claims
arising from HTA 98 Senior Bonds held by the DRA, shall be deemed allowed in the aggregate
amount of $3,129,667,976.84, (c) the HTA 98 Sub Bond Claims, the HTA 98 Sub Bond Claims
(Assured), the HTA 98 Sub Bond Claims (FGIC), and the HTA 98 Sub Bond Claims (National)
shall be deemed allowed in the aggregate amount of $277,107,234.18, and (d) the HTA/GDB
Claims shall be deemed allowed in the aggregate amount of $2,149,579,432.

        2.3    Releases, Injunctions and Exculpation: The releases, injunctions and
exculpation provided in Article XLI herein are integral to obtaining the value provided hereunder
and constitute an essential component of the compromises reached and are not severable from
the other provisions of this HTA Plan.

       2.4     HTA Operational Restructuring: On or as soon as practicable following the
HTA Effective Date, including, without limitation, upon approval of the United States
Department of Transportation Federal Transit Administration, Reorganized HTA shall be
operationally restructured through the separation of the Highway Assets from the Transit Assets,
with such Transit Assets and all Transit Revenues being transferred to PRITA.

               (a)    Transit Assets. The Transit Assets shall be supported by the Transit
Revenues and by such other expressly identified, dedicated revenue stream, or revenue streams
of PRITA or the Commonwealth, as the case may be, sufficient to cover the Transit Assets’
operational and maintenance expense deficits and capital improvement expenditure needs and

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approved as adequate for such purposes by the United States Department of Transportation
Federal Transit Administration and the Oversight Board.

                (b)    Highway Assets. From and after the HTA Effective Date, Reorganized
HTA shall retain the Highway Assets and, as soon as practicable thereafter, such Highway
Assets shall be operationally and financially separated between Toll Road Assets and non-toll
road assets, with a “Ring-Fenced” structure and allocation of cost and expenses implemented,
including, without limitation, (i) the internal separation of legal, financial and operational
functions and the establishment of separate Toll Road Assets and non-toll road assets
management offices, and (ii) the consolidation of all non-toll-road management responsibilities
of the Puerto Rico Department of Transportation and Public Works with and into Reorganized
HTA.

              (c)    Inventory of Highway Assets. From and after the HTA Effective Date,
Reorganized HTA shall use its reasonable best efforts to inventory all available Highway Assets
and provide such inventory to the Oversight Board.

       2.5    Retiree Claims: In accordance with the terms and provisions of Act 106 and the
Commonwealth Plan, any and all obligations of the Debtor to former employees have been
assumed and will be paid by the Commonwealth through Pay-Go, with the Debtor making “pay-
as-you-go” contributions to the Commonwealth consistent with the provisions of Act 106 and the
Commonwealth Plan, and are not otherwise treated pursuant to the HTA Plan.

                                          ARTICLE III

      PROVISIONS FOR PAYMENT OF ADMINISTRATIVE EXPENSE CLAIMS

         In accordance with section 1123(a)(1) of the Bankruptcy Code, made applicable to the
Title III Case pursuant to Section 301(a) of PROMESA, Administrative Expense Claims and
Professional Claims have not been classified and thus are excluded from the Classes of Claims
set forth in Article IV of the HTA Plan.

        3.1       Administrative Expense Claims: On the later to occur of (a) the HTA Effective
Date and (b) the date on which an Administrative Expense Claim shall become an Allowed
Claim, Reorganized HTA shall (i) pay to each holder of an Allowed Administrative Expense
Claim, in Cash, the full amount of such Administrative Expense Claim or (ii) satisfy and
discharge such Allowed Administrative Expense Claim in accordance with such other terms no
more favorable to the claimant than as may be agreed upon by and between the holder thereof
and Reorganized HTA; provided, however, that Allowed Administrative Expense Claims
representing indebtedness incurred in the ordinary course prior to the HTA Effective Date by the
Debtor shall be paid in full and performed by Reorganized HTA in accordance with the terms
and subject to the conditions of any agreement governing, investment evidencing, or other
document relating to such transactions, including, without limitation, all obligations of HTA and
Reorganized HTA with respect to payment of the Commonwealth Loan; and, provided, further,
that, with respect to the Commonwealth Loan, the repayment thereof shall be satisfied in
accordance with the terms and provisions of the New HTA Bonds Indenture; and, provided,
further, that, if any such ordinary course expense is not billed, or a written request for payment is

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not made, within one hundred fifty (150) days after the HTA Effective Date, such ordinary
course expense shall be barred and the holder thereof shall not be entitled to, or receive, a
distribution pursuant to the HTA Plan.

        3.2      Professional Compensation and Reimbursement Claims: All Entities awarded
compensation, including, without limitation, to the fullest extent provided in respective letters of
engagement or similar instruments or agreements, or reimbursement of expenses by the Title III
Court, including, without limitation, experts who provided services to the Debtor during the Title
III Case, shall be paid in full, in Cash, in the amounts allowed by the Title III Court (a) as soon
as reasonably practicable following the later to occur of (i) the HTA Effective Date and (ii) the
date upon which the Title III Court order allowing such Claims is deemed to be a Final Order or
(b) upon such other terms no more favorable to the claimant than as may be mutually agreed
upon between such claimant and the Government Parties; provided, however, that, except as
provided herein, each Professional, including, without limitation, experts who provided services
to the Debtor during the Title III Case, must file its application for final allowance of
compensation for professional services rendered and reimbursement of expenses on or prior to
the date that is one hundred twenty (120) days following the HTA Effective Date. Reorganized
HTA shall pay compensation for professional services extended and reimbursement of expenses
incurred after the HTA Effective Date in the ordinary course and without the need for Title III
Court approval.

        3.3     HTA Consummation Costs: Notwithstanding anything contained in the HTA
Plan to the contrary, in order to compensate certain parties for the cost of negotiation,
confirmation and consummation of the HTA Plan, each Initial HTA/CCDA PSA Creditor shall
be entitled to receive on the HTA Effective Date, or as soon thereafter as is practicable but in no
event later than ten (10) Business Days following the HTA Effective Date, a pro rata share of
Cash, in the form of an Allowed Administrative Expense Claim, in an amount equal to one
percent (1.00%), truncated to two decimal points, of the aggregate amount of such Initial
HTA/CCDA PSA Creditor’s HTA 68 Bond Claims, HTA 68 Bond Claims (Assured), HTA 68
Bond Claims (National), HTA 98 Senior Bond Claims, HTA 98 Senior Bond Claims (Assured)
and HTA 98 Senior Bond Claims (National) (insured or otherwise and, with respect to each of
Assured and National, including positions that it holds or has insured), without duplication, held
and/or insured by such Initial HTA/CCDA PSA Creditor as of 5:00 p.m. (EST) on May 5, 2021,
in an aggregate amount not greater than One Hundred Twenty-Five Million Dollars
($125,000,000.00).

        3.4     HTA Restriction Fee: In exchange for executing the HTA/CCDA Plan Support
Agreement, and agreeing to all of its terms and conditions, including the agreement to “lock-up”
its bonds in accordance with the terms thereof, subject to the entry of the HTA Confirmation
Order, each HTA/CCDA PSA Restriction Fee Creditor holding or insuring HTA 68 Bonds or
HTA 98 Senior Bonds (including the applicable Monolines, to the extent such Monolines are
authorized to vote the applicable Insured HTA Bond Claims in accordance with Section
301(c)(3) of PROMESA, definitive insurance documents and applicable law) shall be entitled to
receive the HTA PSA Restriction Fee in the form of an allowed administrative expense claim,
payable in cash, at the time of consummation of the HTA Plan in an amount equal to the HTA
Restriction Fee Percentage multiplied by the aggregate amount of HTA 68 Bond Claims, HTA
68 Bond Claims (Ambac), HTA 68 Bond Claims (Assured), HTA 68 Bond Claims (National),

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HTA 98 Senior Bond Claims, HTA 98 Senior Bond Claims (Ambac), HTA 98 Senior Bond
Claims (Assured), HTA 98 Senior Bond Claims (FGIC), and HTA 98 Senior Bond Claims
(National) (without duplication and, to the extent any such Claims are Monoline-insured, solely
to the extent an HTA/CCDA PSA Restriction Fee Creditor is authorized to vote any such Claim
in accordance with Section 301(c)(3) of PROMESA, the definitive insurance documents and
applicable law) held or, in the case of the Monolines held or insured, by such HTA/CCDA PSA
Restriction Fee Creditor as of the expiration of the HTA/CCDA PSA Restriction Fee Period;
provided, however, that each HTA/CCDA PSA Restriction Fee Creditor who acquires any HTA
68 Bonds and/or HTA 98 Senior Bonds after the Joinder Deadline (including (i) a holder of a
Monoline-insured HTA Bond (other than a Monoline-insured HTA Bond insured by Assured or
National, as the case may be), to the extent such HTA/CCDA PSA Restriction Fee Creditor is
authorized to vote the claim with respect to such Monoline-insured HTA Bond in accordance
with Section 301(c)(3) of PROMESA, definitive insurance documents and applicable law, and
(ii) Assured and National, to the extent Assured or National, as applicable, is authorized to vote
such Insured HTA Bond Claims in accordance with Section 301(c)(3) of PROMESA, definitive
insurance documents and applicable law) shall be entitled to receive such HTA PSA Restriction
Fee equal to the HTA Restriction Fee Percentage multiplied by the aggregate amount of HTA 68
Bond Claims, HTA 68 Bond Claims (Ambac), HTA 68 Bond Claims (Assured), HTA 68 Bond
Claims (National), HTA 98 Senior Bond Claims, HTA 98 Senior Bond Claims (Ambac), HTA
98 Senior Bond Claims (Assured), HTA 98 Senior Bond Claims (FGIC), and HTA 98 Senior
Bond Claims (National) (without duplication and, to the extent any such claims are Monoline-
insured, solely to the extent an HTA/CCDA PSA Creditor is authorized to vote any such claim in
accordance with Section 301(c)(3) of PROMESA the definitive insurance documents and
applicable law) held and/or insured by such HTA/CCDA PSA Restriction Fee Creditor as of the
earlier to occur of the PSA Threshold Attainment attributable to the HTA Bond Claims and the
entry of the HTA Confirmation Order; and, provided, further, that, if an HTA/CCDA PSA
Restriction Fee Creditor sells any HTA 68 Bonds or HTA 98 Senior Bonds for which it would
have been entitled to receive the HTA PSA Restriction Fee, the purchasing party shall not be
entitled to receive the HTA PSA Restriction Fee on account thereof and such entitlement shall
remain with the selling party; and, provided, further, that, in all circumstances, the sum of the
aggregate HTA PSA Restriction Fee plus the Consummation Costs attributable to holders of
HTA 68 Bond Claims, HTA 68 Bond Claims (Assured), HTA 68 Bond Claims (National), HTA
98 Senior Bond Claims, HTA 98 Senior Bond Claims (Assured), or HTA 98 Senior Bond Claims
(National), as the case may be, shall not exceed One Hundred Twenty-Five Million Dollars
($125,000,000.00); and, provided, further, that, in the event the HTA/CCDA Plan Support
Agreement is terminated pursuant to the terms of Sections 7.1(b)(iii) or (c) thereof (subject to the
extension provided for in Sections 7.1(b) or (c) thereof), or the Oversight Board terminates the
HTA/CCDA Plan Support Agreement for any reason other than (i) a breach of the HTA/CCDA
Plan Support Agreement by a non-Government Party, (ii) the denial of confirmation of the HTA
Plan by the Title III Court (or the Title III Court renders a decision or states its position that it
will deny confirmation absent modification of the Commonwealth Plan or the HTA Plan, and
such modification would have a material adverse effect on the Parties ability to consummate the
Commonwealth Plan or the HTA Plan on terms consistent with the HTA/CCDA Plan Support
Agreement, including, but not limited to, the terms set forth in the Settlement Summary annexed
thereto as Exhibit “J”), or (iii) the entry of an order with respect to one or more of the matters set
forth in Section 7.1(b)(ii) of the HTA/CCDA Plan Support Agreement, the aggregate HTA PSA


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Restriction Fee and Consummation Costs, in the amount of Twenty Million Dollars
($20,000,000.00) shall be paid, ratably, in cash, as an administrative expense claim under the
HTA Plan to the Initial HTA/CCDA PSA Creditors as of the date of termination; and, provided,
further, that, in all other circumstances, upon termination of the HTA/CCDA Plan Support
Agreement, including, without limitation, termination of the HTA/CCDA Plan Support
Agreement in accordance with other provisions of Section 7.1 thereof, no Consummation Costs
or HTA PSA Restriction Fee shall be due and payable to the party to HTA/CCDA Plan Support
Agreement terminating such agreement or against the party such agreement is terminated.

        3.5     DRA Restriction Fee: In exchange for executing the DRA Stipulation, and
agreeing to all of its terms and conditions, including the agreement to “lock-up” its HTA 98
Senior Bonds and the HTA/GDB Claims in accordance with the terms thereof, on the HTA
Effective Date, or as soon as practicable thereafter in accordance with the terms hereof, but in no
event later than ten (10) Business Days following the HTA Effective Date, DRA shall be entitled
to receive the DRA Restriction Fee.

        3.6    Non-Severability: The allowance and payment of the Consummation Costs and
HTA PSA Restriction Fees as set forth in this Article III compensate the HTA/CCDA Restriction
Fee Creditors for value received and constitute an essential component of the compromises and
settlements embodied herein and are not severable from the other terms and provisions set forth
herein.

                                          ARTICLE IV

                               CLASSIFICATION OF CLAIMS

       4.1     Claims are classified as follows:

               (a)    Class 1:        HTA 68 Bond Claims

               (b)    Class 2:        HTA 68 Bond Claims (Ambac)

               (c)    Class 3:        HTA 68 Bond Claims (Assured)

               (d)    Class 4:        HTA 68 Bond Claims (National)

               (e)    Class 5:        HTA 98 Senior Bond Claims

               (f)    Class 6:        HTA 98 Senior Bond Claims (Ambac)

               (g)    Class 7:        HTA 98 Senior Bond Claims (Assured)

               (h)    Class 8:        HTA 98 Senior Bond Claims (FGIC)

               (i)    Class 9:        HTA 98 Senior Bond Claims (National)

               (j)    Class 10:       HTA 98 Sub Bond Claims



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               (k)    Class 11:       HTA 98 Sub Bond Claims (Assured)

               (l)    Class 12:       HTA 98 Sub Bond Claims (FGIC)

               (m)    Class 13:       HTA 98 Sub Bond Claims (National)

               (n)    Class 14:       HTA Moscoso Bond Claims

               (o)    Class 15:       Eminent Domain/Inverse Condemnation Claims

               (p)    Class 16:       HTA General Unsecured Claims

               (q)    Class 17:       HTA/GDB Claims

               (r)    Class 18:       Section 510(b) Subordinated Claims

               (s)    Class 19:       Convenience Claims

               (t)    Class 20:       Federal Claims

                                          ARTICLE V

                         PROVISIONS FOR TREATMENT OF HTA
                              68 BOND CLAIMS (CLASS 1)

        5.1    Treatment of HTA 68 Bond Claims: On the HTA Effective Date, each holder
of an Allowed HTA 68 Bond Claim shall be entitled to receive, in full consideration, satisfaction,
release, and exchange of such holder’s Allowed HTA 68 Bond Claim, such holder’s Pro Rata
Share of the HTA 68 Bond Recovery.

                                          ARTICLE VI

                         PROVISIONS FOR TREATMENT OF HTA
                          68 BOND CLAIMS (AMBAC) (CLASS 2)

       6.1     Treatment of HTA 68 Bond Claims (Ambac): Subject to the terms and
provisions of Section 26.4 hereof, on the HTA Effective Date, each holder of an Allowed HTA
68 Bond Claim (Ambac) shall be entitled to receive, in full consideration, satisfaction, release,
and exchange of such holder’s Allowed HTA 68 Bond Claim (Ambac), such holder’s Pro Rata
Share of the HTA 68 Bond Recovery.

                                         ARTICLE VII

                         PROVISIONS FOR TREATMENT OF HTA
                         68 BOND CLAIMS (ASSURED) (CLASS 3)

       7.1     Treatment of HTA 68 Bond Claims (Assured): Subject to the terms and
provisions of Section 26.1 hereof, on the HTA Effective Date, each holder of an Allowed HTA


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68 Bond Claim (Assured) shall be entitled to receive, in full consideration, satisfaction, release,
and exchange of such holder’s Allowed HTA 68 Bond Claim (Assured), such holder’s Pro Rata
Share of the HTA 68 Bond Recovery.

                                         ARTICLE VIII

                         PROVISIONS FOR TREATMENT OF HTA
                         68 BOND CLAIMS (NATIONAL) (CLASS 4)

       8.1     Treatment of HTA 68 Bond Claims (National): Subject to the terms and
provisions of Section 26.2 hereof, on the HTA Effective Date, each holder of an Allowed HTA
68 Bond Claim (National) shall be entitled to receive, in full consideration, satisfaction, release,
and exchange of such holder’s Allowed HTA 68 Bond Claim (National), such holder’s Pro Rata
Share of the HTA 68 Bond Recovery.

                                           ARTICLE IX

                         PROVISIONS FOR TREATMENT OF HTA
                           98 SENIOR BOND CLAIMS (CLASS 5)

       9.1     Treatment of HTA 98 Senior Bond Claims: On the HTA Effective Date, each
holder of an Allowed HTA 98 Senior Bond Claims shall be entitled to receive, in full
consideration, satisfaction, release, and exchange of such holder’s Allowed HTA 98 Senior Bond
Claim, such holder’s Pro Rata Share of HTA 98 Bond Recovery.

                                           ARTICLE X

                         PROVISIONS FOR TREATMENT OF HTA
                      98 SENIOR BOND CLAIMS (AMBAC) (CLASS 6)

        10.1 Treatment of HTA 98 Senior Bond Claims (Ambac): Subject to the terms and
provisions of Section 26.4 hereof, on the HTA Effective Date, each holder of an Allowed HTA
98 Senior Bond Claim (Ambac) shall be entitled to receive, in full consideration, satisfaction,
release, and exchange of such holder’s Allowed HTA 98 Senior Bond Claim (Ambac), such
holder’s Pro Rata Share of the HTA 98 Senior Bond Recovery.

                                           ARTICLE XI

                        PROVISIONS FOR TREATMENT OF HTA
                    98 SENIOR BOND CLAIMS (ASSURED) (CLASS 7)

        11.1 Treatment of HTA 98 Senior Bond Claims (Assured): Subject to the terms
and provisions of Section 26.1 hereof, on the HTA Effective Date, each holder of an Allowed
HTA 98 Senior Bond Claim (Assured) shall be entitled to receive, in full consideration,
satisfaction, release, and exchange of such holder’s Allowed HTA 98 Senior Bond Claim
(Assured), such holder’s Pro Rata Share of the HTA 98 Senior Bond Recovery.



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                                         ARTICLE XII

                        PROVISIONS FOR TREATMENT OF HTA
                       98 SENIOR BOND CLAIMS (FGIC) (CLASS 8)

       12.1 Treatment of HTA 98 Senior Bond Claims (FGIC): Subject to the terms and
provision of Section 26.3 hereof, on the HTA Effective Date, each holder of an Allowed HTA 98
Senior Bond Claim (FGIC) shall be entitled to receive, in full consideration satisfaction, release,
and exchange of such holder’s Allowed HTA 98 Senior Bond Claim (FGIC), such holder’s Pro
Rata Share of the HTA 98 Senior Bond Recovery.

                                         ARTICLE XIII

                        PROVISIONS FOR TREATMENT OF HTA
                   98 SENIOR BOND CLAIMS (NATIONAL) (CLASS 9)

        13.1 Treatment of HTA 98 Senior Bond Claims (National): Subject to the terms
and provisions of Section 26.2 hereof, on the HTA Effective Date, each holder of an Allowed
HTA 98 Senior Bond Claim (National) shall be entitled to receive, in full consideration,
satisfaction, release, and exchange of such holder’s Allowed HTA 98 Senior Bond Claim
(National), such holder’s Pro Rata Share of the HTA 98 Senior Bond Recovery.

                                         ARTICLE XIV

                         PROVISIONS FOR TREATMENT OF HTA
                           98 SUB BOND CLAIMS (CLASS 10)

        14.1 Treatment of HTA 98 Sub Bond Claims: On the HTA Effective Date, each
holder of an Allowed HTA 98 Sub Bond Claim shall be entitled to receive, in full consideration,
satisfaction, release and exchange of such holder’s Allowed HTA 98 Sub Bond Claim, such
holder’s Pro Rata Share of the HTA 98 Sub Bond Recovery.

                                         ARTICLE XV

                        PROVISIONS FOR TREATMENT OF HTA
                      98 SUB BOND CLAIMS (ASSURED) (CLASS 11)

        15.1 Treatment of HTA 98 Sub Bond Claims (Assured): Subject to the terms and
provisions of Section 26.1 hereof, on the HTA Effective Date, each holder of an Allowed HTA
98 Sub Bond Claim (Assured) shall be entitled to receive, in full consideration, satisfaction,
release, and exchange of such holder’s Allowed HTA 98 Sub Bond Claim (Assured), such
holder’s Pro Rata Share of the HTA 98 Sub Bond Recovery.




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                                         ARTICLE XVI

                         PROVISIONS FOR TREATMENT OF HTA
                         98 SUB BOND CLAIMS (FGIC) (CLASS 12)

       16.1 Treatment of HTA 98 Sub Bond Claims (FGIC): Subject to the terms and
provisions of Section 26.3 hereof, on the HTA Effective Date, each holder of an Allowed HTA
98 Sub Bond Claim (FGIC) shall be entitled to receive, in full consideration, satisfaction, release,
and exchange of such holder’s Allowed HTA 98 Sub Bond Claim (FGIC), such holder’s Pro
Rata Share of the HTA 98 Sub Bond Recovery.

                                         ARTICLE XVII

                        PROVISIONS FOR TREATMENT OF HTA
                     98 SUB BOND CLAIMS (NATIONAL) (CLASS 13)

        17.1 Treatment of HTA 98 Sub Bond Claims (National): Subject to the terms and
provisions of Section 26.2 hereof, on the HTA Effective Date, each holder of an Allowed HTA
98 Sub Bond Claim (National) shall (a) be entitled to receive, in full consideration, satisfaction,
release, and exchange of such holder’s Allowed HTA 98 Sub Bond Claim (National), such
holder’s Pro Rata Share of the HTA 98 Sub Bond Recovery, and (b) release any interest in or
Lien upon the SIB Account.

                                        ARTICLE XVIII

                         PROVISIONS FOR TREATMENT OF HTA
                          MOSCOSO BOND CLAIMS (CLASS 14)

        18.1 Treatment of HTA Moscoso Bond Claims: On the HTA Effective Date,
Allowed HTA Moscoso Bond Claims shall be deemed unimpaired, including, without limitation,
the curing of all monetary defaults, if any, with respect thereto and, on the HTA Effective Date,
each holder of an Allowed HTA Moscoso Bond Claim, in full consideration, satisfaction,
release, and exchange of such Allowed HTA Moscoso Bond Claim, shall be entitled to receive
payments of principal and interest in accordance with the terms and conditions of the HTA
Moscoso Bonds.

                                         ARTICLE XIX

                   PROVISIONS FOR TREATMENT EMINENT
              DOMAIN/INVERSE CONDEMNATION CLAIMS (CLASS 15)

        19.1 Treatment of Eminent Domain/Inverse Condemnation Claims: From and
after the HTA Effective Date, (a) to the extent not modified prior thereto, the automatic stay
extant pursuant to section 362 of the Bankruptcy Code shall be deemed modified in order to
permit the holder of an Eminent Domain/Inverse Condemnation Claim to (i) liquidate such
Eminent Domain/Inverse Condemnation Claim in such holder’s Eminent Domain Proceeding
and (ii) cause the Clerk of the Court of First Instance to distribute to such holder the amount of


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monies on deposit with the Court of First Instance with respect to the condemned property, and
(b) subject to the entry of the HTA Confirmation Order or the Findings of Fact and Conclusions
of Law in respect of the HTA Plan providing such claims must be paid in full to the extent they
are Allowed Claims for just compensation, upon each such order becoming a Final Order, and
upon the occurrence of another Final Order determining the validity and amount of just
compensation attributable to an Eminent Domain/Inverse Condemnation Claim, the holder of an
Allowed Eminent Domain/Inverse Condemnation Claim shall be entitled to receive, in full
consideration, satisfaction, release, and exchange of such holder’s unpaid balance of its Allowed
Eminent Domain/Inverse Condemnation Claim, in Cash, one hundred percent (100%) of such
unpaid balance; provided, however, that, in the event that the Oversight Board’s appeal of the
Commonwealth Confirmation Order and the Findings of Fact and Conclusions of Law entered
with respect thereto relating to the non-dischargeability of Eminent Domain/Inverse
Condemnation Claims against the Commonwealth is successful and such Commonwealth
Confirmation Order is reversed to such extent, the holder of such unpaid balance of an Allowed
Eminent Domain/Inverse Condemnation Claims shall be entitled to receive, in full consideration,
satisfaction, release and exchange therefor, payments from HTA equal to, and on the same
timeframe as, the payments to be made to holders of Allowed HTA General Unsecured Claims
pursuant to the terms and provisions of Sections 20.1, 20.2 and 20.3 hereof.

                                          ARTICLE XX

                       PROVISIONS FOR TREATMENT OF HTA
                      GENERAL UNSECURED CLAIMS (CLASS 16)

       20.1    Treatment of HTA General Unsecured Claims:

                (a)    Treatment of HTA General Unsecured Claims. Subject to the election set
forth in Section 20.1(b) hereof, on the HTA Effective Date, each holder of an Allowed HTA
General Unsecured Claim shall be entitled to receive, in full consideration, satisfaction, release,
and exchange of such holder’s Allowed HTA General Unsecured Claim, such holder’s Pro Rata
Share of the HTA GUC Recovery up to the GUC Recovery Cap.

                (b)     Election to be Treated as a Convenience Claim. Notwithstanding the
provisions of Section 20.1(a) of the HTA Plan, any holder of (i) an Allowed HTA General
Unsecured Claim, other than a HTA General Unsecured Claim that is a component of a larger
General Unsecured Claim, portions of which may be held by such or any other holder of an
Allowed Claim, whose Allowed HTA General Unsecured Claim is more than Twenty Thousand
Dollars ($20,000.00), and who elects to reduce the amount of such Allowed HTA General
Unsecured Claim to Twenty Thousand Dollars ($20,000.00) and (ii) multiple Allowed HTA
General Unsecured Claims that are greater than Forty Thousand Dollars ($40,000.00) in the
aggregate, and who elects to reduce the aggregate amount of such Allowed HTA General
Unsecured Claims to Forty Thousand Dollars ($40.000.00) shall, at such holder’s option, be
entitled to receive, based on such Allowed HTA General Unsecured Claim as so reduced,
distributions pursuant to Section 23.1 hereof. Such election must be made on the Ballot and be
received by the Oversight Board on or prior to the Ballot Date. Any election made after the
Ballot Date shall not be binding upon HTA unless the Ballot Date is expressly waived, in


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writing, by the Oversight Board; provided, however, that, under no circumstances may such
waiver by the Oversight Board occur on or after the HTA Effective Date.

       20.2 Limitation on Recovery: Notwithstanding anything contained herein to the
contrary, in the event that distributions with respect to Allowed HTA General Unsecured Claims
from the HTA GUC Recovery equal the GUC Recovery Cap, without consideration of any net
recoveries by the Avoidance Actions Trust with respect to the Avoidance Actions, any funds
remaining in the GUC Reserve following attainment of the GUC Recovery Cap and distributions
made or reserved on account thereof shall be turned over to HTA for general purposes.

        20.3 GUC Reserve: The GUC Reserve shall be funded as follows: (a) Twenty-Four
Million Dollars ($24,000,000.00) on the HTA Effective Date; and (b) Twenty-Four Million
Dollars ($24,000,000.00) on the first (1st) anniversary of the HTA Effective Date; provided,
however, that amounts necessary to satisfy Allowed Convenience Claims shall be deemed to
satisfy a portion of the amount to be deposited into the GUC Reserve and be funded directly to
the Disbursing Agent and not into the GUC Reserve; and, provided, further, that, in accordance
with the provisions of Section 20.2 hereof, in the event recoveries on account of Allowed HTA
General Unclaimed Claims from the HTA GUC Recovery equal the GUC Recovery Cap, (y) any
funds (other than any recoveries by the Avoidance Actions Trust with respect to the Avoidance
Actions) remaining in the GUC Reserve following attainment of the GUC Recovery Cap and
distributions made or reserved on account thereof shall be turned over to HTA for general
purposes, or (z) to the extent such GUC Recovery Cap is reached prior to a future funding
obligation, HTA shall be relieved of such future funding obligation.

                                       ARTICLE XXI

                           PROVISIONS FOR TREATMENT OF
                             HTA/GDB CLAIMS (CLASS 17)

      21.1 Treatment of HTA/GDB Claims: Pursuant to the terms and provisions of the
DRA Stipulation, Allowed HTA/GDB Claims shall not receive a distribution pursuant to the
HTA Plan and each holder of an Allowed HTA/GDB Claim shall be deemed to have accepted
the HTA Plan.

                                       ARTICLE XXII

                       PROVISIONS FOR TREATMENT OF
                SECTION 510(b) SUBORDINATED CLAIMS (CLASS 18)

        22.1 Treatment of Section 510(b) Subordinated Claims: Section 510(b)
Subordinated Claims shall not receive a distribution pursuant to the HTA Plan and each holder of
an Allowed Section 510(b) Subordinated Claim shall be deemed to have rejected the HTA Plan
with respect to such Section 510(b) Subordinated Claims.




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                                        ARTICLE XXIII

                           PROVISIONS FOR TREATMENT OF
                           CONVENIENCE CLAIMS (CLASS 19)

        23.1 Treatment of Convenience Claims: On the later of the HTA Effective Date and
the date such Allowed Convenience Claim becomes an Allowed Claim, or as soon thereafter as
is practicable, the Disbursing Agent shall pay to each holder of an Allowed Convenience Claim,
in Cash, the full amount of such Allowed Convenience Claim, in full satisfaction, settlement,
release, and discharge of, and in exchange for such Allowed Convenience Claim.

                                        ARTICLE XXIV

                              PROVISIONS FOR TREATMENT
                             OF FEDERAL CLAIMS (CLASS 20)

       24.1 Treatment of Federal Claims: On the later to occur of (a) the HTA Effective
Date and (b) the date on which a Federal Claim shall become an Allowed Claim, Reorganized
HTA shall (i) in its sole and absolute discretion, and in full consideration, satisfaction, release
and exchange of an Allowed Federal Claim, (1) pay to each holder of an Allowed Federal Claim,
in Cash, the full amount of such Allowed Federal Claim, (2) satisfy and discharge such Allowed
Federal Claim in accordance with the terms and conditions of such documents evidencing such
Allowed Federal Claims, or (3) pay to each holder of an Allowed Federal Claim, in Cash, the full
amount of such Allowed Federal Claim in forty (40) equal amount installments, with such
payments commencing on the third (3rd) anniversary of the HTA Effective Date and continuing
on each anniversary thereafter, or (ii) satisfy and discharge such allowed Federal Claims on such
terms as Reorganized HTA and the holder of any such Allowed Federal Claim shall agree.

                                        ARTICLE XXV

                 PROVISIONS REGARDING SECURED OBLIGATIONS
                        AND ADDITIONAL INDEBTEDNESS

        25.1 Issuance and Distribution of the New HTA Bonds: On the HTA Effective
Date, Reorganized HTA shall issue the Secured Obligations, in minimum denominations of One
Dollar ($1.00) and increments of One Dollar ($1.00) thereafter, consisting of New HTA CIBs,
New HTA CABs, New HTA Convertible CABs, and Subordinated Indebtedness, as more
particularly described herein and in the New HTA Bonds Indenture. The maturities, interest
rates and amortization schedules for the Secured Obligations are annexed hereto as Exhibits “D”
and “E”. All debt service on the Secured Obligations which is not paid when due, whether at or
prior to final scheduled maturity, shall remain due and outstanding until paid in full and shall be
paid. Interest shall accrue on such overdue debt service at the regular coupon rate (accretion rate
for CABs), compounding semiannually, until the applicable Secured Obligations are paid or
satisfied in full in accordance with their terms. Interest on the Secured Obligations shall be
calculated on a 30/360 basis. To the extent the Government Parties, each acting in its sole and
absolute discretion, determine to apply for ratings on the New HTA Bonds, the Government
Parties shall use their commercially reasonable best efforts to obtain ratings on the New HTA

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Bonds, including promptly responding in good faith to documentary or other requests, as soon as
reasonably practicable as determined solely by the Government Parties. After the Government
Parties determine which rating agencies to apply for ratings from, the Government Parties shall
use their commercially reasonable best efforts to obtain the best possible ratings.
Notwithstanding anything contained in the HTA Plan to the contrary, to the extent that taxable
New HTA Bonds are issued, such New HTA Bonds shall be distributed pro rata to recipients of
New HTA Bonds.

                (a)    New HTA CIBs: Subject to any adjustments provided for herein, the
New HTA CIBs shall have the original principal amount, coupon, maturity date and taxable
status as follows: Six Hundred Million Dollars ($600,000,000.00), five percent (5.0%), July 1,
2062, and tax exempt. New HTA CIBs shall not carry any default rate of interest; provided,
however, that interest shall continue to accrete on all overdue debt service, at the regular
accretion rate, compounding semi-annually, until paid or satisfied in full in accordance with their
terms.

                (b)     New HTA CABs: Subject to any adjustments provided for herein, the
New HTA CABs shall have the original principal amount, accretion yield, maturity date and
taxable status as follows: Two Hundred Thirty-Seven Million Nine Hundred Fifty-Five
Thousand Eight Hundred Sixty-Eight Dollars and Thirteen Cents ($237,955,868.13), five percent
(5.0%), July 1, 2032, and tax-exempt. New HTA CABs shall not carry any default rate of
interest; provided, however, that the interest shall continue to accrete on all overdue debt service,
at the regular accretion rate, compounding semi-annually, until paid or satisfied in full in
accordance with their terms.

                (c)    New HTA Convertible CABs: Subject to any adjustments provided for
herein, the New HTA Convertible CABs shall have the original principal amount, accretion
yield, maturity date and taxable status as follows: Four Hundred Seven Million Forty-Four
Thousand Five Hundred Ninety-Seven Dollars and Fifty-Seven Cents ($407,044,597.57), five
percent (5.0%), July 1, 2053, a Conversion Date of July 1, 2032, and tax-exempt. New HTA
Convertible CABs shall not carry any default rate of interest; provided, however, that the interest
shall continue to accrete on all overdue debt service, at the regular accretion rate, compounding
semi-annually, until paid or satisfied in full in accordance with their terms.

               (d)     Subordinated Indebtedness: Subject to any adjustments provided
herein, the Subordinated Indebtedness shall have the original principal amount, coupon and
maturity date as follows: the outstanding principal amount of the Commonwealth Loan as of the
HTA Effective Date, plus all accrued and unpaid interest on the Commonwealth Loan as of the
HTA Effective Date, two and one-half percent (2.5%), and July 1, 2052.

               (e)     Deemed Issuance Date: Notwithstanding the timing of the HTA
Effective Date, interest on the New HTA Bonds shall commence to accrue or accrete, as
applicable on the earlier to occur of (i) July 1, 2022, and (ii) the HTA Effective Date, which date
shall be designated as the “dated date” of the New HTA Bonds.




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                (f)     Call Provisions/Optional Redemption: The New HTA Bonds shall be
callable, in whole or in part, in any order of maturity, at par plus accrued interest thereon, upon
thirty (30) day’s prior written notice as follows:

               New HTA CIBs:

               2062 CIBS: Callable at par on and after 7/1/32

               New HTA CABs:

               2032 CABS: Non-Callable

               New HTA Convertible CABs:

               2053 CCABS: Callable at par on and after 1/1/33

                (g)      Extraordinary Call Provisions: Notwithstanding the terms and
provisions of Section 25.1(d) hereof, from and after the HTA Effective Date and until the New
HTA Bonds have been satisfied in full in accordance with their terms, (i) upon a full disposition
of the Toll Facilities, the New HTA Bonds Trustee shall redeem the New HTA Bonds, at par,
plus accrued or accreted interest thereon, and (ii) upon a Partial Disposition, the New HTA
Bonds Trustee shall redeem, at par, plus accrued or accredited interest thereon, the allocable
portion of New HTA Bonds related to the Toll Facilities subject to such Partial Disposition;
provided, however, that, in the event that such redemption is for only a portion of the New HTA
Bonds, such redemption shall be done in a manner to preserve the prevailing tax-exempt status of
the New HTA Bonds. Reorganized HTA will not enter into a Partial Disposition unless there is
delivered to the New HTA Bonds Trustee a certificate of Reorganized HTA, and approved by the
traffic consultant, a certificate setting forth (i) the amount of Net Receipts, as defined in the New
HTA Bonds Indenture, that would have been collected in the most recently completed FY had
such Partial Disposition occurred prior to the first day of such FY, (ii) maximum annual debt
service on the Secured Obligations that will remain outstanding after such agreement becomes
effective in accordance with its terms, and (iii) the percentages derived by derived by dividing
the amount in clause (i) above by the amounts shown in clause (ii) above, which percentage shall
not be less than one hundred twenty percent (120%).

                (h)     Pledge of Trust Estate: From and after the HTA Effective Date, until the
Secured Obligations have been paid or satisfied in full in accordance with their terms, the New
HTA Bonds Trustee, on behalf of the holders of Secured Obligations, shall have a valid and
perfected first-priority lien on and first-priority security interest in the Trust Estate, subject only
to (i) the terms and provisions of the New HTA Bonds Indenture establishing the Authority
Expense Fund and the Arbitrage Rebate Fund, and (ii) the senior lien and senior security interest
granted in the Trust Estate for the benefit of holders of New HTA Bonds, which shall in all
respects be senior and superior to the subordinate lien and subordinate security interest granted in
Trust Estate for the benefit of holders of Subordinated Indebtedness.

              (i)     Monthly Deposits of Toll Receipts: On the first (1st) Business Day of
each calendar month, the New HTA Bonds Trustee shall withdraw the Toll Receipts from the

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Toll Receipts Fund and transfer and apply such amounts in accordance with the terms and
provisions of the New HTA Bonds Indenture. Without in any way limiting the foregoing, on the
HTA Effective Date, Reorganized HTA shall deposit into the Toll Receipt Fund such additional
amounts as may be necessary to account for the New HTA Bonds being issued as of the Deemed
Issuance Date.

                (j)    Additional Covenants for New HTA Bonds: On the HTA Effective
Date, the New HTA Bonds Indenture will contain customary terms, conditions and covenants for
similarly structured and supported bonds, and such conditions and covenants shall be deemed
incorporated herein as though set forth in full.

                (k)    Rights of Acceleration: The New HTA Bonds shall not have rights of
acceleration.

                  (l)    Non-Impairment Covenant: Pursuant to the New HTA Bonds
Indenture, and/or the HTA Confirmation Order, Reorganized HTA shall covenant, pledge to, and
agree, for the benefit of all initial and subsequent holders of New HTA Bonds, (i) to enforce the
covenant of the Commonwealth set forth in § 2019 of the HTA Enabling Act that the
Commonwealth will not limit or restrict the rights or power vested in HTA or Reorganized HTA,
as the case may be, under the HTA Enabling Act until all New HTA Bonds, together with all
interest thereon, are fully met and discharged and (ii) to take no action that would (A) impair the
first-priority lien on and first-priority security interest in the Trust Estate, (B) impair the senior
lien and senior security interest on the Trust Estate granted to the holders of New HTA Bonds,
which shall in all respects be senior and superior to the subordinate lien and subordinate security
interest on the Trust Estate granted to the holders of outstanding Subordinated Indebtedness, (C)
impair or prevent the monthly deposits of Toll Receipts as set forth in subsection (i) of this
Section 25.1, (D) limit or alter the rights vested in Reorganized HTA in accordance with the
HTA Plan and the HTA Confirmation Order to fulfill the terms of any agreements with the
holders of the New HTA Bonds or, (E) impair the rights and remedies of the New HTA Bonds
Trustee or holders of the New HTA Bonds under the New HTA Bonds Indenture, including,
without limitation, the defaults and remedies thereunder.

               (m)      Automatic Perfection of Lien on Trust Estate: The first-priority lien on
the Trust Estate established pursuant to the New HTA Bonds Indenture shall be deemed
automatically perfected as of the HTA Effective Date.

                 (n)     Direct Right of Action: Pursuant to the New HTA Bonds Indenture, and
subject to such additional rights as provided therein, the New HTA Bonds Trustee shall have a
direct right of action to enforce the terms of the New HTA Bonds Indenture, including, without
limitation, with respect to funding deposits made in accordance therewith and seeking specific
performance and other available remedies for any breach of covenants in the New HTA Bonds
Indenture.

                (o)    HTA Fiscal Plans: HTA Fiscal Plans certified on or after the HTA
Effective Date shall provide for the measures necessary to service the obligations contemplated
pursuant to this HTA Plan, the New HTA Bonds, and the New HTA Bonds Indenture.



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                (p)     Stamp or Legend: The New HTA Bonds shall bear a stamp or similar
legend stating that the United States District Court for the District of Puerto Rico has determined
that such New HTA Bonds are valid, legally binding and enforceable pursuant to the HTA
Confirmation Order.

                (q)     Retention of Jurisdiction: The Title III Court shall retain jurisdiction to
enforce the HTA Plan, the New HTA Bonds, and the New HTA Bonds Indenture, including,
without limitation, the Toll Rate Covenant, or, in the event the Title III Court declines such
retention of jurisdiction or the HTA Title III Case has been closed in accordance with the terms
and provisions of PROMESA, the United States District Court for the District of Puerto Rico is
hereby designated to enforce this HTA Plan, the New HTA Bonds and the New HTA Bonds
Indenture, including, without limitation, the Toll Rate Covenant.

                (r)     Governing Law: The New HTA Bonds Indenture and the New HTA
Bonds issued thereunder shall be governed by the laws of the State of New York, without giving
effect to principles of conflicts of law; provided, however, that, notwithstanding the application
of the laws of the State of New York to govern the New HTA Bonds Indenture and the New
HTA Bonds, the authorization regarding the issuance of the New HTA Bonds is provided by the
laws of the Commonwealth.

        25.2 Tax-Exempt Treatment of the New HTA Bonds: In the event that the
Government Parties obtain a determination from the IRS or an opinion from Section 103 Bond
Counsel (collectively, a “Determination”) that all of the New HTA Bonds to be issued on the
HTA Effective Date are tax-exempt, the holders of any Claims receiving New HTA Bonds
pursuant to the HTA Plan shall receive the benefit of such Determination in the form of tax-
exempt New HTA Bonds issued pursuant to the HTA Plan with coupons for all maturities equal
to the coupons on the tax-exempt New HTA Bonds set forth on Exhibit “D” hereto; provided,
however, that, in the event that the Determination is obtained subsequent to the HTA Effective
Date, then the holders of the taxable New HTA Bonds affected by such Determination (the
“Invited Bonds”) shall be invited to exchange such bonds for converted bonds (the “Exchange
Offer”) and, subject to the application of all reasonable expenses incurred by the Government
Parties in connection with such Exchange Offer, the interest rate on the converted bonds shall be
the same as the interest on Invited Bonds of the same type, interest rate, series and maturity; and,
provided, further, that, such converted bonds shall be accompanied by the favorable opinion of
Section 103 Bond Counsel that the interest, other than pre-issuance accrued interest, on such
converted bonds, and on the Invited Bonds exchanged for such converted bonds from the
original date of delivery of such Invited Bonds so exchanged, is, in such counsel’s opinion,
excluded from gross income for federal income tax purposes and from U.S., state,
Commonwealth and local income taxation; and, provided, further, that, in the event that neither
of the foregoing determinations are obtained, the covenants to seek such determinations shall
terminate upon the earlier to occur of (1) June 15, 2022, (2) notification by the IRS to the
Commonwealth that IRS is unable to issue a favorable private letter ruling, closing agreement or
other type of IRS determination with respect to the matters addressed by this subsection, and (3)
the amendment of the New HTA Bonds Indenture following receipt of a favorable determination
and consummation of an Exchange Offer.

       25.3    Adoption and Maintenance of a Debt Management Policy: During the Debt

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Policy Period, Reorganized HTA shall maintain and comply with a Debt Management Policy
designed to ensure that certain past Debt issuance practices of HTA are not repeated. While
Reorganized HTA may revise and update its Debt Management Policy to reflect changing bond
market conditions and standards, the Debt Management Policy shall, unless otherwise approved,
in writing, by the Oversight Board, at all times include the following principles and limitations:

                (a)    Long-Term Borrowing for Capital Improvements Only: To ensure
Reorganized HTA achieves and maintains a structurally balanced budget consistent with
PROMESA’s requirement that Puerto Rico return to fiscal responsibility, Debt issued by HTA
after the HTA Effective Date may only be incurred to finance Capital Improvements, as
determined by HTA and approved by AAFAF, and, to the extent not terminated, the Oversight
Board, or to refinance Debt in accordance with the terms and provisions of Section 25.3(d)
hereof. Proceeds derived from any such issuance may be used to cover any and all direct and
indirect expenses that, in HTA’s reasonable discretion, are necessary to carry out such Capital
Improvements, including, without limitation, any and all expenses incurred in connection with
the issuance itself.

               (b)      30-Year Maturity Limitation on All Borrowings: No Debt issued by
HTA after the HTA Effective Date may have a legal final maturity later than thirty (30) years
from the date of its original issuance, and no such Debt may be refinanced by any Debt
extending such legal final maturity date beyond such original thirty (30)-year maturity date
limitation; provided, however, that, the foregoing shall not apply to Debt issued to refinance
New HTA Bonds.

               (c)    Required Principal Amortization: No Debt issued from and after the
HTA Effective Date may be issued unless its principal commences to amortize within two (2)
years from the placed-in-service date of the project being financed, and continues amortizing in
each and every year until such Debt is no longer outstanding.

               (d)      Refinancings Permitted only for Cash Flow Savings in Every Fiscal
Year: Refinancings of Debt are permitted only if (i) there is no increase in the amount of bond
principal and interest payable in any fiscal year and (ii) such refinancing produces positive
present value savings, after taking into consideration transaction expenses, at the levels specified
by Reorganized HTA in its Debt Management Policy; provided, however, that, refinancings
without cash flow savings in every FY are permitted if the refinancing is completed in direct
response to a hurricane, earthquake, pandemic, terrorism or other natural disaster and similar
emergencies and the debt service due in any future FY does not increase by more than ten
percent (10%) and the financing is required by its terms to be repaid in full within ten (10) years.

                (e)    Fiscal Plan Debt Service: Any post-HTA Effective Date HTA Fiscal Plan
shall include provisions for the payment, in each FY of principal and interest (and/or accreted
value, as applicable) with respect to the Secured Obligations, including, without limitation,
sinking fund payments due in such FY.

Notwithstanding the foregoing, nothing contained herein shall prohibit Reorganized HTA from
adopting, maintaining and complying with a Debt Management Policy that is more restrictive
than the requirements set forth above. The Debt Management Policy shall be in addition to any

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other limitations imposed by law and nothing contained herein shall be construed as superseding,
amending, or repealing any additional restrictions imposed by the Commonwealth Constitution.

                                       ARTICLE XXVI

       PROVISIONS REGARDING ASSURED INSURED BONDS, NATIONAL
     INSURED BONDS, AMBAC INSURED BONDS AND FGIC INSURED BONDS

        26.1 Treatment of Assured Insured Bond Claims: In the event that Classes 3, 7, and
11 vote to accept the HTA Plan in accordance with the provisions of section 1126 of the
Bankruptcy Code, and all Assured Insurance Policies and related agreements relating to Assured
Insured Bonds are in full force or effect, or have otherwise been fully performed by Assured,
with no outstanding payment defaults by Assured with respect to such Assured Insured Bonds up
to and including the HTA Effective Date, then, notwithstanding any other provision of the HTA
Plan, holders of Assured Insured Bond Claims shall receive the following treatments, which
treatments shall be selected by Assured, in its sole and absolute discretion, prior to the
commencement of the Disclosure Statement Hearing and as set forth in the Assured Election
Notice or the Assured Bondholder Elections Form, as applicable:

                (a)     Assured Election: With respect to the Assured Insured Bonds identified
on Exhibit “A” to the Assured Election Notice, subject to the rights of the HTA Fiscal Agent,
Assured shall receive the Assured Plan Consideration allocable to holders of such Assured
Insured Bonds, and such Assured Insured Bonds selected by Assured shall be paid by Assured,
in full, on the HTA Effective Date, at an Assured Acceleration Price equal to the outstanding
principal amount of such Assured Insured Bonds, plus the accrued and unpaid interest thereon
(or, in the case of any capital appreciation bonds, the compounded amount thereof) as of the date
of payment in accordance with the Assured Insurance Policies insuring the relevant Assured
Insured Bonds; provided, however, that, for the avoidance of doubt, Assured shall not be
required to pay itself any Assured Acceleration Price with respect to any Assured Insured Bonds
owned by Assured, by subrogation or otherwise, and Assured shall receive the Assured Plan
Consideration on account of such Assured Insured Bonds owned by Assured. Payment of the
applicable Assured Acceleration Price with respect to any Assured Insured Bond, including in
accordance with the Assured Election, shall satisfy and discharge all of Assured’s obligations
under the Assured Insurance Policies with respect to such Assured Insured Bond.

                 (b)    Assured Insured Bondholder Elections: Each beneficial holder of an
Assured Insured Bond identified on Exhibit “A” to the Assured Bondholder Elections Form may
elect one of the following two Assured Bondholder Elections, in each case on terms acceptable
to Assured; provided, however, that, in the event that an Assured Insured Bondholder eligible to
make an Assured Bondholder Election fails to make such an Assured Bondholder Election, such
Assured Insured Bondholder shall be deemed to have elected Assured Bondholder Election 2;
and, provided, further, that, for the avoidance of doubt, Assured Insured Bonds owned by
Assured (by subrogation or otherwise) shall not be subject to the Assured Bondholder Elections
set forth in this Section 26.1(b), and Assured shall receive the Assured Plan Consideration on
account of such Assured Insured Bonds:



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                      (i)     Assured Bondholder Election 1: Each Assured Insured
Bondholder who elects Assured Bondholder Election 1 shall receive from Assured the applicable
Assured Acceleration Price on the HTA Effective Date, in full satisfaction and discharge of
Assured’s obligations with respect to such holder under the applicable Assured Insurance
Policies, and Assured shall receive the Assured Plan Consideration allocable to such holder
under the HTA Plan; or

                        (ii)   Assured Bondholder Election 2: Each Assured Insured
Bondholder who elects Assured Bondholder Election 2 will opt into a custodial trust, escrow
arrangement, or similar structure established by Assured that will provide such Assured Insured
Bondholder with an interest in (A) the applicable Assured Insurance Policy and (B) the
applicable Assured Plan Consideration in accordance with terms acceptable to Assured. The
interests granted in a custodial trust, escrow arrangement, or similar structure established in
connection with Assured Bondholder Election 2 must be DTC eligible.

Pursuant to the terms and provisions of Section 26.1(c) hereof, the payment of the principal of
the Assured Insured Bonds shall be accelerated from and after the HTA Effective Date, and such
Assured Insured Bonds shall be due and payable from and after the HTA Effective Date at the
Assured Acceleration Price of one hundred percent (100%) of the principal amount thereof, plus
accrued interest thereon (or, in the case of any capital appreciation bonds, the compounded
amount thereof) to the date of payment. Without limiting the foregoing, pursuant to the
applicable Assured Insurance Policies, (A) Assured may elect, in its sole and absolute discretion,
to make any principal payment, in whole or in part, on any date on which such principal payment
is due by reason of acceleration or other advancement of maturity, and (B) in the case of any
Assured Insured Bonds the holders of which have elected (or are deemed to have elected)
Assured Bondholder Election 2, Assured will retain the right to pay the Assured Acceleration
Price and fully satisfy its obligations with respect to such bonds and the applicable Assured
Insurance Policies at any time after the HTA Effective Date upon thirty (30) days’ prior written
notice to the relevant holders. Assured’s retention of this right will be reflected in the applicable
custodial trust or escrow documentation. From and after payment of the Assured Acceleration
Price, including without limitation, on (i) the HTA Effective Date or (ii) such other date of
payment selected by Assured, with thirty (30) days’ prior written notice, interest on such Assured
Insured Bonds shall cease to accrue and be payable. Payment of the applicable Assured
Acceleration Price with respect to any Assured Insured Bond in accordance with any of the
provisions above, including, without limitation, on the HTA Effective Date, shall satisfy and
discharge all of Assured’s obligations under the Assured Insurance Policies with respect to such
Assured Insured Bond.

               (c)    Acceleration of Assured Insured Bonds: Notwithstanding any other
provision of the HTA Plan, to the extent that there are no outstanding payment defaults by
Assured with respect to Assured Insured Bonds up to and including the HTA Effective Date, the
payment of the principal of the Assured Insured Bonds shall be accelerated from and after the
HTA Effective Date, and such Assured Insured Bonds shall be due and payable from and after
the HTA Effective Date at the Assured Acceleration Price of one hundred percent (100%) of the
principal amount thereof plus accrued interest thereon (or, in the case of any capital appreciation
bonds, the compounded amount thereof) to the date of payment.


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                (d)    Assignment of Redemption Rights: Notwithstanding any other
provision of the HTA Plan, on the HTA Effective Date, HTA shall be deemed to have assigned
to Assured any rights to redeem and call the Assured Insured Bonds and any related rights such
that such rights may be exercised directly and exclusively by Assured as if it were HTA for such
purpose, and any amounts due in connection with such redemption shall be equal to the lesser of
the applicable redemption price and the Assured Acceleration Price.

               (e)    Entitlement to Vote: Subject to the terms and provisions of the
Disclosure Statement Order, the solicitation of acceptances and rejections to the HTA Plan by
holders of Assured Insured Bond Claims shall be made by the Oversight Board to Assured in
accordance with the provisions of Section 301(c)(3) of PROMESA

                (f)     Dual-Insured Bonds: In the event any distributions of Cash are made to
owners of Dual-Insured Bonds (rather than to Assured as the holder of the related HTA 98
Senior Bond Claims) pursuant to decretal paragraph 52 of the Commonwealth Confirmation
Order, such Cash distributions shall be deemed to have reduced the principal amounts of such
Dual-Insured Bonds as of the date of such Cash distributions and to have resulted in a
corresponding reduction in FGIC’s obligations under the applicable FGIC Insurance Policies and
Assured’s obligations under the applicable Assured Insurance Policies. In the event any
distributions of Cash are made on account of Dual-Insured Bonds to Assured as the holder of the
related HTA 98 Senior Bond Claims pursuant to decretal paragraph 52 of the Commonwealth
Confirmation Order, such Cash distributions shall be deemed to have reduced the principal
amounts of such Dual-Insured Bonds as of the date of such Cash distributions and to have
resulted in a corresponding reduction in FGIC’s obligations under the applicable FGIC Insurance
Policies, but shall be deemed not to have reduced (i) Assured’s obligations under the applicable
Assured Insurance Policies or (ii) the principal amount of any custody receipt evidencing a
beneficial interest in such Dual-Insured Bonds and related Assured Insurance Policies.

        26.2 Treatment of National Insured Bond Claims: In the event that Classes 4, 9 and
13 vote to accept the HTA Plan in accordance with section 1126 of the Bankruptcy Code, and all
National Insurance Policies and related agreements related to National Insured Bonds are in full
force and effect, or have otherwise been fully performed by National, with no outstanding
payment defaults by National with respect to such National Insured Bonds up to and including
the HTA Effective Date, then, notwithstanding any other provision of the HTA Plan, on the HTA
Effective Date, holders of Allowed National Insured Bond Claims shall receive the following
treatments, which treatments shall be selected by National, in its sole and absolute discretion, at
or prior to the commencement of the Disclosure Statement Hearing and be set forth on the
National Bondholder Election Form or the National Election Notice, as applicable; provided,
however, that, for the avoidance of doubt, National Insured Bonds owned or held by National (by
subrogation or otherwise) shall not be subject to the treatment elections set forth in this Section
26.2 and, subject to the rights of the HTA Fiscal Agent, National shall receive the National Plan
Consideration on account of such bonds; and, provided, further, that, subject to providing holders
of Allowed National Insured Bond Claims with the treatment or elections set forth in this Section
26.2 and satisfying all such treatment or elections, National shall have all right, title and interest
in the National HTA Consideration and shall manage the National HTA Consideration in its sole
and absolute discretion subject to and in accordance with all applicable laws and regulations;
and, provided, further, that any calculations and/or payments to be made to a holder based on, or

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in relation to, such holder’s Allowed National Insured Bond Claim pursuant to the options set
forth in this Section 26.2 will take into account any payments of principal and/or accrued interest
already made to such holder by National pursuant to the terms of the relevant National Insurance
Policies, and such holder shall not be compensated for any amounts already paid to such holder
pursuant to the terms of the relevant National Insurance Policies:

                (a)     National Commutation Treatment of HTA 68 Bond Claims (National)
and HTA 98 Senior Bond Claims (National): Each holder of an Allowed HTA 68 Bond Claim
(National) or Allowed HTA 98 Senior Bond Claim (National) shall have the option to elect on
the National Bondholder Election Form to receive, on the HTA Effective Date, the National
Commutation Consideration, distributable by or at the direction of National, and, if elected, (i)
the holder thereof shall have no other or further rights under or with respect to the applicable
National Insurance Policy or any National Trust or National Escrow Account, (ii) the holder
thereof shall not receive any payments from National under the National Insurance Policies on
account of accrued and unpaid interest on and after, or, in the case of any capital appreciation
bonds, the accreted value on and after, the Deemed Issuance Date, and to the extent any accrued
or accreted interest is paid to such holder by National after such date, such amount shall be
credited against the Cash such holder, their successors, transferees or assigns are otherwise
entitled to receive as National Commutation Consideration, and (iii) National shall receive the
National Plan Consideration distributable on account of the applicable Allowed National Insured
Bond Claim. The National Insured Bonds of a holder that timely and validly elects to receive the
National Commutation Treatment or makes an improper election as described in Section 26.2(g)
hereof, shall be deemed cancelled on the HTA Effective Date, and National’s obligations under
the applicable National Insurance Policies shall be fully and finally satisfied, released, and
discharged.

                (b)    National Non-Commutation Treatment of HTA 68 Bond Claims
(National) and HTA 98 Senior Bond Claims (National): In the event that a holder of an
Allowed HTA 68 Bond Claim (National) or Allowed HTA 98 Senior Bond Claim (National)
timely and validly elects on the National Bondholder Election Form to receive the National Non-
Commutation Treatment in accordance with the provisions of Sections 26.2(b) and (g) hereof, (i)
National shall receive the National Plan Consideration distributable on account of the applicable
Allowed National Insured Bond Claim, and (ii) such holder shall receive one or more of the
following treatments, at National’s election, which election shall be exercised by National at or
prior to the commencement of the Disclosure Statement Hearing, and as detailed in the
applicable National Bondholder Election Form:

                       (i)    Custodial Trusts: Such holder of an Allowed HTA 68 Bond
Claim (National) or Allowed HTA 98 Senior Bond Claim (National) shall (A) deposit, or be
deemed to have deposited, among other things, such holder’s Pro Rata Share of the National
Trust Consideration, the National Insured Bonds allocable to such electing holder, and the
related National Insurance Policies into the applicable National Trust, (B) be deemed to have
received its Pro Rata Share of the National Trust Consideration and National Certificates in
consideration therefor, and (C) have no recourse to National or the National Insurance Policies
other than as provided for under the terms of the National Trust.



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                      (ii)    Escrow: Such holder of an Allowed HTA 68 Bond Claim
(National) or Allowed HTA 98 Senior Bond Claim (National) shall deposit, or be deemed to
have deposited, among other things, such holder’s Pro Rata Share of the National Escrow
Consideration in the National Escrow Account and such deposited National Escrow
Consideration shall be held as security for National’s obligations to the holders of the National
Insured Bonds whose National Escrow Consideration was deposited in the National Escrow
Account under the National Insurance Policies.

                       (iii)  Payment of Accelerated Amounts: National shall receive the
National Plan Consideration that would be otherwise allocable to such holder of an Allowed
HTA 68 Bond Claim (National) or Allowed HTA 98 Senior Bond Claim (National) and National
shall fully and completely discharge its obligation to such holder of an Allowed National Insured
Bond Claim by paying on the HTA Effective Date, in Cash, the amount thereof at the National
Acceleration Price as of the date of payment.

                        (iv)    Alternative Treatment: The Oversight Board and National
reserve the right to formulate an alternative election or implementation option with respect to the
National Insured Bonds that is mutually acceptable to the Oversight Board and National, each in
their respective sole discretion; provided, however, that any such alternative election or
implementation option must be proposed, in writing, prior to the commencement of the
Disclosure Statement Hearing.

Notwithstanding the foregoing, and for the avoidance of doubt, National may make different
elections, with respect to different CUSIPs and different holders of National Insured Bonds.

                (c)    Acceleration of National Insured Bonds: Notwithstanding any other
provision of the HTA Plan, to the extent that there are no outstanding payment defaults by
National with respect to National Insured Bonds up to and including the HTA Effective Date, the
payment of the principal of the National Insured Bonds shall be accelerated as of the HTA
Effective Date, and such National Insured Bonds shall be due and payable from and after the
HTA Effective Date at the National Acceleration Price of one hundred percent (100%) of the
principal amount thereof plus interest accrued thereon (or, in the case of any capital appreciation
bonds, the compounded amount thereof) to the date of payment. National shall have the right to
pay the National Acceleration Price with respect to the National Insured Bonds at any time, and
the holder of the National Insured Bonds and the trustee or fiscal agent (as applicable) shall be
required to accept the same in satisfaction of National’s obligations under the applicable
National Insurance Policy with respect to such bonds, and, upon such payment, National’s
obligations under the applicable National Insurance Policy shall be fully satisfied and
extinguished, notwithstanding any provision of the applicable National Insurance Policy or other
documents related to the National Insured Bonds. For the avoidance of doubt, notwithstanding
such acceleration, there shall be no acceleration of any payment required to be made under any
National Insurance Policy unless National elects, in its sole and absolute discretion, to make such
payment(s) on an accelerated basis.

               (d)     Treatment of HTA 98 Sub Bond Claims (National): On the HTA
Effective Date, or as soon as reasonably practicable thereafter, but in no event later than the tenth
(10th) Business Day following the HTA Effective Date, each holder of an Allowed HTA 98 Sub

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Bond Claim (National) shall receive Cash in an amount equal to the National Acceleration Price,
in full and final satisfaction, release, and discharge of National’s obligations under the applicable
National Insurance Policy, and National shall receive the National Plan Consideration that would
be otherwise distributable to such holder, its successors, transferees, or assigns on account of its
HTA 98 Sub Bond Claim (National).

                (e)     Assignment of Redemption Rights: Notwithstanding any other
provision of the HTA Plan, to the extent permitted pursuant to applicable definitive documents
and not inconsistent with the rights provided in accordance with the applicable National
Insurance Policy, on the HTA Effective Date, HTA shall be deemed to have assigned to National
any and all rights to redeem and call the National Insured Bonds and any related rights such that
such rights may be exercised directly and exclusively by National as if it were HTA for such
purpose. Any amounts due in connection with any such redemption shall be equal to the lesser
of the applicable redemption price and the National Acceleration Price.

                 (f)    Entitlement to Vote: Subject to the terms and provisions of the
Disclosure Statement Order, (a) the solicitation of acceptances and rejections to the HTA Plan by
holders of National Insured Bond Claims shall be made by the Oversight Board to National in
accordance with the provisions of Section 301(c)(3) of PROMESA, applicable law and
governing documents, and (b) the election to choose between the National Commutation
Treatment as set forth in Section 26.2(a) hereof and the National Non-Commutation Treatment
as set forth in Section 26.2(b) hereof shall be made by the beneficial holders of the applicable
National Insured Bonds on the applicable National Bondholder Election Form; provided,
however, that the form of the National Non-Commutation Treatment shall be selected by
National in accordance with Section 26.2(b) hereof.

                (g)      Improper Election: If a holder of an Allowed HTA 68 Bond Claim
(National) or Allowed HTA 98 Senior Bond Claim (National) (1) fails to timely and validly elect
the National Non-Commutation Treatment pursuant to Section 26.2(b) hereof, or (2) submits an
election for less than all of its National Insured Bond Claims in a particular class (in which case,
such election shall be void and of no force or effect), such holder shall be deemed to have elected
to receive the National Commutation Treatment set forth in Section 26.2(a) hereof with respect
to such National Insured Bond Claims, to commute the applicable National Insurance Policies, to
release and discharge National’s obligations under such National Insurance Policies, and to
receive distributions in accordance with Section 26.2(a) hereof. In addition, the National Insured
Bonds of a holder of an Allowed HTA 68 Bond Claim (National) or Allowed HTA 98 Senior
Bond Claim (National) that does not validly elect to receive the National Non-Commutation
Treatment pursuant to clauses (1) or (2) above shall be deemed cancelled on the HTA Effective
Date, and National’s obligations under the applicable National Insurance Policies shall be fully
and finally satisfied, released, and discharged.

        26.3 Treatment of FGIC Insured Bond Claims: In the event that Classes 8 and 12
vote to accept the HTA Plan in accordance with the provisions of section 1126 of the Bankruptcy
Code, and all FGIC Insurance Policies and related agreements relating to FGIC Insured Bonds
are in full force and effect, as may have been modified pursuant to the FGIC Rehabilitation Plan,
then, notwithstanding any other provision of the HTA Plan, on the HTA Effective Date, holders
of FGIC Insured Bond Claims shall receive the following treatments:

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                 (a)    FGIC Insured Bond Claims Treatment: Each holder of an Allowed
FGIC Insured Bond Claim (except as provided in Section 26.3(b) hereof) shall (A) deposit, or be
deemed to have deposited, among other things, such holder’s Pro Rata Share of the FGIC Plan
Consideration, its proportionate share of the CW/HTA Clawback Recovery, and the FGIC
Insured Bonds and related FGIC Insurance Policies allocable to such holder into the applicable
FGIC Trust, and (B) be deemed to have received its Pro Rata Share of the FGIC Plan
Consideration and FGIC Certificates in consideration therefor. All rights and remedies under
and in accordance with FGIC Insured Bonds deposited into a FGIC Trust and the applicable
related legislative bond resolutions (other than with respect to the payment obligations of the
Commonwealth or its instrumentalities) and the applicable FGIC Insurance Policies (solely as
they apply and relate to such FGIC Insured Bonds) shall be preserved and remain in full force
and effect solely to the extent necessary to preserve any claims relating to such FGIC Insured
Bonds under the applicable FGIC Insurance Policy. For the avoidance of doubt, each
distribution of cash made by a FGIC Trust to the holders of interests therein shall automatically
and simultaneously reduce on a dollar-for-dollar basis the outstanding principal amount of the
FGIC Insured Bonds held in such FGIC Trust and shall result in a corresponding reduction in
FGIC’s obligations under the applicable FGIC Insurance Policies.

                 (b)    FGIC Insured Bond Claims Owned By FGIC: With respect to all
Allowed FGIC Insured Bond Claims owned by FGIC, on the HTA Effective Date, and subject to
the rights of the HTA Fiscal Agent, FGIC shall be entitled to receive, in full consideration,
satisfaction, release and exchange of such Allowed FGIC Insured Bond Claims, its Pro Rata
Share of the FGIC Plan Consideration allocable to such Allowed FGIC Insured Bond Claims.

              (c)     Dual-Insured Bonds: FGIC Certificates allocable to holders of Dual-
Insured Bonds shall be distributed in accordance with the terms and provisions of Section 26.1
hereof.

                (d)    Acceleration of FGIC Insured Bonds: Notwithstanding any other
provision of the HTA Plan or the FGIC Insured Bonds, the payment of the principal of the FGIC
Insured Bonds shall be accelerated as of the HTA Effective Date, and the FGIC Insured Bonds
shall be due and payable from and after the HTA Effective Date at an “acceleration price” of one
hundred percent (100%) of the principal amount thereof, plus interest accrued thereon (or, in the
case of capital appreciation bonds, the compounded amount thereof) to the date of payment;
provided, however, that for the avoidance of doubt, notwithstanding such acceleration, there
shall be no acceleration of any payment required to be made by FGIC under a FGIC Insurance
Policy, unless FGIC elects, in its sole and absolute discretion, to make such payment(s) on an
accelerated basis and FGIC has the express right to accelerate any such payment under the
applicable FGIC Insurance Policy or the related agreements relating to the applicable FGIC
Insured Bonds.

               (e)     Assignment of Redemption Rights: Notwithstanding any other
provision of the HTA Plan, to the extent permitted pursuant to applicable definitive insurance
documents and the applicable FGIC Insurance Policy, on the HTA Effective Date, HTA shall be
deemed to have assigned to FGIC any and all rights to redeem and call the FGIC Insured Bonds
and any related rights such that such rights may be exercised directly and exclusively by FGIC as
if it were HTA for such purpose.

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               (f)    Entitlement to Vote: Subject to the terms and provisions of the
Disclosure Statement Order, the solicitation of acceptances and rejections to the HTA Plan by
holders of FGIC Insured Bond Claims shall be made by the Oversight Board to FGIC in
accordance with the provisions of Section 301(c)(3) of PROMESA, applicable law and
governing insurance and other documents.

        26.4 Treatment of Ambac Insured Bond Claims: In the event that Classes 2 and 6
vote to accept the HTA Plan in accordance with section 1126 of the Bankruptcy Code, and all
Ambac Insurance Policies and related agreements related to Ambac Insured Bonds are in full
force and effect, with no outstanding payments defaults by Ambac with respect to such Ambac
Insured Bonds up to and including the HTA Effective Date, then, notwithstanding any other
provision of the HTA Plan, on the HTA Effective Date, holders of Ambac Insured Bond Claims
shall receive the following treatment, as provided in the Ambac Election Notice and to the extent
offered by Ambac, in its sole and absolute discretion, at or prior to the commencement of the
Disclosure Statement Hearing; provided, however, that, notwithstanding the following, Ambac
may make different elections with respect to different CUSIPs and different Ambac Insured
Bonds:

                 (a)    Treatment of HTA 68 Bond Claims (Ambac): On the HTA Effective
Date, or as soon as reasonably practicable thereafter, but in no event later than the tenth (10th)
day following the HTA Effective Date, each holder of an Allowed HTA 68 Bond Claim (Ambac)
shall receive Cash in the amount equal to the Ambac Acceleration Price, in full and final
satisfaction, release, and discharge of Ambac’s obligations under the applicable Ambac
Insurance Policy, and, subject to the rights of the HTA Fiscal Agent, Ambac shall receive the
Ambac Plan Consideration that would be otherwise allocable to such holder, its successors,
transferees or assigns on account of its HTA 68 Bond Claims (Ambac). For the avoidance of
doubt, the Ambac Acceleration Price will include accrued and unpaid interest as of the date of
payment.

                (b)    Treatment of HTA 98 Senior Bond Claims (Ambac): On the HTA
Effective Date, or as soon as reasonably practicable thereafter, but in no event later than the tenth
(10th) day following the HTA Effective Date, each holder of an Allowed HTA 98 Senior Bond
Claim (Ambac) shall receive one of the following treatments:

                       (i)     Allowed HTA 98 Senior Bond Claim (Ambac) Commutation
Treatment: To the extent offered by Ambac, in its sole and absolute discretion, each holder of
an Allowed HTA 98 Senior Bond Claim (Ambac) shall have the option to elect on the Ambac
Bondholder Election Forms, to receive, on the HTA Effective Date, the Ambac Commutation
Consideration, distributable by or at the direction of Ambac, and, if elected, (i) such beneficial
holder shall have no other or further rights under or with respect to the applicable Ambac
Insurance Policy or any Ambac Trust(s), and (ii) subject to the rights of the HTA Fiscal Agent,
Ambac shall receive the Ambac Plan Consideration that otherwise would be allocable or
distributable to such holder. The Ambac Insured HTA 98 Senior Bonds of a holder that validly
elects to receive the Allowed HTA 98 Senior Bond Claim (Ambac) Commutation Treatment, or
makes an improper election as described in Section 26.4(f) hereof, shall be deemed to have had,
on or after the HTA Effective Date, its Ambac Insured HTA 98 Senior Bonds cancelled, and


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Ambac’s obligations under the applicable Ambac Insurance Policy shall be fully and finally
satisfied, released, and discharged.

                      (ii)    Allowed HTA 98 Senior Bond Claim (Ambac) Non-
Commutation Treatment: In the event that a holder of an Allowed HTA 98 Senior Bond
Claim (Ambac) timely and validly elects on the Ambac Bondholder Election Form, to receive
the Allowed HTA 98 Senior Bond Claim (Ambac) Non-Commutation Treatment, such holder of
an Allowed Ambac Insured Bond Claim shall receive one or more of the following treatments
offered by Ambac, in its sole and absolute discretion, and as detailed in the applicable Ambac
Bondholder Election Form:

               (1)     Custodial Trusts:

                       (i)     Such holder of an Allowed HTA 98 Senior Insured Bond Claim
(Ambac) shall deposit, or be deemed to have deposited, into the applicable Ambac Trust(s), (A)
such holder’s Ambac Insured Bonds with respect to which the election has been made and the
related Ambac Insurance Policies, (B) such holder’s Pro Rata Share of the Ambac Plan
Consideration, consisting of (1) Cash, (2) the CW/HTA Clawback Recovery, consisting of the
HTA Clawback CVIs and all payments on or collections in respect of such HTA Clawback
CVIs, and (3) the New HTA Bonds, and (C) shall be deemed to have received Ambac
Certificates in consideration therefor; such holders shall have no recourse to Ambac or the
applicable Ambac Insurance Policies other than as provided for under the terms of the Ambac
Trust(s). In the event the interim distribution amounts provided for in decretal paragraph 52 of
the Commonwealth Confirmation Order have been distributed directly to holders of Ambac
Insured Bonds prior to the HTA Effective Date, thereby reducing the principal amount of such
Ambac Insured HTA 98 Senior Bonds, such interim cash distributions need not be deposited into
the Ambac Trust(s).

                       (ii)    The terms of the Ambac Trust(s) shall be set forth in a trust
agreement or trust agreements which shall be filed as part of the Plan Supplement, but shall
include the following terms, without limitation: (A) Ambac shall not insure any payments on the
Ambac Certificates, shall not be required to pay any default or other interest amounts with
respect to the Ambac Insured Bonds, and is only required to pay its obligations under the
applicable Ambac Insurance Policy as provided therein and in the agreement HTA 98 Senior
governing the Ambac Trust(s); (B) Ambac shall be deemed the sole holder of the Ambac Insured
HTA 98 Senior Bonds in the Ambac Trust(s) with respect to voting, amendment, acceleration,
events of default, and election and direction of rights and remedies, including, without limitation,
in connection with insolvency proceedings during the period that there are no outstanding
payment defaults by Ambac under the applicable Ambac Insurance Policies; and (C) the
agreement governing the Ambac Trust(s) will provide, among other things, that (1) all rights of a
holder of Ambac HTA 98 Senior Insured Bonds held by the Ambac Trust(s) (whether as to
amendments and consents, direction of remedies or otherwise) shall be exercisable solely by
Ambac and no holder of the Ambac Certificates shall be entitled to any right with respect to the
Ambac Insured HTA 98 Senior Bonds (other than as otherwise described in the Ambac Trust(s)),
(2) Ambac may, at its option, elect to direct a distribution of a proportional percentage of the
underlying Ambac Insured HTA 98 Senior Bonds to individual holders of Ambac Certificates
upon the release of such holder’s claims on the related Ambac Insurance Policy and against the

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Ambac Trust(s); such distribution and release shall not give rise to any other holder of Ambac
Certificates asserting a right to receive the same treatment, and (3) Ambac may, at its option,
elect to direct the sale of any Ambac Trust Assets.

                                (1)    Payment of Accelerated Amounts: Ambac shall receive
the Ambac Plan Consideration that would be otherwise allocable to the holders of Allowed HTA
98 Senior Insured Bond Claims (Ambac) and Ambac’s obligations to such holders shall be fully
and completely discharged upon the payment, on the HTA Effective Date, or as soon as
practicable thereafter, but in no event later than the tenth (10th) day following the HTA Effective
Date, in Cash, of the Ambac Acceleration Price with respect thereto.

                                (2)    Alternative Treatment: The Oversight Board and Ambac
reserve the right to formulate an alternative election or implementation option with respect to the
Allowed HTA 98 Senior Bond Claim (Ambac) Non Commutation Treatment of the Ambac
Insured HTA 98 Senior Bonds that is mutually acceptable to the Oversight Board and Ambac,
each in their respective sole discretion; provided, however, that any such alternative election or
implementation option must be proposed, in writing, at or prior to the commencement of the
Disclosure Statement Hearing.

               (c)     Deemed Acceleration of Ambac Insured Bonds: Notwithstanding any
other provision of the HTA Plan, to the extent that there are no outstanding payment defaults by
Ambac with respect to its obligations under the applicable Ambac Insurance Policies up to and
including the HTA Effective Date, the Ambac Insured Bonds shall be deemed accelerated and
immediately due and payable as of the HTA Effective Date. Ambac shall have the right to pay
the Ambac Acceleration Price with respect to such bonds at any time, and the holder of the
Ambac Insured Bonds and the trustee or fiscal agent (as applicable) shall be required to accept
the same in satisfaction of Ambac’s obligations under the applicable Ambac Insurance Policy
with respect to such bonds, and, upon such payment, Ambac’s obligations under the applicable
Ambac Insurance Policy shall be fully satisfied and extinguished, notwithstanding any provision
of the applicable Ambac Insurance Policy or other documents related to the Ambac Insured
Bonds. For the avoidance of doubt, notwithstanding such acceleration, there shall be no
acceleration of any payment required to be made under any Ambac Insurance Policy unless
Ambac elects, in its sole and absolute discretion to make such payment(s) on an accelerated
basis.

               (d)    Assignment of Redemption Rights: Notwithstanding any other
provision of the HTA Plan, to the extent permitted pursuant to applicable definitive documents
and not inconsistent with the rights provided in accordance with the applicable Ambac Insurance
Policy, on the HTA Effective Date, HTA shall be deemed to have assigned to Ambac any and all
rights to redeem and call the Ambac Insured Bonds and any related rights such that such rights
may be exercised directly and exclusively by Ambac as if it were HTA for such purpose. Any
amounts due in connection with any such redemption shall be equal to the lesser of the
applicable redemption price and the Ambac Acceleration Price.

               (e)   Entitlement to Vote: Subject to the terms and provisions of the
Disclosure Statement Order, (1) the solicitation of acceptances and rejections of the HTA Plan
by holders of Ambac Insured Bond Claims shall be made by the Oversight Board to Ambac in

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accordance with the provisions of Section 301(c)(3) of PROMESA, applicable law and
governing insurance and other documents, and (2) where applicable and as described in Section
26.4(b) hereof, the election to choose between the Allowed HTA 98 Senior Bond Claim (Ambac)
Commutation Treatment as set forth in Section 26.4(b)(i) hereof and the Allowed HTA 98 Senior
Bond Claim (Ambac) Non-Commutation Treatment as set forth in Section 26.4(b)(ii) hereof
shall be made by the beneficial holders of Ambac Insured HTA 98 Senior Bonds; provided,
however, that the form of the Ambac Non-Commutation Treatment shall be selected by Ambac
in accordance with the terms and provisions of Section 26.4(b)(ii) hereof.

                 (f)     Improper Election: If a holder of an Allowed HTA 98 Senior Bond
Claim (Ambac) (1) fails to timely and validly elect either the Allowed HTA 98 Senior Bond
Claim (Ambac) Commutation Treatment set forth in Section 26.4(b)(i) hereof or the Allowed
HTA 98 Senior Bond Claim (Ambac) Non-Commutation Treatment as set forth in Section
26.4(b)(ii) hereof, or (2) submits an election for less than all of its Ambac Insured Bond Claims
in a particular class (in which case, such election shall be void and of no force or effect), such
holder shall be deemed to have elected to receive with respect to its HTA 98 Senior Bond Claims
(Ambac), the Allowed HTA 98 Senior Bond Claim (Ambac) Commutation Treatment set forth in
Section 26.4(b)(i) hereof, to commute the applicable Ambac Insurance Policies, and to fully and
finally satisfy, release and discharge Ambac’s obligations under such Ambac Insurance Policies,
and shall receive, with respect to its HTA 68 Bond Claims (Ambac), the Allowed 68 Bond Claim
(Ambac) Treatment, if any, as set forth in Section 26.4(a) hereof. In addition, a holder of an
Allowed HTA 98 Senior Bond Claim (Ambac) that does not validly elect to receive either the
Allowed HTA 98 Senior Bond Claim (Ambac) Commutation Treatment or the Allowed HTA 98
Senior Bond (Ambac) Non-Commutation Treatment pursuant to clauses (1) or (2) above shall be
deemed to have had, on or after the HTA Effective Date, its Ambac Insured HTA 98 Senior
Bonds cancelled, and Ambac’s obligation under the applicable Ambac Insurance Policy shall be
fully and finally satisfied released and discharged.

        26.5 Fiscal Agent Obligations: Notwithstanding anything contained in the HTA Plan
to the contrary, including, without limitation, the terms and provisions of this Article XXVI, the
HTA Fiscal Agent shall have no duties or responsibilities with respect to any HTA Bonds that
are deposited into any of the Ambac Trust, the Assured Trust, the FGIC Trust, or the National
Trust from and after the HTA Effective Date.

                                       ARTICLE XXVII

      TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

        27.1 Rejection or Assumption of Remaining Executory Contracts and Unexpired
Leases: Pursuant to sections 365(b)(2) of the Bankruptcy Code, applicable to the Title III Case
pursuant to Section 301 of PROMESA, and subject to the provisions of Sections 27.5 and 27.7
hereof, all Executory Contracts and Unexpired Leases that exist between the Debtor and any
Entity, and which have not expired by their own terms on or prior to the HTA Effective Date,
shall be deemed rejected by the Debtor as of the HTA Effective Date, except for any Executory
Contract and Unexpired Lease (a) that has been assumed and assigned or rejected pursuant to an
order of the Title III Court entered prior to the HTA Effective Date, (b) that is specifically
designated as a contract or lease to be assumed or assumed and assigned on the schedules to the

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Plan Supplement, (c) that has been registered with the Office of the Comptroller of Puerto Rico,
(d) that has been exempt from registration with the Office of the Comptroller of Puerto Rico
pursuant to 2 L.P.R.A. § 97 and regulations promulgated pursuant thereto, (e) has been approved
by the Oversight Board or authorized by the Title III Court, unless specifically designated a
contract to be rejected in the Plan Supplement, (f) with the United States, or any of its agencies,
departments or agents or pursuant to any federal program, or (g) by or between any
Commonwealth agencies, departments, municipalities, public corporations or instrumentalities
(other than leases to which PBA is a party); provided, however, that the Debtor reserves the
right, on or prior to the HTA Effective Date, to amend such schedules to delete any Executory
Contract and Unexpired Lease therefrom or add any Executory Contract and Unexpired Lease
thereto, in which event such Executory Contract(s) and Unexpired Lease(s) shall be deemed to
be, as the case may be, either rejected, assumed, or assumed and assigned as of the HTA
Effective Date. The Debtor shall serve (y) notice of any Executory Contract and Unexpired
Lease to be assumed or assumed and assigned through the operation of this Section 27.1, by
including a schedule of such contracts and leases in the Plan Supplement and (z) notice of any
Executory Contract and Unexpired Lease to be rejected through the operation of this Section
27.1, by serving a separate notice to the relevant counterparties to such agreements. To the
extent there are any amendments to such schedules, the Debtor shall provide notice of any such
amendments to the parties to the Executory Contract and Unexpired Lease affected thereby. The
listing of a document on the schedules to the Plan Supplement or in any separate notice shall not
constitute an admission by the Debtor that such document is an Executory Contract and
Unexpired Lease or that the Debtor have any liability thereunder.

       27.2 Approval of Rejection or Assumption of Executory Contracts and Unexpired
Leases: Entry of the HTA Confirmation Order by the Title III Court shall constitute approval,
pursuant to sections 365(a) and 1123(b)(2) of the Bankruptcy Code, of the rejection, assumption,
or assumption and assignment, as the case may be, of an Executory Contract and an Unexpired
Lease pursuant to Section 27.1 of the HTA Plan.

        27.3 Inclusiveness: Unless otherwise specified on the schedules to the Plan
Supplement, each Executory Contract and Unexpired Lease listed or to be listed therein shall
include any and all modifications, amendments, supplements, restatements, or other agreements
made directly or indirectly by any agreement, instrument, or other document that in any manner
affects such Executory Contract and Unexpired Lease, without regard to whether such
agreement, instrument, or other document is listed on such schedule.

        27.4 Cure of Defaults: Except to the extent that different treatment has been agreed to
by the non-debtor party or parties to any Executory Contract and Unexpired Lease to be assumed
or assumed and assigned pursuant to Section 27.1 of the HTA Plan, the Debtor shall, pursuant to
the provisions of section 1123(a)(5)(G) and 1123(b)(2) of the Bankruptcy Code and consistent
with the requirements of section 365 of the Bankruptcy Code, within at least twenty (20) days
prior to the HTA Confirmation Hearing, file with the Title III Court and serve by first class mail
on each non- Debtor party to such Executory Contracts and Unexpired Leases to be assumed
pursuant to Section 27.1 of the HTA Plan, a notice, which shall list the cure amount as to each
executory contract or unexpired lease to be assumed or assumed and assigned. The parties to
such Executory Contracts and Unexpired Leases will have twenty (20) days from the date of
service of such notice to file and serve any objection to the cure amounts listed by the Debtor. If

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there are any objections filed, the Title III Court shall hold a hearing on a date to be set by the
Title III Court. Notwithstanding the terms and provisions of Section 27.1 of the HTA Plan, the
Debtor shall retain its rights to reject any of its Executory Contracts and Unexpired Leases that
are subject to a dispute concerning amounts necessary to cure any defaults through the HTA
Effective Date.

         27.5 Insurance Policies: Subject to the terms and provisions of Section 27.7 hereof,
each of the Debtor’s insurance policies and any agreements, documents, or instruments relating
thereto, are treated as Executory Contracts under the HTA Plan; provided, however, that, except
to the extent provided herein, the HTA Confirmation Order and the Definitive Documents, such
treatment shall not, and shall not be construed to, discharge or relieve any Monoline with respect
to its respective obligations to holders of Claims under policies of insurance and applicable law
and governing documents with respect thereto.

        27.6 Rejection Damage Claims: If the rejection of an Executory Contract and
Unexpired Lease by the Debtor hereunder results in damages to the other party or parties to such
contract or lease, any claim for such damages, if not heretofore evidenced by a filed proof of
Claim, shall be forever barred and shall not be enforceable against the Debtor, or its properties or
agents, successors, or assigns, including, without limitation, Reorganized HTA, unless a proof of
Claim is filed with the Title III Court and served upon attorneys for the Oversight Board and
Reorganized HTA, as the case may be, on or before thirty (30) days after the later to occur of (i)
the HTA Confirmation Date, and (ii) the date of entry of an order by the Title III Court
authorizing rejection of a particular Executory Contract and Unexpired Lease.

        27.7 Indemnification and Reimbursement Obligations: For purposes of the HTA
Plan, (i) to the extent executory in nature, the obligations of the Debtor, including, without
limitation, directors and officers insurance policies, to indemnify and reimburse its directors or
officers that were directors or officers, respectively, on or prior to the HTA Petition Date, shall
be deemed assumed as of the HTA Effective Date, and (ii) indemnification obligations of the
Debtor arising from conduct of officers and directors during the period from and after the HTA
Petition Date, as the case may be, shall be Administrative Expense Claims; provided, however,
that, under no circumstances shall the Debtor or Reorganized HTA, as the case may be, be
responsible for any indemnification obligation, cost, or expense associated with the gross
negligence, intentional fraud or willful misconduct of their respective officers or directors.

       27.8 Nonoccurrence of HTA Effective Date: In the event that the HTA Effective
Date does not occur, the Title III Court shall retain jurisdiction with respect to any request to
extend the deadline for assuming or rejecting Executory Contracts and Unexpired Leases
pursuant to section 365(d)(4) of the Bankruptcy Code, unless such deadline(s) have expired.

        27.9 Reservation of Rights: Nothing contained in the HTA Plan or the Plan
Supplement shall constitute an admission by the Debtor, Reorganized HTA or any other party
that any such contract or lease is in fact an Executory Contract and Unexpired Lease or that the
Debtor have any liability thereunder. If there is a dispute regarding whether a contract or lease is
or was executory or unexpired at the time of assumption, the Debtor or Reorganized HTA shall
have forty-five (45) days following entry of a Final Order resolving such dispute to alter their
treatment of such contract or lease.

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        27.10 Collective Bargaining Agreements: Except as provided in Article XXVII
hereof, none of the Debtor’s collective bargaining agreements shall be treated as Executory
Contracts and none shall be assumed or rejected or otherwise treated pursuant to the HTA Plan,
but shall remain in effect subject, in all instances, to Puerto Rico law and Section 2.5 hereof
regarding the payment and ongoing treatment of pension and related claims and obligations.

                                      ARTICLE XXVIII

                      PROVISIONS GOVERNING DISTRIBUTIONS

        28.1 Time and Manner of Distribution: Except as otherwise provided herein,
distributions under the HTA Plan shall be made to each holder of an Allowed Claim as follows:

                (a)     Distributions to Holders of HTA 68 Bond Claims, HTA 68 Bond
Claims (Ambac), HTA 68 Bond Claims (Assured), and HTA 68 Bond Claims (National):
Except as otherwise provided herein, on the HTA Effective Date, the Disbursing Agent shall
distribute, or cause to be distributed, to each holder of an Allowed HTA 68 Bond Claim, an
Allowed HTA 68 Bond Claim (Ambac), an Allowed HTA 68 Bond Claim (Assured), or an
Allowed HTA 68 Bond Claim (National), and in each case consistent with the terms hereof, such
holder’s Pro Rata Share, if any, of the HTA 68 Bond Recovery, the HTA Restriction Fee, and
HTA Consummation Costs, if applicable.

                (b)    Distributions to Holders of HTA 98 Senior Bond Claims, HTA 98
Senior Bond Claims (Ambac), HTA 98 Senior Bond Claims (Assured), HTA 98 Senior
Bond Claims (FGIC), and HTA 98 Senior Bond Claims (National): Except as otherwise
provided herein, on the HTA Effective Date, the Disbursing Agent shall distribute, or cause to be
distributed, to each holder of an Allowed HTA 98 Bond Claim, an Allowed HTA 98 Senior
Bond Claim (Ambac), an Allowed HTA 98 Senior Bond Claim (Assured), an Allowed HTA 98
Senior Bond Claim (FGIC), or an Allowed HTA 98 Senior Bond Claim (National), such holder’s
Pro Rata Share, if any, of (i) HTA 98 Senior Bond Recovery, (ii) the HTA PSA Restriction Fee,
and (iii) HTA Consummation Costs, in each case, to the extent applicable.

               (c)      Distributions to Holders of HTA 98 Sub Bond Claims, HTA 98 Sub
Bond Claims (Assured), HTA 98 Sub Bond Claims (FGIC), and HTA 98 Sub Bond Claims
(National): Except as otherwise provided herein, on the HTA Effective Date, the Disbursing
Agent shall distribute, or cause to be distributed, to each holder of an Allowed HTA 98 Sub
Bond Claim, an Allowed HTA 98 Sub Bond Claim (Assured), an Allowed HTA 98 Sub Bond
Claim (FGIC), or an Allowed HTA 98 Sub Bond Claim (National), such holder’s Pro Rata Share
of the HTA 98 Sub Bond Recovery.

                (d)     Distributions with Respect to HTA General Unsecured Claims:
Except as otherwise provided herein, on the HTA Effective Date, the Disbursing Agent shall
distribute, or cause to be distributed, to each holder of an Allowed HTA General Unsecured
Claim such holder’s Pro Rata Share, if any, of the HTA GUC Recovery.

           (e)    Distributions with Respect to Eminent Domain/Inverse
Condemnation Claims: Except as otherwise provided herein, within ten (10) Business Days


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following the occurrence of a Final Order determining the validity and amount of just
compensation attributable to an Eminent Domain/Inverse Condemnation Claim, the Disbursing
Agent shall distribute, or cause to be distributed, to each holder of an Allowed Eminent
Domain/Inverse Condemnation Claim, Cash in the amount of such Allowed Claim.

              (f)    Distribution of Cash to Holders of Allowed Administrative Expense
Claims: Except as otherwise provided herein, on or as soon as practicable after the later of (i)
the HTA Effective Date and (ii) the date on which such Claim becomes an Allowed Claim, the
Disbursing Agent shall distribute, or cause to be distributed, to each holder of an Allowed
Administrative Expense Claim, Cash in the amount of such Allowed Claim.

               (g)      Distribution of Cash to Holders of Allowed Convenience Claims:
Except as otherwise provided herein, on or as soon as practicable after the later of (i) the HTA
Effective Date and (ii) the date on which such Claim becomes an Allowed Claim, the Disbursing
Agent shall distribute, or cause to be distributed, to each holder of an Allowed Claim, Cash in
the amount of such Allowed Convenience Claim.

        28.2 Timeliness of Payments: Any payment or distribution to be made pursuant to
the HTA Plan shall be deemed to be timely made if made within ten (10) Business Days after the
date specified in the HTA Plan. Whenever any distribution to be made under this HTA Plan
shall be due on a day other than a Business Day, such distribution shall instead be made, without
interest, on the immediately succeeding Business Day, but shall be deemed to have been made
on the date due, including, without limitation, deeming distributions made pursuant to Section
28.1 hereof to have been made on the HTA Effective Date.

        28.3 Distributions by the Disbursing Agent: Except as otherwise provided herein or
in the HTA Confirmation Order, all distributions under the HTA Plan shall be made by the
Disbursing Agent. The Disbursing Agent shall be deemed to hold all property to be distributed
hereunder in trust for the Entities entitled to receive the same. The Disbursing Agent shall not
hold an economic or beneficial interest in such property.

       28.4 Manner of Payment under the HTA Plan: Unless the Entity receiving a
payment agrees otherwise, any payment in Cash to be made by the Disbursing Agent shall be
made, at the election of the payor, by check drawn on a domestic bank or by wire transfer from a
domestic bank; provided, however, that no Cash payment shall be made to a holder of an
Allowed Claim until such time, if ever, as the amount payable thereto is equal to or greater than
Ten Dollars ($10.00).

         28.5 Delivery of Distributions: Subject to the provisions of Rule 9010 of the
Bankruptcy Rules, and except as provided in the HTA Confirmation Order or herein,
distributions and deliveries to holders of Allowed Claims shall be made through The Depository
Trust Company or at the address of each such holder as set forth on the Schedules filed with the
Court, unless superseded by the address set forth on proofs of Claim filed by such holders, or at
the last known address of such holder if no proof of Claim is filed or if the Debtor has been
notified in writing of a change of address; provided, however, that initial distributions by the
Disbursing Agent on account of Allowed HTA Bond Claims shall be made to, or at the direction
of, the HTA Fiscal Agent in accordance with the respective governing documents for such

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obligations; and, provided, further, that the Disbursing Agent may make distributions of HTA
PSA Restriction Fees, and Consummation Costs in Cash to a party entitled thereto in a manner
mutually agreed upon between such party and the Disbursing Agent. The HTA Fiscal Agent (or
the HTA Fiscal Agent’s designee) shall, in turn, deliver the distribution to the applicable holders
in the manner provided for in the applicable governing documents. Regardless of whether such
distributions are made by the HTA Fiscal Agent or the Disbursing Agent at the direction of the
HTA Fiscal Agent, any Charging Lien of the HTA Fiscal Agent shall attach to such distributions
in the same manner as if such distributions were made by or through the HTA Fiscal Agent. The
HTA Fiscal Agent may rely upon the distribution instructions received from the Debtor or its
agents with respect to delivery of distributions in accordance with the terms and provisions of
this Article XXVII, including any contra-CUSIP positions and escrow positions set up by the
debtor or its agents with the Depository Trust Company. The Debtor, its agents and servicers,
the HTA Fiscal Agent, and the Disbursing Agent shall have no obligation to recognize any
transfer of HTA Bond Claims after the Distribution Record Date; provided, however, that the
New HTA Bonds and the HTA Clawback CVIs will be transferable and recognized in
accordance with the terms and conditions of the New HTA Bonds Indenture and the CVI
Indenture, respectively.

         28.6 Cancellation of Notes, Instruments, Certificates, and Other Documents:
Except (a) as provided in any contract, instrument or other agreement or document entered into
or delivered in connection with the HTA Plan, (b) for purposes of evidencing a right to
distribution under the HTA Plan, or (c) as specifically provided otherwise in the HTA Plan
(including any rejection of Executory Contracts or Unexpired Leases pursuant to Section 27.1
hereof), on the HTA Effective Date, the HTA Bonds and all instruments and documents related
thereto will be deemed automatically cancelled, terminated and of no further force or effect
against the Debtor without any further act or action under any applicable agreement, law,
regulation, order or rule, with the Debtor and the applicable trustee, paying agent or fiscal agent,
as the case may be, having no continuing obligations or duties and responsibilities thereunder
and the obligations of the parties to the Debtor, under the HTA Bonds and all instruments and
documents related thereto shall be discharged; provided, however, that, notwithstanding anything
contained herein to the contrary, the HTA Bonds and such other instruments and documents shall
continue in effect solely (i) to allow the Disbursing Agent to make any distributions as set forth
in the HTA Plan and to perform such other necessary administrative or other functions with
respect thereto, (ii) to allow holders of Allowed HTA Bond Claims and Allowed Insured HTA
Bond Claims to receive distributions in accordance with the terms and provisions of the HTA
Plan, (iii) for any trustee, agent, contract administrator or similar entity under all instruments and
documents related thereto, to perform necessary functions, including making distributions, in
accordance with the HTA Plan and to have the benefit of all the rights and protections and other
provisions of such instruments and documents, as applicable, and all other related agreements,
(iv) to set forth the terms and conditions applicable to parties to such documents and instruments
other than the Debtor, (v) to allow Assured and National to exercise the redemption or call rights
assigned to Assured and National pursuant to the provisions of Sections 26.1 and 26.2 hereof,
respectively, or (vi) as may be necessary to preserve any claims under the respective insurance
policies and related documents issued by a Monoline and the Oversight Board shall request that
HTA use its reasonable efforts to (1) maintain the existing CUSIP numbers for the Monoline-
insured HTA Bonds, and (2) take such other reasonable steps as may be necessary to preserve


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and effectuate such Claims; and, provided, further, that, notwithstanding the foregoing or
anything else contained in the HTA Plan to the contrary, the HTA Fiscal Agent shall have no
duties or responsibilities with respect to any HTA Bonds that are deposited into any of the
Ambac Trust, the Assured Trust, the FGIC Trust, or the National Trust from and after the HTA
Effective Date. Notwithstanding the foregoing, and except as otherwise expressly provided in
the HTA Plan, such bonds or bond documents that remain outstanding shall not form the basis
for the assertion of any Claim against the Debtor or Reorganized HTA, as the case may be.

       28.7    Undeliverable/Reserved Distributions:

                (a)    Holding of Undeliverable Distributions by the Disbursing Agent: If
any distribution to any holder is returned to the Disbursing Agent as undeliverable, no further
distribution shall be made to such holder unless and until the Disbursing Agent is notified, in
writing, of such holder’s then-current address. Subject to the terms and provision of
Section 32.7(b) hereof, undeliverable distributions shall remain in the possession of the
Disbursing Agent until such time as a distribution becomes deliverable. All Entities ultimately
receiving previously undeliverable Cash shall not be entitled to any interest or other accruals
thereon of any kind. Nothing contained in the HTA Plan shall require the Disbursing Agent to
attempt to locate any holder of an Allowed Claim.

                (b)     Failure to Claim Undeliverable Distributions: If (i) a check is sent, by
the Disbursing Agent to a holder in respect of distributions and such check is not negotiated
within one hundred twenty (120) days following the date on which such check was issued, or
(ii) any other form of distribution to a holder is otherwise undeliverable, the Disbursing Agent
(or its duly authorized agent) shall, on or prior to the date that is one hundred eighty (180) days
from (i) the HTA Effective Date, with respect to all Allowed Claims as of the HTA Effective
Date, and (ii) the date that a distribution is made with respect to any Disputed Claim that
becomes an Allowed Claim subsequent to the HTA Effective Date, file a list with the Title III
Court setting forth the names of those Entities for which distributions have been made hereunder
that have not been negotiated or have been returned as undeliverable as of the date thereof. Any
holder of an Allowed Claim on such list that does not identify itself and assert its rights pursuant
to the HTA Plan to receive a distribution within six (6) months from the date so listed shall have
its entitlement to such undeliverable distribution discharged and shall be forever barred from
asserting any entitlement pursuant to the HTA Plan, against Reorganized HTA, the trustees, or
their respective professionals, agents, or property, and any (1) Cash in the possession of the
Disbursing Agent or the trustee with respect to existing securities, as the case may be, shall be
released to Reorganized HTA for use to discharge operating expenses of Reorganized HTA, and
(2) the HTA Bonds in the possession of the Disbursing Agent or trustee with respect to existing
securities shall be released to Reorganized HTA for cancellation or deposit into the treasury of
Reorganized HTA, as determined by Reorganized HTA in its sole and absolute discretion.

        28.8 Withholding and Reporting Requirements: Any party issuing any instrument
or making any distribution under the HTA Plan shall comply with all applicable withholding and
reporting requirements imposed by any United States federal, state or local tax law or tax
authority, and all distributions under the HTA Plan shall be subject to any such withholding or
reporting requirements. Notwithstanding the above, each holder of an Allowed Claim that is to
receive a distribution under the HTA Plan shall have the sole and exclusive responsibility for the

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satisfaction and payment of any taxes imposed on such holder by any governmental unit,
including income, withholding and other tax obligations, on account of such distribution. Any
party issuing any instrument or making any distribution under the HTA Plan has the right, but
not the obligation, to not make a distribution until such holder has made arrangements
satisfactory to such issuing or disbursing party for payment of any such withholding tax
obligations and, if any party issuing any instrument or making any distribution under the HTA
Plan fails to withhold with respect to any such holder’s distribution, and is later held liable for
the amount of such withholding, the holder shall reimburse such party. The Disbursing Agent
may require, as a condition to the receipt of a distribution, that the holder complete the
appropriate Form W-8 or Form W-9, as applicable to each holder. If the holder fails to comply
with such a request within one year, such distribution shall be deemed an Unclaimed
Distribution.

        28.9 Time Bar to Cash Payments: Checks issued by the Disbursing Agent on
account of Allowed Claims shall be null and void if not negotiated within one hundred twenty
(120) days from and after the date of issuance thereof. Requests for reissuance of any check
shall be made directly to the Disbursing Agent by the holder of the Allowed Claim with respect
to which such check originally was issued. Any claim in respect of such a voided check shall be
made on or before the later of (i) the first (1st) anniversary of the HTA Effective Date or (ii)
ninety (90) days after the date of issuance of such check, if such check represents a final
distribution hereunder on account of such Claim. After such date, all Claims in respect of voided
checks shall be discharged and forever barred and the Disbursing Agent shall retain all monies
related thereto for the sole purpose of redistribution to holders of Allowed Claims in accordance
with the terms and provisions hereof.

        28.10 Distributions After HTA Effective Date: Distributions made after the HTA
Effective Date to holders of Claims that are not Allowed Claims as of the HTA Effective Date,
but which later become Allowed Claims, shall be deemed to have been made in accordance with
the terms and provisions of Article XXVIII of the HTA Plan.

        28.11 Setoffs: Except as otherwise provided in the HTA Plan or in the HTA
Confirmation Order, the Disbursing Agent may, pursuant to applicable bankruptcy or non-
bankruptcy law, set off against any Allowed Claim and the distributions to be made pursuant to
the HTA Plan on account thereof (before any distribution is made on account of such Claim by
the Disbursing Agent), the claims, rights, and Causes of Action of any nature that the Debtor or
Reorganized HTA may hold against the holder of such Allowed Claim; provided, however, that
neither the failure to effect such a setoff nor the allowance of any Claim hereunder shall
constitute a waiver or release by the Debtor or Reorganized HTA of any such claims, rights, and
Causes of Action that the Debtor or Reorganized HTA may possess against such holder; and,
provided, further, that nothing contained herein is intended to limit the ability of any Creditor to
effectuate rights of setoff or recoupment preserved or permitted by the provisions of sections
553, 555, 559, or 560 of the Bankruptcy Code or pursuant to the common law right of
recoupment; and, provided, further, that nothing in this Section 28.11 shall affect the releases and
injunctions provided in Article XLI of the HTA Plan.

       28.12 Allocation of Plan Distributions Between Principal and Interest: Unless
otherwise specified herein, to the extent that any Allowed Claim entitled to a distribution under

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the HTA Plan consists of indebtedness and other amounts (such as accrued but unpaid interest
thereon), such distribution shall be allocated first, to interest accrued and unpaid as of the date
immediately preceding the HTA Petition Date, second, to the principal amount of the Claim (as
determined for federal income tax purposes) and then, to the extent the consideration exceeds the
principal amount of the Claim, to such other amounts; provided, however, that the Debtor or
Reorganized HTA’s treatment of any distributions for its tax purposes will not be binding on any
Creditor as to the treatment of such distributions for any regulatory, tax or other purposes.

        28.13 Payment of Trustee Fees and Expenses: The distributions to be made pursuant
to the HTA Plan and the Commonwealth Confirmation Order to holders of HTA 68 Bond Claims
and HTA 98 Senior Bond Claims on account of such Claims are intended to be inclusive of any
and all of the HTA Fiscal Agent’s reasonable fees and expenses due and owing by HTA pursuant
to the applicable bond resolutions with respect to amounts discharged pursuant to the HTA Plan
(the “HTA Fiscal Agent’s Fees and Expenses”). To the extent not deducted in connection with
payments made in accordance with the Commonwealth Confirmation Order upon satisfaction of
the Distribution Conditions, the HTA Fiscal Agent’s Fees and Expenses shall be deducted on a
pro rata basis from distributions to holders of HTA 68 Bond Claims and HTA 98 Senior Bond
Claims on account of such Claims, such that the cost of such HTA Fiscal Agent’s Fees and
Expenses is shared equally by all holders of HTA 68 Bond Claims and HTA 98 Senior Bond
Claims based on the amount of their Claims; provided, however, that, notwithstanding anything
in the HTA Plan, the HTA Confirmation Order, or the applicable bond resolutions to the
contrary, the HTA Fiscal Agent’s Fees and Expenses shall not exceed $2,360,681.02. In the
event amounts reserved or deducted by the HTA Fiscal Agent from the distributions to be made
to holders of HTA 68 Bond Claims and HTA 98 Senior Bond Claims exceed the HTA Fiscal
Agent’s Fees and Expenses, such excess amounts shall be distributed by, or at the direction of,
the HTA Fiscal Agent on a pro rata basis to holders of HTA 68 Bond Claims and HTA 98 Senior
Bond Claims on the HTA Effective Date (the “Excess Distribution”). For purposes of this
Section 28.13, the applicable Monolines shall constitute the holders of the HTA 68 Bond Claims
and the HTA 98 Senior Bond Claims arising from the HTA Bonds which are insured by any such
Monoline, if any, in accordance with Section 301(c)(3) of PROMESA, applicable law, and
governing insurance and other documents applicable to such HTA Bonds; provided, however,
that, notwithstanding the foregoing, (a) with respect to any HTA 98 Senior Bonds owned by
FGIC, the HTA Fiscal Agent shall make the Excess Distribution attributable thereto, if any, to
FGIC, and (b) with respect to any HTA 98 Senior Bonds insured by FGIC, but not owned by
FGIC, the HTA Fiscal Agent shall make the Excess Distribution attributable thereto, if any, to
the owners of such HTA 98 Senior Bonds. Except as otherwise provided in this Section 28.13,
the HTA Plan does not, nor shall it be construed to, limit the rights of the HTA Fiscal Agent to
payment of such amounts from the distributions to be made hereunder, including, without
limitation, the imposition of any Charging Lien.

        28.14 Beneficial Owner: For all purposes of the HTA Plan, including, without
limitation, for purposes of distributions pursuant to the terms and provisions of this
Article XXVIII, the “holder” of a Claim shall mean any Entity who, directly or indirectly, has
investment power with respect to any Claim, which includes the power to dispose or to direct the
disposition of such Claim; provided, however, that, for purposes of Article XXVIII hereof and
section 1126 of the Bankruptcy Code, (a) National shall constitute the “holder” of any National
Insured Bond Claims and any National CW/HTA Bond Claims in accordance with Section

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301(c)(3) of PROMESA, applicable law and governing insurance and other documents
applicable to the National Insured Bond Claims and the National CW/HTA Bond Claims,
(b) Assured shall constitute the “holder” of any Assured Insured Bond Claims, any Assured
CW/Convention Center Claims, any Assured CW/HTA Bond Claims, and any Assured
CW/PRIFA Rum Tax Claims in accordance with Section 301(c)(3) of PROMESA, applicable
law and governing insurance and other documents applicable to the Assured Insured Bond
Claims, the Assured CW/Convention Center Claims, the Assured CW/HTA Bond Claims, and
the Assured CW/PRIFA Rum Tax Claims, (c) Ambac shall constitute the “holder” of any Ambac
Insured Bond Claims, any Ambac CW/Convention Center Claims, any Ambac CW/HTA Bond
Claims, and any Ambac CW/PRIFA Rum Tax Claims in accordance with Section 301(c)(3) of
PROMESA, applicable law and governing insurance and other documents applicable to the
Ambac Insured Bond Claims, the Ambac CW/Convention Center Claims, the Ambac CW/HTA
Bond Claims, and the Ambac CW/PRIFA Rum Tax Claims, (d) FGIC shall constitute the
“holder” of any FGIC Insured Bond Claims and any FGIC CW/HTA Bond Claims, in
accordance with Section 301(c)(3) of PROMESA, applicable law and governing insurance and
other documents applicable to the FGIC Insured Bond Claims, the FGIC CW/HTA Bond Claims,
(e) Syncora shall constitute the “holder” of any HTA Bond Claims and CW/HTA Bond Claims
arising from or related to HTA 98 Senior Bonds bearing CUSIP number 745190AY4, and the
principal and interest payments of which have been insured by Syncora in accordance with
Section 301(c)(3) of PROMESA, applicable law and governing insurance and other documents
applicable to such Claims; provided, however, that, solely to the extent permitted by governing
insurance and other documents, on the HTA Effective Date, Syncora shall pay the beneficial
owners of such HTA 98 Senior Bonds the Syncora Acceleration Price; and, provided, further,
that Syncora shall indemnify and hold the Oversight Board, the Commonwealth, HTA, and
Reorganized HTA harmless from any and all claims, liabilities, damages, and causes of action
arising from or related to the acceleration of such HTA 98 Senior Bonds and the payment of the
Syncora Acceleration Price, and (f) the “holder” of any other Insured HTA Bond Claims shall be
determined in accordance with Section 301(c)(3) of PROMESA and any law or governing
documents applicable to such Insured HTA Bond Claims.

        28.15 Value of Distributions: For purposes of calculating the value of distributions
made to holders of Allowed Claims, (a) Cash shall be valued in the amount distributed and
(b) the New HTA Bonds shall be valued at the original principal amount thereof.

        28.16 Disputed Funds Stipulation: In the event that the Distribution Conditions are
not satisfied prior to the HTA Effective Date, on the HTA Effective Date, the Distribution
Conditions shall be deemed satisfied and payments and distributions to be made in connection
therewith pursuant to the terms and provisions of the Commonwealth Confirmation Order and
the HTA/CCDA Plan Support Agreement shall be made on the HTA Effective Date to holders of
HTA 68 Bond Claims, HTA 68 Bond Claims (Ambac), HTA 68 Bond Claims (Assured), HTA
68 Bond Claims (National), HTA 98 Senior Bond Claims, HTA 98 Senior Bond Claims
(Ambac), HTA 98 Senior Bond Claims (Assured), HTA 98 Senior Bond Claims (FGIC), and
HTA 98 Senior Bond Claims (National), including, without limitation, the distribution of monies
in accordance with the Disputed Funds Stipulation, subject to the rights of The Bank of New
York Mellon, as fiscal agent, to assert and apply, on a pro rata basis, any and all of its rights with
respect thereto.


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                                         ARTICLE XXIX

  PROSECUTION AND EXTINGUISHMENT OF CLAIMS HELD BY THE DEBTOR

         29.1 Prosecution of Claims: Except as settled and released herein, from and after the
HTA Effective Date, the Avoidance Actions Trustee shall have the exclusive right and power to
(a) litigate any and all of the Avoidance Actions and (b) compromise and settle such Avoidance
Actions, upon approval of the Title III Court. The net proceeds of any such litigation or
settlement (after satisfaction of all costs and expenses incurred in connection therewith) shall be
included in the HTA GUC Recovery and be distributed to holders of Allowed HTA General
Unsecured Claims.

                                         ARTICLE XXX

           ACCEPTANCE OR REJECTION OF THE HTA PLAN; EFFECT OF
              REJECTION BY ONE OR MORE CLASSES OF CLAIMS

        30.1 Impaired Classes to Vote: Each holder of a Claim, as of the Voting Record Date
or at the time of tender into ATOP, as the case may be, in an impaired Class not otherwise
deemed to have rejected or accepted the HTA Plan in accordance with Article XXXIII of the
HTA Plan shall be entitled to vote separately to accept or reject the HTA Plan.

       30.2 Acceptance by Class of Creditors: An impaired Class of holders of Claims shall
have accepted the HTA Plan if the HTA Plan is accepted by at least two-thirds (2/3) in dollar
amount and more than one-half (1/2) in number of the Allowed Claims of such Class that have
voted to accept or reject the HTA Plan.

        30.3 Cramdown: In the event that any impaired Class of Claims shall fail to accept,
or be deemed to reject, the HTA Plan in accordance with section 1129(a) of the Bankruptcy
Code, the Debtor reserves the right to (i) request that the Bankruptcy Court confirm the HTA
Plan in accordance with section 1129(b) of the Bankruptcy Code or (ii) subject to the consent of
the HTA/CCDA PSA Creditors, in accordance with the provisions of the HTA/CCDA Plan
Support Agreement, amend the HTA Plan.

                                         ARTICLE XXXI

                    RIGHTS AND POWERS OF DISBURSING AGENT

        31.1 Exculpation: From and after the HTA Effective Date, the Disbursing Agent shall
be exculpated by all Entities, including, without limitation, holders of Claims and other parties in
interest, from any and all claims, Causes of Action, and other assertions of liability arising out of
the discharge of the powers and duties conferred upon such Disbursing Agent by the HTA Plan
or any order of the Title III Court entered pursuant to or in furtherance of the HTA Plan, or
applicable law, except for actions or omissions to act arising out of the gross negligence or
willful misconduct of such Disbursing Agent. No holder of a Claim or other party in interest
shall have or pursue any claim or cause of action against the Disbursing Agent for making
payments in accordance with the HTA Plan or for implementing the provisions of the HTA Plan,


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except for claims or causes of action arising from the gross negligence or willful misconduct of
the Disbursing Agent.

        31.2 Powers of the Disbursing Agent: Except as may be provided otherwise
hereunder, the Disbursing Agent shall be empowered to (a) take all steps and execute all
instruments and documents necessary to effectuate the HTA Plan, (b) make distributions
contemplated by the HTA Plan, (c) comply with the HTA Plan and the obligations thereunder,
and (d) exercise such other powers as may be vested in the Disbursing Agent pursuant to order of
the Title III Court, pursuant to the HTA Plan, or as deemed by the Disbursing Agent to be
necessary and proper to implement the provisions of the HTA Plan.

        31.3 Fees and Expenses Incurred From and After the HTA Effective Date: Except
as otherwise ordered by the Title III Court, the amount of any reasonable fees and expenses
incurred by the Disbursing Agent from and after the HTA Effective Date and any reasonable
compensation and expense reimbursement claims, including, without limitation, reasonable fees
and expenses of counsel, incurred by the Disbursing Agent, shall be paid in Cash without further
order of the Title III Court; provided, however, that the Disbursing Agent shall not be entitled to
reimbursement or indemnification by Reorganized HTA related to claims or causes of action
arising from the gross negligence or willful misconduct of the Disbursing Agent.

                                        ARTICLE XXXII

               PROCEDURES FOR TREATMENT OF DISPUTED CLAIMS
                  AND CLAIMS SUBJECT TO ACR PROCEDURES

       32.1    Objections to Claims; Prosecution of Disputed Claims:

                (a)      Except with respect to Allowed Claims, and subject to the terms and
conditions of the ADR Procedures and the ADR Order, Reorganized HTA, by and through the
Oversight Board, and in consultation with AAFAF, shall object to, and shall assume any pending
objection filed by the Debtor to, the allowance of Claims filed with the Title III Court with
respect to which it disputes liability, priority or amount, including, without limitation, objections
to Claims that have been assigned and the assertion of the doctrine of equitable subordination
with respect thereto. All objections, affirmative defenses and counterclaims shall be litigated to
Final Order; provided, however, that Reorganized HTA, by and through the Oversight Board,
and in consultation with AAFAF, shall have the authority to file, settle, compromise or withdraw
any objections to Claims, without approval of the Title III Court. Unless otherwise ordered by
the Title III Court, to the extent not already objected to by the Debtor, Reorganized HTA shall
file and serve all objections to Claims as soon as practicable, but, in each instance, not later than
one hundred eighty (180) days following the HTA Effective Date or such later date as may be
approved by the Title III Court. Following the making of distributions to holders of Allowed
HTA Bond Claims in accordance with the provisions hereof, any HTA Bond Claim filed by any
Entity, for amounts due under existing securities, shall be deemed satisfied and expunged and the
Oversight Board shall instruct Kroll Restructuring Administration LLC (formerly Prime Clerk
LLC), its court-appointed representative, to remove such HTA Bond Claims from the claims
registry maintained for the benefit of the Title III Court; provided, however, that, in the event


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that an order reversing or vacating the HTA Confirmation Order with respect to HTA Bond
Claims becomes a Final Order, such HTA Bond Claims shall be reinstated on the claims registry.

                (b)     The two (2) Creditors’ Committee appointees to the Avoidance Actions
Trust Board shall (i) receive monthly updates to the claims reconciliation process with respect to
HTA General Unsecured Claims, which process shall continue to be administered by the
Oversight Board, with the assistance of AAFAF, (ii) have the right to (A) review the claims
objections and reconciliation process, including the ADR Procedures, as it relates to HTA
General Unsecured Claims and Convenience Claims, regardless of the size of the asserted Claim
amount, (B) ensure compliance with the exclusions from HTA General Unsecured Claims as
provided in the HTA Plan, and (C) in the event that such appointees disagree with any
settlement of an HTA General Unsecured Claim, for an allowed amount in excess of Five
Hundred Thousand Dollars ($500,000.00), such appointees may seek relief from the Title III
Court to cause (upon a showing that such settlement is not in the best interest of HTA and its
creditors) the Oversight Board or AAFAF, as the case may be, to obtain approval of the Title III
Court for any such settlement in accordance with the standard for approval under Bankruptcy
Rule 9019. Such appointees and their advisors shall not be entitled to compensation in excess to
that provided pursuant to the Commonwealth Plan and the Commonwealth Confirmation Order.

               (c)   From and after the HTA Effective Date, all Late-Filed Claims shall be
deemed denied, with prejudice, and the Oversight Board shall instruct Kroll Restructuring
Administration LLC (formerly Prime Clerk LLC), its court-appointed representative, to remove
such Late-Filed Claims from the claims registry maintained for the benefit of the Title III Court
and the Oversight Board shall cause a notice with respect thereto to be served upon the holder of
such Late-Filed Claim.

         32.2 Estimation of Claims: Except with respect to Allowed Claims, on and after the
HTA Effective Date, and unless otherwise limited by an order of the Title III Court, including,
without limitation, the ACR Order, and the ADR Order, Reorganized HTA, by and through the
Oversight Board, may at any time request the Title III Court to estimate for final distribution
purposes any contingent, unliquidated or Disputed Claim pursuant to section 502(c) of the
Bankruptcy Code regardless of whether the Debtor previously objected to or sought to estimate
such Claim, and the Title III Court will retain jurisdiction to consider any request to estimate any
Claim at any time during litigation concerning any objection to any Claim, including, without
limitation, during the pendency of any appeal relating to any such objection. Unless otherwise
provided in an order of the Title III Court, in the event that the Title III Court estimates any
contingent, unliquidated or Disputed Claim, the estimated amount shall constitute either the
allowed amount of such Claim or a maximum limitation on such Claim, as determined by the
Title III Court; provided, however, that, if the estimate constitutes the maximum limitation on
such Claim, Reorganized HTA, by and through the Oversight Board, may elect to pursue
supplemental proceedings to object to any ultimate allowance of such Claim; and, provided,
further, that the foregoing is not intended to limit the rights granted by section 502(j) of the
Bankruptcy Code. All of the aforementioned Claims objection, estimation and resolution
procedures are cumulative and not necessarily exclusive of one another.

       32.3    Payments and Distributions on Disputed Claims:


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                (a)     Disputed Claims Holdback: From and after the HTA Effective Date,
and until such time as each Disputed Claim has been compromised and settled, estimated by the
Title III Court in an amount constituting the allowed amount, or Allowed or Disallowed by Final
Order of the Title III Court, Reorganized HTA shall retain, for the benefit of each holder of a
Disputed Claim, the distributions that would have been made to such holder if it were an
Allowed Claim in an amount equal to the lesser of (i) the liquidated amount set forth in the filed
proof of Claim relating to such Disputed Claim, (ii) the amount in which the Disputed Claims
shall be estimated by the Title III Court pursuant to section 502 of the Bankruptcy Code
constitutes and represents the maximum amount in which such Claim may ultimately become an
Allowed Claim, and (iii) such other amount as may be agreed upon by the holder of such
Disputed Claim and Reorganized HTA; provided, however, that the recovery by any holder of a
Disputed Claim shall not exceed the lesser of (i), (ii) and (iii) above. To the extent that
Reorganized HTA retains any New HTA Bonds on behalf of Disputed Claims holders, until such
New HTA Bonds are distributed, Reorganized HTA shall exercise voting or consent rights with
respect to such obligations.

                (b)     Allowance of Disputed Claims: At such time as a Disputed Claim
becomes, in whole or in part, an Allowed Claim, the Disbursing Agent shall distribute to the
holder thereof the distributions, if any, to which such holder is then entitled under the HTA Plan,
together with any earnings that have accrued thereon (net of any expenses, including any taxes,
relating thereto), but only to the extent that such earnings are attributable to the amount of the
Allowed Claim. Such distribution, if any, shall be made as soon as practicable after the date that
the order or judgment of the Title III Court allowing such Disputed Claim becomes a Final
Order, but in no event more than ninety (90) days thereafter.

        32.4 Authority to Amend Lists of Creditors: Except with respect to HTA Bond
Claims, and subject to the limitations in Section 32.1(b) hereof, the Debtor shall have the
authority to amend the List of Creditors with respect to any Claim and to make distributions
based on such amended List of Creditors without approval of the Title III Court. If any such
amendment to the List of Creditors reduces the amount of a Claim or changes the nature or
priority of a Claim, the Debtor will provide the holder of such Claim with notice of such
amendment and such holder will have twenty (20) days to file an objection to such amendment
with the Title III Court. If no such objection is filed, the Disbursing Agent may proceed with
distributions based on such amended List of Creditors without approval of the Title III Court.

        32.5 Non-Accrual of Interest: Unless otherwise specifically provided for herein or by
order of the Title III Court, post-petition interest shall not accrue or be paid on Claims, Allowed
or otherwise, and no holder of a Claim, Allowed or otherwise, shall be entitled to interest
accruing on or after the HTA Petition Date, on any Claim or right. Additionally, and without
limiting the foregoing, interest shall not accrue or be paid on any disputed claim with respect to
the period from the HTA Effective Date to the date a final distribution is made on account of
such Disputed Claim, if and when such Disputed Claim becomes an Allowed Claim.

        32.6 Disallowance of Claims: All Claims of any Entity from which property is sought
by the Debtor under sections 550, or 553 of the Bankruptcy Code or that the Debtor alleges is a
transferee of a transfer that is avoidable under sections 544, 545, 547, 548, or 549 of the
Bankruptcy Code shall be disallowed if: (a) the Entity, on the one hand, and the Debtor, on the

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other hand, agree or the Title III Court has determined by Final Order that such Entity or
transferee is liable to turn over any property or monies under any of the aforementioned sections
of the Bankruptcy Code; and (b) such Entity or transferee has failed to turn over such property
by the date set forth in such agreement or Final Order.

        32.7 Claims Subject to ACR Procedures: To the extent not already transferred as of
the HTA Effective Date in accordance with the terms and conditions of the ACR Order, the
Debtor or Reorganized HTA, as the case may be, shall transfer Claims in accordance with the
terms and conditions of the ACR Order, and, upon transfer, all such Claims shall (a) be
reconciled pursuant to the applicable regulatory and administrative procedures of the Debtor and
Reorganized HTA, as the case may be, (b) be paid in full in the ordinary course of business, and
(c) except as otherwise provided in the HTA Plan, shall not be included in HTA General
Unsecured Claims to be satisfied from the HTA GUC Recovery or Convenience Claims.
Notwithstanding the foregoing, (y) the Oversight Board may remove a claim from the ACR
process in the event that it was improperly transferred into the ACR process because it did not
qualify in accordance with the terms and provisions of the ACR Order, including, without
limitation, bond claims or “child” claims relating to a “parent” class action proofs of claim (in
which case, such claims may be transferred into the appropriate Class under the HTA Plan) and
(z) claims that are eligible to be transferred to or administered through the ACR process and for
which no proof of claim was required to be filed (whether or not a proof of claim was filed) shall
not be transferred into Class 16 or Class 19 under the HTA Plan and shall be administered
through the ACR process, in accordance with the terms of the ACR Order and subsections (a)
and (b) of this Section 32.7.

                                      ARTICLE XXXIII

            IDENTIFICATION OF CLAIMS IMPAIRED BY THE HTA PLAN
                     AND NOT IMPAIRED BY THE HTA PLAN

        33.1 Impaired Classes: The Claims in Classes 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13,
15, 16, 17, and 20 are impaired and receiving distributions pursuant to the HTA Plan, and are
therefore entitled to vote to accept or reject the HTA Plan; provided, however, that, based upon
the elections made on the Ballot/Election Form, Class 19 is deemed to have accepted the HTA
Plan. The Claims in Class 18 are impaired and not receiving a distribution pursuant to the HTA
Plan and, therefore, Class 18 is deemed to have rejected the HTA Plan.

        33.2 Unimpaired HTA Classes: Claims in Class 14 and 19 are unimpaired pursuant
to the HTA Plan, are deemed to have accepted the HTA Plan and are not entitled to vote to
accept or reject the HTA Plan.




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                                      ARTICLE XXXIV

        CONDITIONS PRECEDENT TO CONFIRMATION OF THE HTA PLAN

      34.1 Conditions Precedent to Confirmation of the HTA Plan: Confirmation of the
HTA Plan is subject to satisfaction of the following conditions precedent:

              (a)    Fiscal Plan Certification: The Oversight Board shall have certified an
HTA Fiscal Plan consistent with the HTA Plan and shall have certified the submission of the
HTA Plan, and any modifications to the HTA Plan through the HTA Confirmation Date, in
accordance with Sections 104(j) and 313 of PROMESA.

               (b)     Required Orders: The Clerk of the Title III Court shall have entered an
order or orders (including, without limitation, the Disclosure Statement Order and the HTA
Confirmation Order) providing for the following:

                      (i)     Approving the Disclosure Statement as containing “adequate
information” pursuant to section 1125 of the Bankruptcy Code;

                      (ii)   Authorizing the solicitation of votes and elections with respect to
the HTA Plan;

                     (iii)  Determining that all votes and elections or deemed elections are
binding and have been properly tabulated;

                     (iv)    Confirming and giving effect to the terms and provisions of the
HTA Plan, including the releases set forth in Article XLI of the HTA Plan;

                      (v)    Determining that the compromises and settlements set forth in the
HTA Plan are appropriate, reasonable and approved and authorizing the transactions
contemplated therein;

                     (vi)   Determining that all applicable tests, standards and burdens in
connection with the HTA Plan have been duly satisfied and met by the Oversight Board, the
Debtor and the HTA Plan;

                       (vii) Approving the documents in the Plan Supplement, other than the
Reorganized HTA By-Laws, and determining that such documents are valid and binding on
parties with respect thereto; and

                      (viii) Authorizing Reorganized HTA to execute, enter into, and deliver
the documents in the Plan Supplement, and to execute, implement and take all actions otherwise
necessary or appropriate to give effect to the transactions contemplated by the HTA Plan, and the
documents in the Plan Supplement.

               (c)    Form of Orders: The HTA Confirmation Order and the HTA Plan are
each in form and substance reasonably acceptable to the Oversight Board, AAFAF, the Debtor,


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the HTA/CCDA PSA Creditors and, solely with respect to provisions affecting Classes 16 and
19, the Creditors’ Committee.

                (d)    HTA Confirmation Order: The HTA Confirmation Order includes (i)
determinations that all of the settlements and compromises contained in the HTA Plan satisfy
applicable standards under sections 365, 1123(b)(3) and 1129 of the Bankruptcy Code and
Bankruptcy Rule 9019, to the extent applicable, (ii) the releases, exculpations and injunctions set
forth in Article XLI of the HTA Plan and (iii) the applicable provisions set forth in Section
34.1(b) hereof.

        34.2 Waiver of Conditions Precedent to Confirmation: Subject to the terms and
provisions of the HTA/CCDA Plan Support Agreement and the HTA Committee Agreement,
and to the extent practicable and legally permissible, each of the conditions precedent in Section
34.1 hereof may be waived, in whole or in part, by the Oversight Board, subject to the prior
written consent of the Debtor, and the Initial HTA/CCDA PSA Creditors, and solely with respect
to the provisions affecting Classes 16 and 19, the Creditors’ Committee, which consent shall not
be unreasonably withheld. Any such waiver of a condition precedent may be effected at any
time by filing a notice thereof with the Title III Court executed by the Oversight Board.

                                       ARTICLE XXXV

             CONDITIONS PRECEDENT TO THE HTA EFFECTIVE DATE

        35.1 Conditions Precedent to the HTA Effective Date: The occurrence of the HTA
Effective Date and the substantial consummation of the HTA Plan are subject to satisfaction of
the following conditions precedent:

                (a)     Fiscal Plan Certification: The Oversight Board shall have determined
that the HTA Plan is consistent with the Debtor’s Fiscal Plan and shall have certified the
submission of the HTA Plan, and any modifications to the HTA Plan through the HTA
Confirmation Date, in accordance with Sections 104(j) and 313 of PROMESA. The HTA Fiscal
Plan certified as of the HTA Effective Date shall include provisions for the payment of principal
and interest with respect to the New HTA Bonds and the Subordinated Indebtedness, including,
without limitation, sinking fund payments.

               (b)     Entry of the HTA Confirmation Order: The Clerk of the Title III Court
shall have entered the HTA Confirmation Order in accordance with Section 314 of PROMESA
and section 1129 of the Bankruptcy Code, made applicable to the Title III Case pursuant to
Section 301 of PROMESA, which shall be in form and substance reasonably acceptable to the
Oversight Board, the Initial HTA/CCDA PSA Creditors, and the Creditors’ Committee and the
HTA Confirmation Order shall provide for the following:

                        (i)     Authorize the Debtor and Reorganized HTA, as the case may be,
to take all actions necessary to enter into, implement, and consummate the contracts,
instruments, releases, leases, indentures, and other agreements or documents created in
connection with the HTA Plan;



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                    (ii)   Decree that the provisions of the HTA Confirmation Order and the
HTA Plan are nonseverable and mutually dependent;

                        (iii)  Authorize the Debtor and Reorganized HTA, as the case may be,
to (1) make all distributions and issuances as required under the HTA Plan and (2) enter into any
agreements and transactions, as set forth in the Plan Supplement;

                      (iv)    Authorize the implementation of the HTA Plan in accordance with
its terms;

                       (v)    Determine the New HTA Bonds Indenture, the New HTA Bonds,
the Subordinated Indebtedness, and the covenants by Reorganized HTA, including, without
limitation, the Toll Rate Covenant, for the benefit of the holders of the New HTA Bonds and the
Subordinated Indebtedness, as provided in the New HTA Bonds Indenture, or the HTA
Confirmation Order, as applicable, constitute valid, binding, legal and enforceable obligations of
Reorganized HTA under Puerto Rico, New York and federal law;

                         (vi)   Determine that the New HTA Bonds Indenture, upon issuance of
the Secured Obligations, including, without limitation, the Subordinated Indebtedness issued as a
refinancing of the Commonwealth Loan, grants a first priority lien on and first priority security
interest on all of Reorganized HTA’s legal and equitable right, title and interest in the Trust
Estate to the Secured Obligations, subject only to (1) the terms and provisions of the New HTA
Bonds Indenture establishing the Authority Expense Fund and the Arbitrage Rebate Fund, and
(2) the senior lien and senior security interest granted in the Trust Estate for the benefit of
holders of New HTA Bonds, which first-priority lien and first-priority security interest shall in
all respects be senior and superior to the subordinate lien and subordinate security interest
granted in the Trust Estate for the benefit of holders of Subordinated Indebtedness, in each case,
as permitted by the HTA Enabling Act, and shall be deemed automatically perfected as of the
HTA Effective Date and shall in any event be valid, binding, perfected, and enforceable against
all Entities having claims of any kind in tort, contract or otherwise against Reorganized HTA or
its assets, irrespective of whether such Entities have notice of such lien or security interest,
without any further act or agreement by any Entity, and will be “closed” and shall remain in full
force and effect until the Secured Obligations have been paid or satisfied in full in accordance
with their terms;

                        (vii) Determine the HTA Confirmation Order is full, final, complete,
conclusive and binding upon and shall not be subject to collateral attack or other challenge in any
court or other forum by (1) the Debtor, (2) Reorganized HTA, (3) the Commonwealth and its
instrumentalities, (4) each Entity asserting claims or other rights against HTA, the
Commonwealth, or any other Commonwealth instrumentality, including each holder of a bond
claim and each holder of a beneficial interest (directly or indirectly, as principal, agent,
counterpart, subrogee, insurer or otherwise) in respect of bonds issued by the Debtor or any
Commonwealth agency or with respect to any trustee, any collateral agent, any indenture trustee,
any fiscal agent, and any bank that receives or holds funds related to such bonds, whether or not
such claim or other rights of such Entity are impaired pursuant to the HTA Plan and, if impaired,
whether or not such Entity accepted the HTA Plan, (5) any other Entity, and (6) each of the


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foregoing’s respective heirs, successors, assigns, trustees, executors, administrators, officers,
directors, agents, representatives, attorneys, beneficiaries or guardians;

                      (viii) Provide that the HTA Fiscal Plan, certified as of the HTA Effective
Date, and any post-HTA Effective Date HTA Fiscal Plan include provisions for the payment in
each FY of principal and interest payable on the New HTA Bonds and the Subordinated
Indebtedness, including, without limitation, any sinking fund payments which may become due
in such FY;

                      (ix)   Provide that the automatic stay in any future insolvency
proceeding commenced on behalf of HTA (whether under Title III of PROMESA or otherwise)
shall be deemed waived with respect to Net Receipts held in the funds and accounts established
in accordance with the New HTA Bonds Indenture (other than the Net Receipts on deposit in the
Arbitrage Rebate Fund established pursuant to the New HTA Bonds Indenture;

                      (x)     Determine that, consistent with the HTA Fiscal Plan and
corresponding budget, the discharge of debt to occur as of the HTA Effective Date is necessary
for the Oversight Board to certify that expenditures do not exceed revenues for HTA as
determined in accordance with modified accrual accounting standards;

                       (xi)   Determine that the HTA Plan is consistent with the Debtor’s Fiscal
Plans and satisfies Section 314(b)(7) of PROMESA;

                     (xii) Provide that no party, Person or Entity shall enact, adopt, or
implement any law, rule, regulation, or policy that impedes, financially or otherwise,
consummation and implementation of the transactions contemplated by the HTA Plan;

                       (xiii) Provide that the Government Parties, including, without limitation,
HTA and Reorganized HTA, individually and jointly, as appropriate, shall take any and all
actions necessary to consummate the transactions contemplated by the HTA Plan; and

                     (xiv) Provide that, in consideration for the structuring of payments to be
made to holders of CW/HTA Claims, CW/Convention Center Claims, CW/PRIFA Rum Tax
Claims and CW/MBA Claims, and in accordance with the terms and provisions of Section 6.1(d)
of the HTA/CCDA Plan Support Agreement and the Commonwealth Confirmation Order, the
Commonwealth shall make payments on the HTA Effective Date to Assured and National in the
amounts of Thirty-Nine Million Three Hundred Thousand Dollars ($39,300,000.00) and
Nineteen Million Three Hundred Thousand Dollars ($19,300,000.00), respectively.

               (c)     No Injunction: The HTA Confirmation Order shall not be stayed in any
respect.

                (d)     Authorizations: All (1) authorizations, consents, regulatory approvals,
rulings, or documents, if any, that are necessary to implement and effectuate the HTA Plan, have
been obtained or enacted or entered and not revoked or reversed, and (2) except to the extent
expressly provided herein and not inconsistent with any other provision of the HTA Plan, unless
otherwise permitted or required by PROMESA or similar authority, completion of any other
required legislative or other governmental action required to consummate the HTA Plan.

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               (e)    Execution of Documents; Other Actions: All actions and all contracts,
instruments, settlements, releases and other agreements or documents, including Definitive
Documents, necessary to implement the terms and provisions of the HTA Plan are effected or
executed and delivered, as applicable, and are in full force and effect.

                (f)    Opinions: Usual and customary legal opinions for issuances of the type
similar to the New HTA Bonds by outside counsel to the Debtor covering matters not expressly
addressed in the HTA Confirmation Order, in form and substance reasonably acceptable to the
Initial HTA/CCDA PSA Creditors, have been delivered to the applicable trustee or other parties
regarding the Definitive Documents and the HTA Plan.

                (g)    Lift Stay Motions and Clawback Actions: The clawback funds at issue
in the Lift Stay Motions and the Clawback Actions have been determined by the Title III Court
to constitute property of the Commonwealth.

               (h)   Commonwealth Effective Date: The Commonwealth Effective Date
shall have occurred.

               (i)     HTA Clawback CVI: In accordance with the decretal paragraph 34(f) of
the Commonwealth Confirmation Order, the HTA Clawback CVI shall have been distributed to
the applicable Creditors.

                 (j)    HTA Interim Distribution: In accordance with decretal paragraph 52 of
the Commonwealth Confirmation Order, including, without limitation, the satisfaction of
conditions set forth therein, HTA shall have made interim distributions to holders of HTA 68
Bond Claims, HTA 68 Bond Claims (Ambac), HTA 68 Bond Claims (Assured), HTA 68 Bond
Claims (National), HTA 98 Senior Bond Claims, HTA 98 Senior Bond Claims (Ambac), HTA
98 Senior Bond Claims (Assured), HTA 98 Senior Bond Claims (FGIC) and HTA 98 Senior
Bond Claims (National) in the amounts of One Hundred Eighty-Four Million Eight Hundred
Thousand Dollars ($184,800,000.00) and Seventy-Nine Million Two Hundred Thousand Dollars
($79,200,000.00), respectively, in Cash; provided, however, that, for purposes of this Section
34.1(j), the applicable Monolines shall constitute the holders of the HTA 68 Bond Claims
(Ambac), HTA 68 Bond Claims (Assured), HTA 68 Bond Claims (National), HTA 98 Senior
Bond Claims, HTA 98 Senior Bond Claims (Ambac), HTA 98 Senior Bond Claims (Assured),
and HTA 98 Senior Bond Claims (National) arising from the HTA Bonds insured or owned by
any such Monoline, if any, in accordance with Section 301(c)(3) of PROMESA; and, provided,
further, that, notwithstanding the foregoing, (i) with respect to any HTA 98 Senior Bond Claims
(FGIC) arising from HTA 98 Senior Bonds (or related payment rights) owned by FGIC, HTA
shall have made such distribution to FGIC, and (ii) with respect to any HTA 98 Senior Bond
Claims (FGIC) arising from HTA 98 Senior Bonds insured, but not owned, by FGIC, HTA shall
have made such interim distribution to the beneficial owners of such HTA 98 Senior Bonds.

        35.2 Waiver of Conditions Precedent: Subject to the provisions of the HTA/CCDA
Plan Support Agreement, the Oversight Board may waive any of the conditions to the HTA
Effective Date set forth in Section 35.1 hereof at any time without any notice to any other parties
in interest, other than the HTA/CCDA PSA Creditors, the Creditors’ Committee and the
Government Parties, and without any further notice to or action, order, or approval of the Title

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III Court, and without any formal action other than proceeding to confirm and consummate the
HTA Plan; provided, however, that, subject to the terms and provisions of the HTA Committee
Agreement, each of the conditions precedent in Section 35.1 hereof with respect to the provisions
affecting Classes 16 and 19, may be waived, in whole or in part, by the Oversight Board subject
to the prior written consent of the Creditors’ Committee, which consent shall not be
unreasonably withheld.

        35.3 Effect of Non-Occurrence of Conditions to HTA Effective Date: If prior to the
HTA Effective Date, the HTA Confirmation Order is vacated pursuant to a Final Order, then,
except as provided in a Final Order vacating the HTA Confirmation Order, the HTA Plan will be
null and void in all respects, and nothing contained in the HTA Plan or Disclosure Statement
shall: (a) constitute a waiver or release of any Claims, or Causes of Action; (b) prejudice in any
manner the rights of the Debtor, the Oversight Board, the Creditors’ Committee, or any other
Entity; or (c) constitute an admission, acknowledgment, offer, or undertaking of any sort by the
Debtor, the Oversight Board, the Creditor’s Committee, or any other Entity.

                                       ARTICLE XXXVI

      MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE HTA PLAN

       36.1 Modification of HTA Plan: Subject to (a) Sections 104(j) and 313 of
PROMESA and sections 942 and 1127(d) of the Bankruptcy Code, applicable to the Title III
Case pursuant to Section 301 of PROMESA, and (b) the terms and provisions of the
HTA/CCDA Plan Support Agreement and the HTA Committee Agreement, the Oversight Board
may alter, amend or modify the HTA Plan or the Exhibits at any time prior to or after the HTA
Confirmation Date but prior to the HTA Effective Date. A holder of a Claim that has accepted
the HTA Plan shall be deemed to have accepted the HTA Plan as altered, amended or modified
so long as the proposed alteration, amendment or modification does not materially and adversely
change the treatment of the Claim of such Holder.

       36.2    Revocation or Withdrawal:

               (a)   Subject to the terms and provisions of the HTA/CCDA Plan Support
Agreement and the HTA Committee Agreement, the HTA Plan may be revoked or withdrawn
prior to the HTA Confirmation Date by the Oversight Board.

                (b)    If the HTA Plan is revoked or withdrawn prior to the HTA Confirmation
Date, or if the HTA Plan does not become effective for any reason whatsoever, then the HTA
Plan shall be deemed null and void. In such event, nothing contained herein shall be deemed to
constitute a waiver or release of any claim by the Debtor or any other Entity, or to prejudice in
any manner the rights of the Debtor or any other Entity in any further proceeding involving the
Debtor.

        36.3 Amendment of Plan Documents: From and after the HTA Effective Date, the
authority to amend, modify, or supplement the Plan Supplement, the Exhibits to the Plan
Supplement and the Exhibits to the HTA Plan, and any document attached to any of the



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foregoing, shall be as provided in such Plan Supplement, Exhibit to the Plan Supplement, or
Exhibit to the HTA Plan and their respective attachments, as the case may be.

       36.4    No Admission of Liability:

               (a)      The submission of this HTA Plan is not intended to be, nor shall it be
construed as, an admission or evidence in any pending or subsequent suit, action, proceeding or
dispute of any liability, wrongdoing, or obligation whatsoever (including as to the merits of any
claim or defense) by any Entity with respect to any of the matters addressed in this HTA Plan.

                  (b)    None of this HTA Plan (including, without limitation, the Exhibits hereto),
or any settlement entered, act performed or document executed in connection with this HTA
Plan: (i) is or may be deemed to be or may be used as an admission or evidence of the validity of
any claim, or any allegation made in any of the Related Actions or of any wrongdoing or liability
of any Entity; (ii) is or may be deemed to be or may be used as an admission or evidence of any
liability, fault or omission of any Entity in any civil, criminal or administrative proceeding in any
court, administrative agency or other tribunal; (iii) is or may be deemed to be or used as an
admission or evidence against Reorganized HTA, the Debtor, or any other Entity with respect to
the validity of any Claim. None of this HTA Plan or any settlement entered, act performed or
document executed in connection with this HTA Plan shall be admissible in any proceeding for
any purposes, except to carry out the terms of this HTA Plan or enforce any such agreement, and
except that, once confirmed, any Entity may file this HTA Plan in any action for any purpose,
including, but not limited to, in order to support a defense or counterclaim based on the
principles of res judicata, collateral estoppel, release, good faith settlement, judgment bar or
reduction or any other theory of claim preclusion or issue preclusion or similar defense of
counterclaim.

                                       ARTICLE XXXVII

                           CORPORATE GOVERNANCE AND
                         MANAGEMENT OF REORGANIZED HTA

        37.1 Corporate Action: On the HTA Effective Date, all matters provided for under
the HTA Plan that would otherwise require approval of the directors of the Debtor or
Reorganized HTA, including, without limitation, to the extent applicable, the authorization to
issue or cause to be issued the New HTA Bonds, the authorization to enter into the Definitive
Documents, the adoption of Reorganized HTA By-Laws, and the election or appointment, as the
case may be, of directors and officers of Reorganized HTA pursuant to the HTA Plan, as
applicable, shall be authorized and approved in all respects, in each case, in accordance with the
New HTA Bonds Indenture, and the new corporate governance documents, as applicable, and
without further action by any Entity under any other applicable law, regulation, order, or rule.
Other matters provided under the HTA Plan involving the corporate structure of Reorganized
HTA or corporate action by Reorganized HTA, as applicable, shall be deemed to have occurred,
be authorized, and shall be in effect in accordance with the New HTA Bonds Indenture, and the
new corporate governance documents, as applicable, and without requiring further action by any
Entity under any other applicable law, regulation, order, or rule. Without limiting the foregoing,
from and after the HTA Confirmation Date, the Debtor and Reorganized HTA shall take any and

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all actions deemed appropriate in order to consummate the transactions contemplated herein in
accordance with the New HTA Bonds Indenture, and the new corporate governance documents,
as applicable.

        37.2 Amendment of By-Laws: The by-laws of Reorganized HTA shall be amended
as of the HTA Effective Date to provide substantially as set forth in Reorganized HTA By-Laws.

        37.3 Directors of Reorganized HTA: On the HTA Effective Date, and pursuant to
the terms and provisions of Section 36.2 hereof, the Reorganized HTA By-Laws shall provide
that the board of directors of Reorganized HTA shall be appointed consistent with the terms and
provisions of the HTA Enabling Act. The initial directors shall be disclosed prior to the HTA
Confirmation Hearing. In the event that, during the period from the HTA Confirmation Hearing
up to and including the HTA Effective Date, circumstances require the substitution of one (1) or
more persons selected to serve on the board of directors of Reorganized HTA, the Governor of
the Commonwealth, upon consultation with the Oversight Board, shall choose a substitute
consistent with the independence and qualification standards set forth above and the Debtor shall
file a notice thereof with the Title III Court and, for purposes of section 1129 of the Bankruptcy
Code, any such replacement person, designated in accordance with the requirements of the
immediately preceding sentence, shall be deemed to have been selected and disclosed prior to the
HTA Confirmation Hearing. The Reorganized HTA amended corporate governance documents
shall provide that all board members shall owe a fiduciary duty to Reorganized HTA as
consistent with Puerto Rico law and its Constitution.

       37.4 Officers of Reorganized HTA: To the extent applicable, the board of directors
of Reorganized HTA shall elect officers of Reorganized HTA as of or after the HTA Effective
Date.

                                      ARTICLE XXXVIII

                 PROVISIONS REGARDING OVERSIGHT BOARD AND
                         COMPLIANCE WITH PROMESA

         38.1 Effect of Confirmation: Nothing in this HTA Plan or the HTA Confirmation
Order shall discharge, substitute, alter or otherwise modify the powers and responsibilities of the
Oversight Board pursuant to PROMESA or the obligations of Reorganized HTA under
PROMESA. From and after the HTA Effective Date, Reorganized HTA shall continue to have
all of their obligations pursuant to PROMESA, including, without limitation, the terms and
conditions of Titles I and II thereof.

       38.2 Ongoing Role of the Oversight Board: Nothing in the HTA Plan or the HTA
Confirmation Order shall discharge any or all obligations of the Debtor under PROMESA and,
from and after the HTA Effective Date, the Oversight Board’s powers and responsibilities under
PROMESA shall continue, and the Debtor’s duties and obligations shall continue and be
unaffected by the HTA Plan and the consummation thereof.

       38.3 Preemption of Laws: As of the HTA Effective Date, and to the extent not
previously preempted pursuant to an order of the Title III Court, provisions of Commonwealth


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laws that affect the Debtor or Reorganized HTA and are inconsistent with PROMESA shall be
preempted for the reasons, and to the extent, set forth in Exhibit “A” to the Findings of Fact and
Conclusions of Law, such preempted laws, rules and regulations include, without limitation, (a)
pursuant to Section 4 of PROMESA, all laws, rules, and regulations (or such portions thereof) of
the Commonwealth of Puerto Rico to the extent they give rise to obligations of the Debtor
discharged by the HTA Plan and the HTA Confirmation Order pursuant to PROMESA, and such
discharge shall prevail over any general or specific provisions of territory laws, rules, and
regulations, and (b) laws enacted prior to June 30, 2016, to the extent they provide for transfers
or other appropriations after the enactment of PROMESA, including transfers from the Debtor or
Reorganized HTA to the Commonwealth or any agency or instrumentality, whether to enable
such agency or instrumentality to pay or satisfy indebtedness or for any other purpose, are
preempted to the extent inconsistent with the HTA Plan’s discharge of the Debtor’s obligations
and all such laws shall not be enforceable to the extent they are inconsistent with the HTA Plan’s
discharge of the Debtor’s obligations or any of the transactions contemplated by the HTA Plan.
Without in any way limiting the foregoing, (y) the Commonwealth laws preempted by
PROMESA that affect the Debtor include, without limitation, those listed on Exhibit “F” hereto
for the reasons and to the extent set forth in Exhibit “A” to the Findings of Fact and Conclusions
of Law, and (z) all litigation in which any Government Party is a defendant, over whether
Commonwealth law listed on Exhibit “F” hereto is preempted by PROMESA shall be dismissed,
with prejudice, as of the HTA Effective Date and the parties thereto shall provide the Oversight
Board prompt notice of such dismissal. For the avoidance of doubt, the non-inclusion of a
payment obligation arising from a valid law in a certified Fiscal Plan or HTA budget is not a
basis for disallowance of such obligation to the extent the claim arising therefrom otherwise
satisfies the requirements for allowance of a claim under the relevant provisions of the
Bankruptcy Code.

                                       ARTICLE XXXIX

                PROVISIONS REGARDING CREDITORS’ COMMITTEE

         39.1 Dissolution of Creditors’ Committee: On the HTA Effective Date, the
Creditors’ Committee shall be (a) dissolved and be deemed to have satisfied all of its respective
duties and obligations, and (b) released and discharged from any action or activity taken, or
required to be taken, in connection with the Title III Case; provided, however, that (x) in the
event that an appeal of the HTA Confirmation Order is taken, the Creditors’ Committee shall not
be dissolved until the HTA Confirmation Order becomes a Final Order, (y) the Creditors’
Committee shall not be dissolved with respect to its duties and obligations in connection with
PREPA’s Title III case, and (z) the Creditors’ Committee shall be entitled to defend applications
for allowance of compensation and reimbursement of expenses of their respective professionals.
To the extent that, as of the date immediately prior to the HTA Effective Date, the Creditors’
Committee was a party to a contested matter or adversary proceeding in connection with the
Title III Case, including, without limitation, the Debt Related Objections, the Invalidity Actions,
the Lien Challenge Actions, the Appointments Clause Litigation, the Uniformity Litigation, the
Clawback Actions, the Lift Stay Motions, and any objection to claim, from and after the HTA
Effective Date and to the extent not already a party thereto, Reorganized HTA shall be deemed
to have assumed such role and responsibility in connection with such contested matter and, upon


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such assumption, the Creditors’ Committee shall be relieved of any role, responsibility or
obligation with respect thereto.

                                          ARTICLE XL

                              RETENTION OF JURISDICTION

        40.1 Retention of Jurisdiction: The Title III Court shall retain and have exclusive
jurisdiction over any matter arising under PROMESA, arising in or related to, the Title III Case
and the HTA Plan, or that relates to the following:

                (a)    to allow, disallow, determine, liquidate, classify, estimate, or establish the
priority, secured or unsecured status, or amount of any Claim not compromised or settled hereby,
including, without limitation, the resolution of any request for payment of any Claim and the
resolution of any and all objections to the secured or unsecured status, priority, amount, or
allowance of Claims not compromised or settled hereby;

               (b)     to resolve any matters related to Executory Contracts or Unexpired
Leases, including, without limitation, (a) the assumption or assumption and assignment of any
Executory Contract or Unexpired Lease to which the Debtor is a party or with respect to which
the Debtor may be liable and to hear, determine, and, if necessary, liquidate, any Claims arising
therefrom, including pursuant to section 365 of the Bankruptcy Code; (b) any potential
contractual obligation under any Executory Contract or Unexpired Lease that is assumed or
assumed and assigned; and (c) any dispute regarding whether a contract or lease is or was
executory or expired;

                 (c)    to ensure that distributions to holders of Allowed Claims are accomplished
pursuant to the provisions of the HTA Plan and adjudicate any and all disputes arising from or
relating to distributions under the HTA Plan;

                (d)    to adjudicate, decide, or resolve any motions, adversary proceedings,
contested or litigated matters, and any other matters, and grant or deny any applications
involving the Debtor or Reorganized HTA that may be pending on the HTA Effective Date or
brought thereafter;

                 (e)   to decide and resolve all matters related to the granting and denying, in
whole or in part, any applications for allowance of compensation or reimbursement of expenses
to Professionals authorized pursuant to PROMESA, the HTA Plan or orders entered by the
Title III Court;

                (f)     to enter and implement such orders as may be necessary or appropriate to
execute, implement, consummate or enforce the provisions of (i) contracts, instruments, releases,
indentures, and other agreements or documents approved by Final Order in the Title III Case,
solely to the extent that any such document does not provide for another court or courts to have
exclusive jurisdiction, and (ii) the HTA Plan, the HTA Confirmation Order, the Definitive
Documents and any other contracts, instruments, securities, releases, indentures, and other



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agreements or documents created in connection with the HTA Plan, solely to the extent that any
such document does not provide for another court or courts to have exclusive jurisdiction;

               (g)      to resolve any cases, controversies, suits, disputes or other challenges of
any kind that may arise in connection with the consummation, interpretation or enforcement of
the HTA Plan, the HTA Confirmation Order, the Definitive Documents or any other contract,
instrument, security, release or other agreement or document that is entered into or delivered
pursuant to the HTA Plan or any Entity’s rights arising from or obligations incurred in
connection with the HTA Plan or such documents, solely to the extent that any such document
does not provide for another court or courts to have exclusive jurisdiction;

                (h)    to approve any modification of the HTA Plan or approve any modification
of the HTA Confirmation Order or any contract, instrument, security, release or other agreement
or document created in connection with the HTA Plan or the HTA Confirmation Order, or
remedy any defect or omission or reconcile any inconsistency in any order, the HTA Plan, the
HTA Confirmation Order or any contract, instrument, security, release or other agreement or
document created in connection with the HTA Plan or the HTA Confirmation Order, or enter any
order in aid of confirmation pursuant to sections 945 and 1142(b) of the Bankruptcy Code, in
such manner as may be necessary or appropriate to consummate the HTA Plan;

              (i)    to adjudicate, decide or resolve any matters relating to the Debtor’s
compliance with the HTA Plan and the HTA Confirmation Order consistent with section 945 of
the Bankruptcy Code;

                (j)    to determine any other matters that may arise in connection with or relate
to the HTA Plan, the Disclosure Statement, the HTA Confirmation Order, Definitive Documents,
or any contract, instrument, security, release or other agreement or document created, entered
into or delivered in connection with the HTA Plan, the Disclosure Statement or the HTA
Confirmation Order, in each case, solely to the extent that any such document does not provide
for another court or courts to have exclusive jurisdiction;

               (k)    to enter and implement other orders, or take such other actions as may be
necessary or appropriate to enforce or restrain interference by any Entity with consummation or
enforcement of the HTA Plan or the HTA Confirmation Order, including, without limitation, the
provisions of Sections 41.2 and 41.3 hereof;

               (l)     to adjudicate any and all controversies, suits or issues that may arise
regarding the validity of any actions taken by any Entity pursuant to or in furtherance of the
HTA Plan or HTA Confirmation Order, including, without limitation, issuance of the New HTA
Bonds and enter any necessary or appropriate orders or relief in connection with such
adjudication;

            (m)    to enter and implement such orders as are necessary or appropriate if the
HTA Confirmation Order is for any reason modified, stayed, reversed, revoked, or vacated;

               (n)    to enter an order or final decree concluding or closing the Title III Case
pursuant to section 945(b) of the Bankruptcy Code;


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              (o)     to resolve disputes that may arise between the Oversight Board or
AAFAF, as the case may be, and the two (2) Creditors’ Committee appointees to the Avoidance
Actions Trust Board in accordance with the provisions of Section 32.1(b) of the HTA Plan;

                 (p)    to enforce and clarify any orders previously entered by the Title III Court
in the Title III Case; and

              (q)    to hear any other matter over which the Title III Court has jurisdiction
under Sections 305 and 306 of PROMESA.

                                         ARTICLE XLI

                              MISCELLANEOUS PROVISIONS

        41.1 Title to Assets: Except as provided in the HTA Confirmation Order, on the HTA
Effective Date, title to all Assets and properties of the Debtor encompassed by the HTA Plan
shall vest in Reorganized HTA, free and clear of all Liens, including, without limitation, any
Lien upon or security interest in the SIB Account, but expressly excluding Liens granted
pursuant to the HTA Plan and the HTA Confirmation Order.

       41.2    Discharge and Release of Claims and Causes of Action:

                (a)     Except as expressly provided in the HTA Plan or the HTA Confirmation
Order, all distributions and rights afforded under the HTA Plan shall be, and shall be deemed to
be, in exchange for, and in complete satisfaction, settlement, discharge and release of, all Claims
or Causes of Action against the Debtor and Reorganized HTA that arose, in whole or in part,
prior to the HTA Effective Date, relating to the Title III Case, the Debtor or Reorganized HTA or
any of their respective Assets, property, or interests of any nature whatsoever, including any
interest accrued on such Claims from and after the HTA Petition Date, and regardless of whether
any property will have been distributed or retained pursuant to the HTA Plan on account of such
Claims or Causes of Action; provided, however, that, without prejudice to the exculpation rights
set forth in Section 41.7 hereof, nothing contained in the HTA Plan or the HTA Confirmation
Order is intended, nor shall it be construed, to be a grant of a non-consensual third party release
of the HTA/CCDA PSA Creditors and their respective Related Persons by Creditors of the
Debtor. Upon the HTA Effective Date, the Debtor and Reorganized HTA shall be deemed
discharged and released from any and all Claims, Causes of Action and any other debts that
arose, in whole or in part, prior to the HTA Effective Date, and Claims of the kind specified in
sections 502(g), 502(h) or 502(i) of the Bankruptcy Code and PROMESA Section 407, whether
or not (a) a proof of claim based upon such Claim is filed or deemed filed under section 501 of
the Bankruptcy Code, (b) such Claim is allowed under section 502 of the Bankruptcy Code and
PROMESA Section 407 (or is otherwise resolved), or (c) the holder of a Claim based upon such
debt voted to accept the HTA Plan. For the avoidance of doubt, nothing contained herein or in
the HTA Confirmation Order shall release, discharge or enjoin any claims or causes of action
against PREPA arising from or related to PREPA-issued bonds, including, without limitation,
Monoline-issued insurance pertaining thereto, and PREPA is not releasing any claims or causes
of action against any non-Debtor Entity. Claims and causes of action against PREPA arising
from or related to PREPA-issued bonds, and releases against PREPA and its assets shall be

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addressed in PREPA’s Title III case, including, without limitation, any plan of adjustment
therein.

                 (b)    Except as expressly provided in the HTA Plan or the HTA Confirmation
Order, all Entities shall be precluded from asserting any and all Claims against the Debtor and
Reorganized HTA, and each of their respective Assets, property and rights, remedies, Claims or
Causes of Action or liabilities of any nature whatsoever, relating to the Title III Case, the Debtor
or Reorganized HTA or any of their respective Assets and property, including any interest
accrued on such Claims from and after the HTA Petition Date, and regardless of whether any
property will have been distributed or retained pursuant to the HTA Plan on account of such
Claims or other obligations, suits, judgments, damages, debts, rights, remedies, causes of action
or liabilities. In accordance with the foregoing, except as expressly provided in the HTA Plan or
the HTA Confirmation Order, the HTA Confirmation Order shall constitute a judicial
determination, as of the HTA Effective Date, of the discharge and release of all such Claims,
Causes of Action or debt of or against the Debtor and Reorganized HTA pursuant to sections 524
and 944 of the Bankruptcy Code, applicable to the Title III Case pursuant to Section 301 of
PROMESA, and such discharge shall void and extinguish any judgment obtained against the
Debtor or Reorganized HTA and their respective Assets, and property at any time, to the extent
such judgment is related to a discharged Claim, debt or liability. As of the HTA Effective Date,
and in consideration for the value provided under the HTA Plan, each holder of a Claim in any
Class under this HTA Plan shall be and hereby is deemed to release and forever waive and
discharge as against the Debtor and Reorganized HTA, and their respective Assets and property
and all such Claims.

                (c)     Notwithstanding any other provisions of this Section 41.2, in accordance
with the provisions of the HTA/CCDA Plan Support Agreement, each of the HTA/CCDA PSA
Creditors and their respective Related Persons, solely in their capacity as HTA/CCDA PSA
Creditors of the Debtor, shall (i) be deemed to have released and covenanted not to sue or
otherwise pursue or seek to recover damages or to seek any other type of relief against any of the
Government Releasees based upon, arising from or relating to the Government Released Claims
or any of the Claims or Causes of Action asserted or which could have been asserted, including,
without limitation, in the Clawback Actions and the Lift Stay Motions, and (ii) not directly or
indirectly aid any person in taking any action with respect to the Government Released Claims
that is prohibited by this Section 41.2.

                 (d)    SEC Limitation. Notwithstanding anything contained herein or in the
HTA Confirmation Order to the contrary, no provision shall (i) preclude the SEC from enforcing
its police or regulatory powers, or (ii) enjoin, limit, impair or delay the SEC from commencing
or continuing any claims, causes of action, proceedings or investigations against any non-debtor
person or non-debtor entity in any forum.

               (e)    United States Limitation. Notwithstanding anything contained herein or in
the HTA Confirmation Order to the contrary, no provision shall (i) impair the United States, its
agencies, departments, or agents, or in any manner relieve the Debtor or Reorganized HTA, as
the case may be, from compliance with federal laws or territorial laws and requirements
implementing a federally authorized or federally delegated program protecting the health, safety,
and environment of persons in such territory, (ii) expand the scope of any discharge, release, or

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injunction to which the Debtor or Reorganized HTA are entitled under Title III, and (iii)
discharge, release, enjoin, or otherwise bar (A) any liability of the Debtor or Reorganized HTA
to the United States arising from and after the HTA Effective Date, (B) any liability to the United
States that is not a Claim, (C) any affirmative defense or any right of setoff or recoupment of the
United States, the Debtor or Reorganized HTA, as the case may be, and such rights of setoff and
recoupment of such parties are expressly preserved, (D) the continued validity of the obligations
of the United States, the Debtor or Reorganized HTA, as the case may be, under any United
States grant or cooperative assistance agreement, (E) the Debtor’s or Reorganized HTA’s
obligations arising under federal police or regulatory laws, including, but not limited to, laws
relating to the environment, public health or safety, or territorial laws implementing such federal
legal provisions, including, but not limited to, compliance obligations, requirements under
consent decrees or judicial orders, and obligations to pay associated administrative, civil, or other
penalties, and (F) any liability to the United States on the part of any non-debtor. Without
limiting the foregoing, nothing contained herein or in the HTA Confirmation Order shall be
deemed (i) to determine the tax liability of any Entity, including, but not limited to, the Debtor
and Reorganized HTA, (ii) to be binding on the IRS with regard to the federal tax liabilities, tax
status, or tax filing and withholding obligations of any entity, including, but not limited to, the
Debtor and Reorganized HTA, (iii) to release, satisfy, discharge, or enjoin the collection of any
claim of the IRS against any Entity other than the Debtor and Reorganized HTA, and (iv) to
grant any relief to any Entity that the Court is prohibited from granting the Declaratory Judgment
Act, 28 U.S.C. § 2201(a), or the Tax Anti-Injunction Act, 26 U.S.C. § 7421(a).

                (f)     Underwriter Actions. Notwithstanding anything contained herein or in the
HTA Confirmation Order to the contrary, including, without limitation, Sections 41.2, 41.3 and
41.11 of the HTA Plan, except as may be precluded pursuant to the provisions of PROMESA,
nothing in the HTA Plan, the HTA Confirmation Order or any HTA Plan-related document set
forth in the Plan Supplement is intended, nor shall it be construed, to impair, alter, modify,
diminish, prohibit, bar, restrain, enjoin, release, reduce, eliminate or limit the rights of the
plaintiffs and defendants, including, without limitation, the parties to the Underwriter Actions,
from asserting their respective rights, claims, causes of action and defenses in the Underwriter
Actions, including, but not limited to, any Claims, defenses, Causes of Action, and rights of
setoff or recoupment (to the extent available), or any rights to allocate responsibility or liability
or any other basis for the reduction of (or credit against) any judgment in connection with the
Underwriter Actions (collectively, the “Defensive Rights”); provided, however, that, for the
avoidance of doubt, in no event shall any Defensive Rights be used to obtain or result in the
affirmative payment of money or the affirmative delivery of property to any plaintiff, defendant
and, to the extent named, third party defendant by the Debtor, Reorganized HTA, PREPA, the
Commonwealth, or any other agency or instrumentality of the Commonwealth in connection
with an Underwriter Action; and, provided, further, that no party in the Underwriter Actions,
including, without limitation, plaintiffs, defendants, and, to the extent named third-party
defendants, shall be permitted to assert: (i) against the Debtor or Reorganized HTA any Claim or
Cause of Action for purposes of obtaining an affirmative monetary recovery that otherwise is
barred or discharged pursuant to the Bar Date Orders, the HTA Plan, and/or the HTA
Confirmation Order; and/or (ii) against the Debtor, Reorganized HTA, PREPA, the
Commonwealth, or any other agency or instrumentality of the Commonwealth any Claims or
counterclaims for purposes of obtaining an affirmative monetary recovery, including, without


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limitation, for indemnification, contribution, reimbursement, set-off or similar theories, to the
extent asserted for purposes of obtaining an affirmative monetary recovery, which Claims or
counterclaims shall be deemed disallowed, barred, released and discharged in accordance with
the terms and provision of the HTA Plan and the HTA Confirmation Order; and, provided,
further, that nothing herein or in the HTA Confirmation Order is intended, nor shall it be
construed, to prohibit, preclude, bar, modify, or limit in any way the ability of any defendant in
any Underwriter Action to assert Defensive Rights for the purpose of reducing, eliminating, or
limiting the amount of any liability or judgment in any Underwriter Action. The parties in the
Underwriter Actions shall be permanently barred, enjoined, and restrained from commencing,
prosecuting, or asserting, against the Debtor, Reorganized HTA, PREPA, the Commonwealth, or
any other agency or instrumentality of the Commonwealth any Claims or counterclaims for
purposes of obtaining an affirmative monetary recovery, including, without limitation,
indemnification, contribution, reimbursement, set-off or similar theories, to the extent asserted
for purposes of obtaining an affirmative monetary recovery based upon, arising from or related
to the Underwriter Actions, whether or not such Claim or counterclaim is or can be asserted in a
court, an arbitration, an administrative agency or forum, or in any other manner.

        41.3 Injunction on Claims: Except as otherwise expressly provided in the HTA Plan,
the HTA Confirmation Order or such other Final Order of the Title III Court that may be
applicable, all Entities who have held, hold or may hold Claims or any other debt or liability that
is discharged or released pursuant to Section 41.2 hereof or who have held, hold or may hold
Claims or any other debt or liability that is discharged or released pursuant to Section 41.2 hereof
are permanently enjoined, from and after the HTA Effective Date, from (a) commencing or
continuing, directly or indirectly, in any manner, any action or other proceeding (including,
without limitation, any judicial, arbitral, administrative or other proceeding) of any kind on any
such Claim or other debt or liability that is discharged pursuant to the HTA Plan against any of
the Released Parties or any of their respective assets or property, (b) the enforcement,
attachment, collection or recovery by any manner or means of any judgment, award, decree or
order against any of the Released Parties or any of their respective assets or property on account
of any Claim or other debt or liability that is discharged pursuant to the HTA Plan, (c) creating,
perfecting, or enforcing any encumbrance of any kind against any of the Released Parties or any
of their respective assets or property on account of any Claim or other debt or liability that is
discharged pursuant to the HTA Plan, and (d) except to the extent provided, permitted or
preserved by sections 553, 555, 556, 559, or 560 of the Bankruptcy Code or pursuant to the
common law right of recoupment, asserting any right of setoff, subrogation or recoupment of any
kind against any obligation due from any of the Released Parties or any of their respective assets
or property, with respect to any such Claim or other debt or liability that is discharged pursuant
to the HTA Plan. Such injunction shall extend to all successors and assigns of the Released
Parties and their respective assets and property.

       41.4 Integral to HTA Plan: Each of the discharge, injunction, exculpation and release
provisions provided in this Article XLI is an integral part of the HTA Plan and is essential to its
implementation. Each of the Released Parties shall have the right to independently seek the
enforcement of the discharge, injunction and release provisions set forth in this Article XLI.

       41.5 Releases by the Debtor and Reorganized HTA: Except as otherwise expressly
provided in the HTA Plan or the HTA Confirmation Order, on the HTA Effective Date, and for

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good and valuable consideration, each of the Debtor and Reorganized HTA, the Disbursing
Agent and each of the Debtor’s and Reorganized HTA’s Related Persons shall be deemed to
have and hereby does irrevocably and unconditionally, fully, finally and forever waive, release,
acquit, and discharge the Released Parties from any and all Claims or Causes of Action that the
Debtor, Reorganized HTA, and the Disbursing Agent, or any of them, or anyone claiming
through them, on their behalf or for their benefit, have or may have or claim to have, now or in
the future, against any Released Party that are Released Claims.

        41.6 Injunction Related to Releases: As of the HTA Effective Date, all Entities that
hold, have held, or may hold a Released Claim that is released pursuant to Section 41.2 of the
HTA Plan, are, and shall be, permanently, forever and completely stayed, restrained, prohibited,
barred and enjoined from taking any of the following actions, whether directly or indirectly,
derivatively or otherwise, on account of or based on the subject matter of such discharged
Released Claims: (i) commencing, conducting or continuing in any manner, directly or
indirectly, any suit, action or other proceeding (including, without limitation, any judicial,
arbitral, administrative or other proceeding) in any forum; (ii) enforcing, attaching (including,
without limitation any prejudgment attachment), collecting, or in any way seeking to recover any
judgment, award, decree, or other order; (iii) creating, perfecting or in any way enforcing in any
matter, directly or indirectly, any Lien; (iv) setting off, seeking reimbursement or contributions
from, or subrogation against, or otherwise recouping in any manner, directly or indirectly, any
amount against any liability or obligation owed to any Entity released under Section 41.2 hereof;
and (v) commencing or continuing in any manner, in any place or any judicial, arbitration or
administrative proceeding in any forum, that does not comply with or is inconsistent with the
provisions of the HTA Plan or the HTA Confirmation Order. For the avoidance of doubt, the
following stipulations will terminate upon the entry of the HTA Confirmation Order: (i) the
Fourth Amended Stipulation Between the Commonwealth of Puerto Rico and the Puerto Rico
Highways and Transpiration Authority Regarding the Tolling of Statute of Limitations and
Consent Order [Case No. 173283-LTS, ECF No. 15854], as amended; and (ii) the Fourth
Amended Stipulation and Consent Order Between Title III Debtors (Other Than COFINA) and
the Puerto Rico Fiscal Agency and Financial Advisory Authority Acting on Behalf of the
Governmental Entities Listed on Appendix “B” Regarding the Tolling of Statute of Limitations
[Case No. 17-3283-LTS, ECF No. 17394], as amended.

       41.7    Exculpation:

                (a)    Government Parties: The Oversight Board, AAFAF, the Debtor, and
each of their respective Related Persons, solely acting in its capacity as such at any time up to
and including the HTA Effective Date, shall not have or incur any liability to any Entity for any
act taken or omitted to be taken in connection with the Title III Case, the formulation,
preparation, dissemination, implementation, confirmation or approval of the HTA Plan or any
compromises or settlements contained therein, the Disclosure Statement, or any contract,
instrument, release or other agreement or document provided for or contemplated in connection
with the consummation of the transactions set forth in the HTA Plan; provided, however, that the
foregoing provisions of this Section 41.7 shall not affect the liability of any Entity that otherwise
would result from any such act or omission to the extent that such act or omission is determined
in a Final Order to have constituted intentional fraud or willful misconduct. Nothing in the
foregoing provisions of this Section 41.7 shall prejudice the right of any of the Government

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Parties, and the Government Parties’ officers and directors serving at any time up to and
including the HTA Effective Date, and each of their respective professionals to assert reliance
upon advice of counsel as a defense with respect to their duties and responsibilities under the
HTA Plan.

                 (b)    HTA/CCDA PSA Creditors: Each of the HTA/CCDA PSA Creditors
solely in its capacity as a party to HTA/CCDA Plan Support Agreement and a Creditor and/or
insurer, as applicable, from the HTA Petition Date up to and including the HTA Effective Date
and each of their respective Related Persons shall not have or incur any liability to any Entity for
any act taken or omitted to be taken in connection with the Title III Case, mediation, the
negotiation, formation, preparation, dissemination, implementation, confirmation or approval of
the HTA Plan or any compromises or settlements contained therein, the Disclosure Statement,
the HTA/CCDA Plan Support Agreement, the Definitive Documents, or any other contract,
instrument, release or other agreement or document provided for or contemplated in connection
with the consummation of the transactions set forth in the HTA Plan; provided, however, that the
foregoing provisions of this Section 41.7(b) shall not affect the liability of any Entity that
otherwise would result from any such act or omission to the extent that such act or omission is
determined in a Final Order to have constituted intentional fraud or willful misconduct.

                (c)     Monoline Insurers: Ambac, Assured, FGIC, National, and their
respective Related Persons shall not have or incur any liability to any Entity for any act taken or
omitted to be taken consistent with the HTA Plan or in connection with the formulation,
preparation, dissemination, implementation, acceptance, confirmation or approval of the HTA
Plan, including, without limitation, in connection with the treatment of Ambac Insured Bond
Claims, Assured Insured Bond Claims, FGIC Insured Bond Claims, or National Insured Bond
Claims, the voting procedures, the election procedures, and any release of obligations under the
applicable Ambac Insurance Policies, Assured Insurance Policies, FGIC Insurance Policies, or
National Insurance Policies provided, however, that, notwithstanding anything contained herein
to the contrary, the terms and provisions of the HTA Plan shall not, and shall not be construed to,
release or exculpate, any payment obligation under the applicable Ambac Insurance Policy,
Assured Insurance Policy, FGIC Insurance Policy, or National Insurance Policy, to any
beneficial holder of Ambac Insured Bonds, Assured Insured Bonds, FGIC Insured Bonds or
National Insured Bonds, as applicable, in accordance with its terms solely to the extent of any
failure of such holder to receive the Ambac Treatment, Assured Treatment, FGIC Treatment, or
National Treatment, as applicable (or any claims that Ambac, Assured, FGIC, or National, may
have against a beneficial holder of respective insured bonds with respect to Ambac’s, Assured’s,
FGIC’s, or National’s applicable obligations under the Ambac Insurance Policies, Assured
Insurance Policies, FGIC Insurance Policies or National Insurance Policies, as applicable).

               (d)     Creditors’ Committee: Each of the members of the Creditors’
Committee, solely in its capacity as a member of the Creditors’ Committee, and the Creditors’
Committee, from the HTA Petition Date up to and including the HTA Effective Date and each of
the Creditors’ Committee’s Related Persons shall not have or incur any liability to any Entity for
any act taken or omitted to be taken in connection with the Title III Case, the formation,
preparation, dissemination, implementation, confirmation or approval of the HTA Plan or any
compromises or settlements contained herein, the HTA Disclosure Statement, or any contract,
instrument, release or other agreement or document provided for or contemplated in connection

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with the consummation of the transactions set forth in the HTA Plan; provided, however, that,
notwithstanding the foregoing exculpation, in the event that litigation is commenced against a
member of the Creditors’ Committee with respect to the aforementioned actions, such member
shall be entitled to be reimbursed for reasonable attorneys’ fees and expenses incurred and
indemnified for any damages awarded, in each case, by HTA pursuant to a Final Order; and
provided, further, that, the foregoing provisions of this Section 41.7(d) shall not affect the
liability of any Entity that would otherwise result from any such act or omission to the extent
such act or omission is determined in a Final Order to have constituted intentional fraud or
willful misconduct.

                 (e)     The DRA Parties: Each of the DRA and the DRA Parties, from the HTA
Petition Date up to and including the HTA Effective Date, and each of the DRA Parties’
respective predecessors, successors and assigns (whether by operation of law or otherwise), and
their respective financial advisors, attorneys, accountants, consultants, agents, and professionals,
or other representatives, each acting in such capacity, and any Entity acting for or on behalf of
any of them, in each case, solely to the extent acting in such capacity, shall not have or incur any
liability to any Entity for any act taken or omitted to be taken in connection with the Title III
Case, mediation, the negotiation, formation, preparation, dissemination, implementation,
confirmation or approval of the HTA Plan or any compromises or settlements contained therein,
the Disclosure Statement, the DRA Stipulation, or any contract, instrument, release or other
agreement or document provided for or contemplated in connection with the consummation of
the transactions set forth in the HTA Plan; provided, however, that, the foregoing provisions of
this Section 41.7(e) shall not affect the liability of any Entity that would otherwise result from
any such act or omission to the extent such act or omission is determined in a Final Order to have
constituted intentional fraud or willful misconduct.

         41.8 Appointments Related Litigation/Uniformity Litigation: Notwithstanding
anything contained herein to the contrary, in the event that a Final Order is entered in connection
with the Appointments Related Litigation or the Uniformity Litigation subsequent to entry of the
HTA Confirmation Order, in consideration of the distributions made, to be made, or deemed to
be made in accordance with the terms and provisions of the HTA Plan and documents and
instruments related hereto, all Creditors or such other Entities receiving, or deemed to have
received, distributions pursuant to or as a result of the HTA Plan, consent and agree that such
Final Order shall not in any way or manner reverse, affect or otherwise modify the transactions
contemplated in the HTA Plan and the HTA Confirmation Order, including, without limitation,
the releases, exculpations and injunctions provided pursuant to Article XLI of the HTA Plan;
provided, however, that, to the extent that a plaintiff in the Appointments Related Litigation or
the Uniformity Litigation is a party to any of the GO/PBA Plan Support Agreement, the
HTA/CCDA Plan Support Agreement, the PRIFA Plan Support Agreement or the ERS
Stipulation, within five (5) Business Days of the HTA Effective Date, such plaintiff shall take
any and all action to dismiss, with prejudice, or, in the event other plaintiffs are party to such
litigations, withdraw from, with prejudice, such Appointments Related Litigation or Uniformity
Litigation, as the case may be, including, without limitation, filing notices of dismissal or
withdrawal with the clerk of court having jurisdiction thereof.

        41.9 Bar Order: To the limited extent provided in the HTA Plan, each and every
Entity is permanently enjoined, barred and restrained from instituting, prosecuting, pursuing or

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litigating in any manner any and all Claims, demands, rights, liabilities, or causes of action of
any and every kind, character or nature whatsoever, in law or in equity, known or unknown,
direct or derivative, whether asserted or unasserted, against any of the Released Parties, based
upon, related to, or arising out of or in connection with any of the Released Claims, confirmation
and consummation of the HTA Plan, the negotiation and consummation of the HTA/CCDA Plan
Support Agreement, or any claim, act, fact, transaction, occurrence, statement or omission in
connection with or alleged or that could have been alleged in the Title III Case, including,
without limitation, any such claim, demand, right, liability or cause of action for indemnification,
contribution, or any other basis in law or equity for damages, costs or fees incurred arising
directly or indirectly from or otherwise relating to the Title III Case, either directly or indirectly
by any Person for the direct or indirect benefit of any Released Party arising from or related to
the claims, acts, facts, transactions, occurrences, statements or omissions that are, could have
been or may be alleged in the related actions or any other action brought or that might be brought
by, through, on behalf of, or for the benefit of any of the Released Parties (whether arising under
federal, state or foreign law, and regardless of where asserted).

        41.10 No Waiver: Notwithstanding anything to the contrary contained in Sections 41.5
and 41.6 hereof, the releases and injunctions set forth in such sections shall not, and shall not be
deemed to, limit, abridge or otherwise affect the rights of the Oversight Board, AAFAF,
Reorganized HTA, the HTA/CCDA PSA Creditors or the Avoidance Actions Trust to enforce,
sue on, settle or compromise the rights, claims and other matters expressly retained by any of
them.

         41.11 Supplemental Injunction: Notwithstanding anything contained herein to the
contrary, except to the limited extent provided in the HTA Plan, all Entities, including Entities
acting on their behalf, who currently hold or assert, have held or asserted, or may hold or assert,
any Released Claims against any of the Released Parties based upon, attributable to, arising out
of or relating to the Title III Case or any Claim against the Debtor, whenever and wherever
arising or asserted, whether in the United States or anywhere else in the world, whether sounding
in tort, contract, warranty, statute, or any other theory of law, equity or otherwise, shall be, and
shall be deemed to be, permanently stayed, restrained and enjoined from taking any action
against any of the Released Parties for the purpose of directly or indirectly collecting, recovering
or receiving any payment or recovery with respect to any Released Claims arising prior to the
HTA Effective Date (including prior to the HTA Petition Date), including, but not limited to:

               (a)     Commencing or continuing in any manner any action or other proceeding
of any kind with respect to any such Released Claim against any of the Released Parties or the
assets or property of any Released Party;

              (b)     Enforcing, attaching, collecting or recovering, by any manner or means,
any judgment, award, decree or order against any of the Released Parties or the assets or property
of any Released Party with respect to any such Released Claim;

               (c)     Creating, perfecting or enforcing any Lien of any kind against any of the
Released Parties or the assets or property of any Released Party with respect to any such
Released Claim;


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               (d)    Except as otherwise expressly provided in the HTA Plan or the HTA
Confirmation Order, asserting, implementing or effectuating any setoff, right of subrogation,
indemnity, contribution or recoupment of any kind against any obligation due to any of the
Released Parties or against the property of any Released Party with respect to any such Released
Claim; and

               (e)    Taking any act, in any manner, in any place whatsoever, that does not
conform to, or comply with, the provisions of the HTA Plan or the HTA Confirmation Order,
provided, however, that the Debtor’s compliance with the formal requirements of Bankruptcy
Rule 3016 shall not constitute an admission that the HTA Plan provides for any injunction
against conduct not otherwise enjoined under the Bankruptcy Code.

        41.12 Post-Effective Date Fees and Expenses: From and after the HTA Effective
Date, Reorganized HTA shall, in the ordinary course of business and without the necessity for
any approval by the Title III Court, retain professionals and pay the reasonable professional fees
and expenses incurred by Reorganized HTA related to implementation and consummation of the
HTA Plan without further approval from the Title III Court. Without limiting the foregoing,
from and after the HTA Effective Date, Reorganized HTA shall, in the ordinary course of
business and without the necessity for any approval by the Title III Court, but in no event later
than forty-five (45) days following the submission of invoices or statements with respect to the
incurrence of fees and expenses to Reorganized HTA, pay the reasonable and documented fees
and reimburse the expenses of the Oversight Board and its professionals related to the
implementation and consummation of the HTA Plan and in connection with its duties and
responsibilities pursuant to PROMESA and the terms and provisions of the HTA Plan.

        41.13 Securities Act Exemption: Pursuant to section 1145 of the Bankruptcy Code
and/or Section 3(a)(2) of the Securities Act, the offering, issuance, and distribution of the New
HTA Bonds pursuant to the terms hereof shall be exempt from registration under the Securities
Act and any state or local law requiring registration for the offer, issuance or distribution of
securities, including, but not limited to, the registration requirements of Section 5 of the
Securities Act and any other applicable state or federal law requiring registration and/or
prospectus delivery or qualification prior to the offering, issuance, distribution, or sale of
securities.

        41.14 Severability: Subject to the terms and provisions of the HTA/CCDA Plan
Support Agreement and the HTA Committee Agreement, if, prior to the HTA Confirmation
Date, (a) any term or provision of the HTA Plan shall be held by the Title III Court to be invalid,
void or unenforceable, the Title III Court shall have the power to alter and interpret such term or
provision to make it valid or enforceable to the maximum extent practicable, consistent with the
original purpose of the term or provision held to be invalid, void or unenforceable, and such term
or provision shall then be applicable as altered or interpreted or (b) the Oversight Board
determines to modify or amend the HTA Plan, the HTA Plan provisions applicable thereto shall
be deemed severed and to be of no force or effect.

        41.15 Governing Law: Except to the extent that other federal law is applicable, or to
the extent that an exhibit hereto or any document to be entered into in connection herewith
provides otherwise, the rights, duties, and obligations arising under this HTA Plan shall be

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governed by, and construed and enforced in accordance with, PROMESA (including the
provisions of the Bankruptcy Code made applicable under Section 301 of PROMESA) and, to
the extent not inconsistent therewith, the laws of the Commonwealth of Puerto Rico giving effect
to principles of conflicts of laws.

        41.16 Closing Case: The Oversight Board shall, promptly upon the full administration
of the Title III Case, file with the Title III Court all documents required by Bankruptcy Rule
3022 and any applicable order of the Title III Court. Notwithstanding the closing of the Title III
Case, the Title III Court shall retain jurisdiction of all of the matters set forth in Article XL of the
HTA Plan.

       41.17 Section Headings: The section headings contained in this HTA Plan are for
reference purposes only and shall not affect in any way the meaning or interpretation of the HTA
Plan.

        41.18 Inconsistencies: To the extent of any inconsistency between (a) the information
contained in the Disclosure Statement and the terms and provisions of the HTA Plan, the terms
and provisions contained herein shall govern, (b) the terms and provisions of the HTA Plan and
the terms and provisions of the HTA Confirmation Order, the terms and provisions of the HTA
Confirmation Order shall govern and be deemed a modification of the HTA Plan, and (c) the
terms and provisions of the HTA Plan and the New HTA Bonds Indenture, the terms and
provisions of the New HTA Bonds Indenture shall govern; provided, however, that under no
circumstances shall the HTA Confirmation Order modify the economic terms set forth herein
absent consent of the Oversight Board.

       41.19 Document Retention: From and after the HTA Effective Date, the Debtor may
maintain documents in accordance with standard document retention policy, as may be altered,
amended, modified, or supplemented by the Debtor.

        41.20 Immediate Binding Effect: Pursuant to section 944(a) of the Bankruptcy Code,
applicable to the Title III Case pursuant to Section 301 of PROMESA, and notwithstanding
Bankruptcy Rules 3020(e), 6004(h), or 7062 or otherwise, upon the occurrence of the HTA
Effective Date, the terms of the HTA Plan and the Plan Supplement shall be immediately
effective and enforceable and deemed binding on any and all holders of Claims and their
respective successors and assigns, whether or not the Claim of any such holder is impaired under
the HTA Plan and whether or not such holder has accepted the HTA Plan. The releases,
exculpations, and settlements effected under the HTA Plan shall be operative, and subject to
enforcement by the Title III Court, from and after the HTA Effective Date, including pursuant to
the injunctive provisions of the HTA Plan. Once approved, the compromises and settlements
embodied in the HTA Plan, along with the treatment of any associated Allowed Claims, shall not
be subject to collateral attack or other challenge by any Entity in any court or other forum. As
such, any Entity that opposes the terms of any compromise and settlement set forth in the HTA
Plan must (a) challenge such compromise and settlement prior to confirmation of the HTA Plan
and (b) demonstrate appropriate standing to object and that the subject compromise and
settlement does not meet the standards governing settlements under Bankruptcy Rule 9019 and
other applicable law.


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        41.21 Additional Documents: On or before the HTA Effective Date, the Oversight
Board may file with Clerk of the Title III Court such agreements and other documents as may be
necessary or appropriate to effectuate and further evidence the terms and conditions of the HTA
Plan. The Debtor and all holders of Claims receiving distributions pursuant to the HTA Plan and
all other parties in interest, from time to time, may prepare, execute, and deliver any agreements
or documents and take any other actions as may be necessary or advisable to effectuate the
provisions and intent of the HTA Plan.

        41.22 Reservation of Rights: Except as expressly set forth herein, the HTA Plan shall
have no force or effect unless the Title III Court shall enter the HTA Confirmation Order. None
of the filing of the HTA Plan, any statement or provision contained in the HTA Plan, or the
taking of any action by the Debtor with respect to the HTA Plan, the Disclosure Statement, or the
Plan Supplement shall be or shall be deemed to be an admission or waiver of any rights of the
Debtor with respect to the holders of Claims prior to the HTA Effective Date. Except as
expressly set forth herein, the rights and powers of the government of Puerto Rico under the
Commonwealth Constitution and PROMESA, including, without limitation, under Sections 303
and 305 of PROMESA, are expressly reserved (subject to any limitation thereon imposed by the
Commonwealth Constitution, the U.S. Constitution or PROMESA), and nothing herein shall be
deemed a waiver of any such rights and powers.

        41.23 Successors and Assigns: Except as expressly provided otherwise in the HTA
Plan, the rights, benefits, and obligations of any Entity named or referred to in the HTA Plan or
the HTA Confirmation Order shall be binding on, and shall inure to the benefit of any heir,
executor, administrator, successor or assign, Affiliate, officer, director, agent, representative,
attorney, beneficiaries, or guardian, if any, of each Entity.

       41.24 Notices: All notices, requests to, demands or other document(s) required by the
HTA Plan or the HTA Confirmation Order to be served on or delivered to the Oversight Board,
the Debtor or AAFAF to be effective shall be in writing including by facsimile transmission and
unless otherwise expressly provided herein, shall be deemed to have been duly given or made
when actually delivered or, in the case of notice by facsimile transmission, when received and
telephonically confirmed, addressed as follows:

 If to the Oversight Board, to:    Financial Oversight and Management Board for Puerto Rico
                                   268 Muñoz Rivera Ave, Suite 1107
                                   San Juan, PR 00918-1813
                                   Attn: Executive Director

                                           – with a copy to –

                                   PROSKAUER ROSE LLP
                                   Eleven Times Square
                                   New York, NY 10036
                                   Attn: Martin J. Bienenstock, Esq.
                                         Brian S. Rosen, Esq.
                                   Tel: (212) 969-3000



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                            Fax: (212) 969-2900

                                      – and –

                            O’NEILL & BORGES LLC
                            250 Muñoz Rivera Ave, Suite 800
                            San Juan, PR 00918-1813
                            Attn: Hermann Bauer, Esq.
                            Tel: (787) 764-8181
                            Fax: (212) 753-8944

 If to the Debtor, to:      Puerto Rico Highways and Transportation Authority
                            c/o Fiscal Agency and Financial Advisory Authority
                            Roberto Sánchez Vilella (Minillas) Government Center
                            De Diego Ave. Stop 22
                            San Juan, Puerto Rico 00907
                            Attn: Office of the Executive Director

                                   – with a copy to –

                            PROSKAUER ROSE LLP
                            Eleven Times Square
                            New York, NY 10036
                            Attn: Martin J. Bienenstock, Esq.
                                  Brian S. Rosen, Esq.
                            Tel: (212) 969-3000
                            Fax: (212) 969-2900

                                   – and –

                            O’NEILL & BORGES LLC
                            250 Muñoz Rivera Ave, Suite 800
                            San Juan, PR 00918-1813
                            Attn: Hermann Bauer, Esq.
                            Tel: (787) 764-8181
                            Fax: (212) 753-8944

                                  – and –

                            O’MELVENY & MYERS LLP
                            Seven Times Square
                            New York, NY 10036
                            Attn: John Rapisardi, Esq.
                                  Peter Friedman, Esq.
                                  Maria J. DiConza, Esq.
                            Tel: (212) 326-2000
                            Fax: (212) 326-2061


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 If to AAFAF, to:                  Fiscal Agency and Financial Advisory Authority
                                   Roberto Sánchez Vilella (Minillas) Government Center
                                   De Diego Ave. Stop 22
                                   San Juan, Puerto Rico 00907

                                          – with a copy to –

                                   O’MELVENY & MYERS LLP
                                   Seven Times Square
                                   New York, NY 10036
                                   Attn: John Rapisardi, Esq.
                                         Peter Friedman, Esq.
                                         Maria J. DiConza, Esq.
                                   Tel: (212) 326-2000
                                   Fax: (212) 326-2061

         41.25 Term of Injunctions or Stays: Unless otherwise provided herein or in the HTA
Confirmation Order, all injunctions or stays in effect in the Title III Case (pursuant to
sections 105, 362, or 922 of the Bankruptcy Code or any order of the Title III Court) and existing
on the HTA Confirmation Date (excluding any injunctions or stays contained in the HTA Plan or
the HTA Confirmation Order) shall remain in full force and effect until the HTA Effective Date.
All injunctions or stays contained in the HTA Plan or the HTA Confirmation Order shall remain
in full force and effect in accordance with their terms.

       41.26 Entire Agreement: Except as otherwise indicated, the HTA Plan supersedes all
previous and contemporaneous negotiations, promises, covenants, agreements, understandings,
and representations on such subjects, all of which have become merged and integrated into the
HTA Plan.

        41.27 Plan Supplement: All documents included in the Plan Supplement are
incorporated into and are a part of the HTA Plan as if set forth in full in the HTA Plan. Upon the
filing of the Plan Supplement with the Clerk of the Title III Court, copies of the documents
contained therein shall be made available upon written request to the Oversight Board’s counsel
at the address above or by downloading such documents from https://cases.primeclerk.com/
puertorico/ or the Title III Court’s website, available via PACER. Unless otherwise ordered by
the Title III Court, to the extent any document in the Plan Supplement is inconsistent with the
terms of any part of the HTA Plan that does not constitute the Plan Supplement, such part of the
HTA Plan that does not constitute the Plan Supplement shall control; provided, however, that,
with respect to matters governed by the New HTA Bonds Indenture to the extent that any
provisions of the HTA Plan are inconsistent with the New HTA Bonds Indenture the New HTA
Bonds Indenture shall control.

Dated: San Juan, Puerto Rico
       June 17, 2022




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                                    PUERTO RICO HIGHWAYS AND
                                    TRANSPORTATION AUTHORITY, by and
                                    through the Financial Oversight and Management
                                    Board for Puerto Rico as its representative


                                    By: /s/ David A. Skeel Jr.
                                        Name: David A. Skeel Jr.
                                        Title: Chairman




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                                 EXHIBIT A

                     SCHEDULE OF AVOIDANCE ACTIONS




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Remaining Adversary Vendors



Vendor Name                                     Vendor      Adversary Proceeding
                                                Type        No.

GILA LLC                                        Adversary   19‐00354




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                                 EXHIBIT B

                     SCHEDULE OF INVALIDITY ACTIONS




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                                    Invalidity Actions



The Special Claims Comm. Of the Fin. Oversight and Mgmt Board of for Puerto Rico and the
Official Comm. of Unsecured Creditors of the Commonwealth of Puerto Rico v. Jefferies LLC,
Adv. Proc. No. 19-00281

The Special Claims Comm. Of the Fin. Oversight and Mgmt Board of for Puerto Rico and the
Official Comm. of Unsecured Creditors of the Commonwealth of Puerto Rico v. BNY
Mellon/POP Sec, Adv. Proc. No. 19-00282

The Special Claims Comm. Of the Fin. Oversight and Mgmt Board of for Puerto Rico and the
Official Comm. of Unsecured Creditors of the Commonwealth of Puerto Rico v. First Southwest
Co., Adv. Proc. No. 19-00283

The Special Claims Comm. Of the Fin. Oversight and Mgmt Board of for Puerto Rico and the
Official Comm. of Unsecured Creditors of the Commonwealth of Puerto Rico v. Defendants 1E-
59E , Adv. Proc. No. 19-00284

The Special Claims Comm. Of the Fin. Oversight and Mgmt Board of for Puerto Rico and the
Official Comm. of Unsecured Creditors of the Commonwealth of Puerto Rico v. Defendants 1A-
100A, Adv. Proc. No. 19-00285

The Special Claims Comm. Of the Fin. Oversight and Mgmt Board of for Puerto Rico and the
Official Comm. of Unsecured Creditors of the Commonwealth of Puerto Rico v. Defendants 1B-
100B, Adv. Proc. No. 19-00286

The Special Claims Comm. Of the Fin. Oversight and Mgmt Board of for Puerto Rico and the
Official Comm. of Unsecured Creditors of the Commonwealth of Puerto Rico v. Defendants 1C-
53C, Adv. Proc. No. 19-00287

The Special Claims Comm. Of the Fin. Oversight and Mgmt Board of for Puerto Rico and the
Official Comm. of Unsecured Creditors of the Commonwealth of Puerto Rico v. Defendants 1D-
73D, Adv. Proc. No. 19-00288




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                                 EXHIBIT C

                   SCHEDULE OF LIEN CHALLENGE ACTIONS




                                     C-1
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                                   Lien Challenge Actions

The Financial Oversight and Management Board of Puerto Rico, as Representative of
Commonwealth of Puerto Rico, et al., and the Official Committee of Unsecured Creditors of All
Title III Debtors (Other Than COFINA) v. Autonomy Master Fund Ltd., Adv. Proc. No. 19-
00291

The Financial Oversight and Management Board of Puerto Rico, as Representative of
Commonwealth of Puerto Rico, et al., and the Official Committee of Unsecured Creditors of All
Title III Debtors (Other Than COFINA) v. Cooperativa de Ahorro t Credito de Rincon, Adv.
Proc. No. 19-00292

The Financial Oversight and Management Board of Puerto Rico, as Representative of
Commonwealth of Puerto Rico, et al., and the Official Committee of Unsecured Creditors of All
Title III Debtors (Other Than COFINA) v. Ortiz de la Renta, Adv. Proc. No. 19-00293

The Financial Oversight and Management Board of Puerto Rico, as Representative of
Commonwealth of Puerto Rico, et al., and the Official Committee of Unsecured Creditors of All
Title III Debtors (Other Than COFINA) v. Martinez Sanchez, Adv. Proc. No. 19-00294

The Financial Oversight and Management Board of Puerto Rico, as Representative of
Commonwealth of Puerto Rico, et al., and the Official Committee of Unsecured Creditors of All
Title III Debtors (Other Than COFINA) v. Valdivieso, Adv. Proc. No. 19-00295

The Financial Oversight and Management Board of Puerto Rico, as Representative of
Commonwealth of Puerto Rico, et al., and the Official Committee of Unsecured Creditors of All
Title III Debtors (Other Than COFINA) v. Friedman, Adv. Proc. No. 19-00296

The Financial Oversight and Management Board of Puerto Rico, as Representative of
Commonwealth of Puerto Rico, et al., and the Official Committee of Unsecured Creditors of All
Title III Debtors (Other Than COFINA) v. Blackrock Fin. Mgmt., Adv. Proc. No. 19-00297

The Financial Oversight and Management Board of Puerto Rico, as Representative of
Commonwealth of Puerto Rico, et al., and the Official Committee of Unsecured Creditors of All
Title III Debtors (Other Than COFINA) v. Valdivieso, Adv. Proc. No. 19-00362

The Financial Oversight and Management Board of Puerto Rico, as Representative of
Commonwealth of Puerto Rico, et al., and the Official Committee of Unsecured Creditors of All
Title III Debtors (Other Than COFINA) v. Ambac Assurance Corporation, Adv. Proc. No. 19-
00363

The Financial Oversight and Management Board of Puerto Rico, as Representative of
Commonwealth of Puerto Rico, et al., and the Official Committee of Unsecured Creditors of All
Title III Debtors (Other Than COFINA) v. Davidson Kempner Capital Management LP, Adv.
Proc. No. 19-00364

The Special Claims Comm. Of the Fin. Oversight and Mgmt. Board of Puerto Rico and the
Official Committee of Unsecured Creditors of All Title III Debtors (Other Than COFINA) v.
Banco Popular de Puerto Rico, Adv. Proc. No. 19-00365


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                                 EXHIBIT D

                SCHEDULE OF CASH FLOW OF NEW HTA BONDS




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EXHIBIT: D
Exhibit: Schedule of Cash Flow of New HTA Bonds:

                                            New HTA CIBs
 Fiscal
  Year                                                  Interest               Debt
  (7/1)   Maturity             Principal                5.000%              Service
 Total                   600,000,000.00        1,085,949,250.00    1,685,949,250.00
  2023      7/1/23                     -          30,000,000.00       30,000,000.00
  2024      7/1/24                     -          30,000,000.00       30,000,000.00
  2025      7/1/25                     -          30,000,000.00       30,000,000.00
  2026      7/1/26                     -          30,000,000.00       30,000,000.00
  2027      7/1/27                     -          30,000,000.00       30,000,000.00
  2028      7/1/28                     -          30,000,000.00       30,000,000.00
  2029      7/1/29                     -          30,000,000.00       30,000,000.00
  2030      7/1/30                     -          30,000,000.00       30,000,000.00
  2031      7/1/31                     -          30,000,000.00       30,000,000.00
  2032      7/1/32                     -          30,000,000.00       30,000,000.00
  2033      7/1/33                     -          30,000,000.00       30,000,000.00
  2034      7/1/34                     -          30,000,000.00       30,000,000.00
  2035      7/1/35                     -          30,000,000.00       30,000,000.00
  2036      7/1/36                     -          30,000,000.00       30,000,000.00
  2037      7/1/37                     -          30,000,000.00       30,000,000.00
  2038      7/1/38                     -          30,000,000.00       30,000,000.00
  2039      7/1/39                     -          30,000,000.00       30,000,000.00
  2040      7/1/40                     -          30,000,000.00       30,000,000.00
  2041      7/1/41                     -          30,000,000.00       30,000,000.00
  2042      7/1/42                     -          30,000,000.00       30,000,000.00
  2043      7/1/43                     -          30,000,000.00       30,000,000.00
  2044      7/1/44                     -          30,000,000.00       30,000,000.00
  2045      7/1/45                     -          30,000,000.00       30,000,000.00
  2046      7/1/46                     -          30,000,000.00       30,000,000.00
  2047      7/1/47                     -          30,000,000.00       30,000,000.00
  2048      7/1/48                     -          30,000,000.00       30,000,000.00
  2049      7/1/49                     -          30,000,000.00       30,000,000.00
  2050      7/1/50                     -          30,000,000.00       30,000,000.00
  2051      7/1/51                     -          30,000,000.00       30,000,000.00
  2052      7/1/52                     -          30,000,000.00       30,000,000.00
  2053      7/1/53        14,190,000.00           30,000,000.00       44,190,000.00
  2054      7/1/54        53,125,000.00           29,290,500.00       82,415,500.00
  2055      7/1/55        55,785,000.00           26,634,250.00       82,419,250.00
  2056      7/1/56        58,575,000.00           23,845,000.00       82,420,000.00
  2057      7/1/57        61,500,000.00           20,916,250.00       82,416,250.00
  2058      7/1/58        64,575,000.00           17,841,250.00       82,416,250.00
  2059      7/1/59        67,805,000.00           14,612,500.00       82,417,500.00
  2060      7/1/60        71,195,000.00           11,222,250.00       82,417,250.00
  2061      7/1/61        74,755,000.00            7,662,500.00       82,417,500.00
  2062      7/1/62        78,495,000.00            3,924,750.00       82,419,750.00

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 *Deemed Issuance Date is 7/1/2022

                                                  New HTA CABs
   Fiscal
    Year                               Initial   Accreted Value at each                Maturity
    (7/1)   Maturity                Principal     Redemption Date (2)                 Value (3)
   Total                      237,955,868.13            334,856,647.24           389,919,000.00
    2023      7/1/23                         -                        -                       -
    2024      7/1/24                         -                        -                       -
    2025      7/1/25           25,289,588.80             29,327,916.80            41,440,000.00
    2026      7/1/26           22,310,860.93             27,183,444.45            36,559,000.00
    2027      7/1/27           25,083,317.54             32,108,471.38            41,102,000.00
    2028      7/1/28           28,817,559.67             38,756,163.54            47,221,000.00
    2029      7/1/29           35,543,345.34             50,221,494.18            58,242,000.00
    2030      7/1/30           35,310,832.47             52,419,172.95            57,861,000.00
    2031      7/1/31           33,610,009.98             52,419,983.94            55,074,000.00
 2032(1)      7/1/32           31,990,353.40             52,420,000.00            52,420,000.00
(1) Stated maturity; not a sinking fund redemption
(2) Equals the initial principal amount plus accreted interest to each sinking fund redemption date
(3) Equals the total accreted value that would be represented by the portion of the bonds being redeemed
if held to maturity
*Deemed Issuance Date is 7/1/2022




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                                                                 New HTA CCABs
 Fiscal                                                    (a)                     (b)           (c = a + b)
  Year                            Initial               Maturity                 CCAB              CCAB
  (7/1)    Maturity             Principal                 Value                Interest (2)     Debt Service
 Total                       407,044,597.57          666,991,000.00         419,638,900.00    1,086,629,900.00
 2023       7/1/23                   -                      -                       -                 -
 2024       7/1/24                   -                      -                       -                 -
 2025       7/1/25                   -                      -                       -                 -
 2026       7/1/26                   -                      -                       -                 -
 2027       7/1/27                   -                      -                       -                 -
 2028       7/1/28                   -                      -                       -                 -
 2029       7/1/29                   -                      -                       -                 -
 2030       7/1/30                   -                      -                       -                 -
 2031       7/1/31                   -                      -                       -                 -
 2032       7/1/32                   -                      -                       -                 -
 2033       7/1/33            11,637,848.90           19,070,000.00          33,349,550.00     52,419,550.00
 2034       7/1/34            12,220,046.48           20,024,000.00          32,396,050.00     52,420,050.00
 2035       7/1/35            12,830,926.75           21,025,000.00          31,394,850.00     52,419,850.00
 2036       7/1/36            13,472,320.52           22,076,000.00          30,343,600.00     52,419,600.00
 2037       7/1/37            14,146,058.60           23,180,000.00          29,239,800.00     52,419,800.00
 2038       7/1/38            14,853,361.53           24,339,000.00          28,080,800.00     52,419,800.00
 2039       7/1/39            15,596,060.12           25,556,000.00          26,863,850.00     52,419,850.00
 2040       7/1/40            16,375,985.18           26,834,000.00          25,586,050.00     52,420,050.00
 2041       7/1/41            17,194,967.52           28,176,000.00          24,244,350.00     52,420,350.00
 2042       7/1/42            18,054,837.95           29,585,000.00          22,835,550.00     52,420,550.00
 2043       7/1/43            18,957,427.28           31,064,000.00          21,356,300.00     52,420,300.00
 2044       7/1/44            19,905,176.59           32,617,000.00          19,803,100.00     52,420,100.00
 2045       7/1/45            20,900,526.96           34,248,000.00          18,172,250.00     52,420,250.00
 2046       7/1/46            21,945,309.20           35,960,000.00          16,459,850.00     52,419,850.00
 2047       7/1/47            23,042,574.66           37,758,000.00          14,661,850.00     52,419,850.00
 2048       7/1/48            24,194,764.42           39,646,000.00          12,773,950.00     52,419,950.00
 2049       7/1/49            25,404,319.56           41,628,000.00          10,791,650.00     52,419,650.00
 2050       7/1/50            26,674,901.70           43,710,000.00           8,710,250.00     52,420,250.00
 2051       7/1/51            28,008,341.65           45,895,000.00           6,524,750.00     52,419,750.00
 2052       7/1/52            29,408,911.30           48,190,000.00           4,230,000.00     52,420,000.00
2053(1)     7/1/53            22,219,930.70           36,410,000.00           1,820,500.00     38,230,500.00
(1) Stated maturity; not a sinking fund redemption
(2) New HTA CCAB conversion date is 7/1/2032
*Deemed Issuance Date is 7/1/2022




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     Aggregate Debt Service Cash Flows
Fiscal                                                     CAB
 Year                              CIB   Accreted Value at each              CCAB               Total
 (7/1)   Maturity         Debt Service        Redemption Date         Debt Service       Debt Service
Total                 1,685,949,250.00          334,856,647.24    1,086,629,900.00   3,107,435,797.24
 2023      7/1/23        30,000,000.00                        -                  -      30,000,000.00
 2024      7/1/24        30,000,000.00                        -                  -      30,000,000.00
 2025      7/1/25        30,000,000.00           29,327,916.80                   -      59,327,916.80
 2026      7/1/26        30,000,000.00           27,183,444.45                   -      57,183,444.45
 2027      7/1/27        30,000,000.00           32,108,471.38                   -      62,108,471.38
 2028      7/1/28        30,000,000.00           38,756,163.54                   -      68,756,163.54
 2029      7/1/29        30,000,000.00           50,221,494.18                   -      80,221,494.18
 2030      7/1/30        30,000,000.00           52,419,172.95                   -      82,419,172.95
 2031      7/1/31        30,000,000.00           52,419,983.94                   -      82,419,983.94
 2032      7/1/32        30,000,000.00           52,420,000.00                   -      82,420,000.00
 2033      7/1/33        30,000,000.00                        -      52,419,550.00      82,419,550.00
 2034      7/1/34        30,000,000.00                        -      52,420,050.00      82,420,050.00
 2035      7/1/35        30,000,000.00                        -      52,419,850.00      82,419,850.00
 2036      7/1/36        30,000,000.00                        -      52,419,600.00      82,419,600.00
 2037      7/1/37        30,000,000.00                        -      52,419,800.00      82,419,800.00
 2038      7/1/38        30,000,000.00                        -      52,419,800.00      82,419,800.00
 2039      7/1/39        30,000,000.00                        -      52,419,850.00      82,419,850.00
 2040      7/1/40        30,000,000.00                        -      52,420,050.00      82,420,050.00
 2041      7/1/41        30,000,000.00                        -      52,420,350.00      82,420,350.00
 2042      7/1/42        30,000,000.00                        -      52,420,550.00      82,420,550.00
 2043      7/1/43        30,000,000.00                        -      52,420,300.00      82,420,300.00
 2044      7/1/44        30,000,000.00                        -      52,420,100.00      82,420,100.00
 2045      7/1/45        30,000,000.00                        -      52,420,250.00      82,420,250.00
 2046      7/1/46        30,000,000.00                        -      52,419,850.00      82,419,850.00
 2047      7/1/47        30,000,000.00                        -      52,419,850.00      82,419,850.00
 2048      7/1/48        30,000,000.00                        -      52,419,950.00      82,419,950.00
 2049      7/1/49        30,000,000.00                        -      52,419,650.00      82,419,650.00
 2050      7/1/50        30,000,000.00                        -      52,420,250.00      82,420,250.00
 2051      7/1/51        30,000,000.00                        -      52,419,750.00      82,419,750.00
 2052      7/1/52        30,000,000.00                        -      52,420,000.00      82,420,000.00
 2053      7/1/53        44,190,000.00                        -      38,230,500.00      82,420,500.00
 2054      7/1/54        82,415,500.00                        -                  -      82,415,500.00
 2055      7/1/55        82,419,250.00                        -                  -      82,419,250.00
 2056      7/1/56        82,420,000.00                        -                  -      82,420,000.00
 2057      7/1/57        82,416,250.00                        -                  -      82,416,250.00
 2058      7/1/58        82,416,250.00                        -                  -      82,416,250.00
 2059      7/1/59        82,417,500.00                        -                  -      82,417,500.00
 2060      7/1/60        82,417,250.00                        -                  -      82,417,250.00
 2061      7/1/61        82,417,500.00                        -                  -      82,417,500.00
 2062      7/1/62        82,419,750.00                        -                  -      82,419,750.00




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                                 EXHIBIT E

               SUBORDINATED INDEBTEDNESS PAYMENT TERMS




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                 Principal              Interest       Agg. Loan Payments
  Total      362,000,000.00        173,538,404.20        535,538,404.20
  7/1/23      10,763,135.00         11,714,722.22         22,477,857.22
  7/1/24       9,447,509.00          8,780,921.63         18,228,430.63
  7/1/25       4,810,622.00          8,544,733.90         13,355,355.90
  7/1/26       5,197,995.00          8,424,468.35         13,622,463.35
  7/1/27       5,600,394.00          8,294,518.48         13,894,912.48
  7/1/28       6,018,302.00          8,154,508.63         14,172,810.63
  7/1/29       6,452,216.00          8,004,051.08         14,456,267.08
  7/1/30       6,902,647.00          7,842,745.68         14,745,392.68
  7/1/31       7,370,121.00          7,670,179.50         15,040,300.50
  7/1/32       7,855,180.00          7,485,926.48         15,341,106.48
  7/1/33       8,358,382.00          7,289,546.98         15,647,928.98
  7/1/34       8,880,300.00          7,080,587.43         15,960,887.43
  7/1/35       9,421,525.00          6,858,579.93         16,280,104.93
  7/1/36       9,982,665.00          6,623,041.80         16,605,706.80
  7/1/37      10,564,346.00          6,373,475.18         16,937,821.18
  7/1/38      11,167,211.00          6,109,366.53         17,276,577.53
  7/1/39      11,791,923.00          5,830,186.25         17,622,109.25
  7/1/40      12,439,163.00          5,535,388.18         17,974,551.18
  7/1/41      13,109,633.00          5,224,409.10         18,334,042.10
  7/1/42      13,804,055.00          4,896,668.28         18,700,723.28
  7/1/43      14,523,171.00          4,551,566.90         19,074,737.90
  7/1/44      15,267,745.00          4,188,487.63         19,456,232.63
  7/1/45      16,038,563.00          3,806,794.00         19,845,357.00
  7/1/46      16,836,434.00          3,405,829.93         20,242,263.93
  7/1/47      17,662,190.00          2,984,919.08         20,647,109.08
  7/1/48      18,516,687.00          2,543,364.33         21,060,051.33
  7/1/49      19,400,805.00          2,080,447.15         21,481,252.15
  7/1/50      20,315,451.00          1,595,427.03         21,910,878.03
  7/1/51      21,261,555.00          1,087,540.75         22,349,095.75
  7/1/52      22,240,075.00           556,001.88          22,796,076.88




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                                  EXHIBIT F

                     SCHEDULE OF PREEMPTED STATUTES




                                     F-1
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                               List of Statutes Preempted by PROMESA1

     I.        Puerto Rico Highway and Transportation Authority Act

          1.        Act 74, approved on June 23, 1965:

               a. 9 L.P.R.A. §§ 2004(f), (h), (j), (l), (m), (n), (q)

               b. 9 L.P.R.A. § 2004a(3)

               c. [9 L.P.R.A. § 2006]

               d. 9 L.P.R.A. § 2008

               e. [9 L.P.R.A. § 2010]

               f. 9 L.P.R.A. §§ 2012(a), (b), (d), (e), (g) (h)

               g. 9 L.P.R.A. §§ 2013(a), (b)

               h.   9 L.P.R.A. § 2019

               i. 9 L.P.R.A. § 2020

          2.        Act 1, approved on January 15, 2015:

               a. 9 L.P.R.A. § 2024

               b. 9 L.P.R.A. §§ 2026(b), (c), (d)(first paragraph), (d)(1), (d)(2), (d)(6), (d)(7),
                  (d)(12), (d)(15)

               c. 9 L.P.R.A. § 2027

               d. 9 L.P.R.A. § 2030

               e. 9 L.P.R.A. § 2032

               f. 9 L.P.R.A. § 2035




1
    The statutes listed herein are preempted for the reasons and solely to the extent set forth in Exhibit “A” to the
    Proposed Findings of Fact and Conclusions of Law.
    The Debtor reserves the right to amend this list prior to the entry of the HTA Confirmation Order.


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   II.        Uniform Rate Revision and Modification Act

         1.      Act 21, approved on May 31, 1985:

              a. 27 L.P.R.A. § 261a

              b. 27 L.P.R.A. § 261b

              c. 27 L.P.R.A. § 261c

              d. 27 L.P.R.A. § 261d




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